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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8   Manuel de Jesus Ortega Melendres, on               No. CV-07-2513-PHX-GMS
 9   behalf of himself and all others similarly
     situated; et al.                                   ORDER
10
                           Plaintiffs,
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     and
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     United States of America,
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                           Plaintiff-Intervenor,
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     v.
15
     Paul Penzone, in his official capacity as
16   Sheriff of Maricopa County, Arizona; et al.
17                         Defendants.
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19          Paragraph 348 of this Court’s November 30, 2022 Amended Third Supplemental
20   Permanent Injunction Judgment Order (Doc. 2830) required the Monitor to evaluate PSB’s
21   current investigative practices. It then required the PSB, under the authority of the Monitor,
22   to create and submit new policies and procedures related to MCSO’s internal
23   investigations. These policies and procedures were to include among other things: the
24   required creation of investigative plans, scheduling expectations, requirements for
25   supervisory interventions, investigative timeline expectations and the use of IA Pro as a
26   case management tracking tool.
27          In ¶ 353 of that same order the Court required the MCSO to create, formalize and
28   implement adjustments in its investigative policies pertaining to several categories of cases
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 1   as provided in ¶ 353 (a)-(f). Further, MCSO was ordered to “fully and openly consult with
 2   the other parties to this litigation.” (Doc. 2830, ¶ 353).
 3          The Court has been advised that the parties met telephonically on several occasions
 4   to discuss MCSO’s proposed policies. On February 8, 2023, pursuant to ¶ 353, MCSO
 5   submitted to the Monitor its proposed version of GH-2 (Internal Investigations) and the
 6   PSB’s Operations Manual. On that same day, and pursuant to the Amended Third
 7   Supplemental Preliminary Injunction Judgment Order, the parties also submitted to the
 8   Monitor their proposals.
 9          Paragraph 353 required the Monitor to “promptly present to the Court the final
10   proposed policies he deems best. The parties will have two weeks thereafter to provide the
11   Court with any comments on the Monitor’s final proposed policies.” (Doc. 2830, ¶ 353).
12          The Monitor submitted its proposed policies to the Court and the parties on March
13   8, 2023 in accordance with ¶ 349. Pursuant to ¶ 353, the parties were given two weeks to
14   provide the Court with any comments on the Monitor’s final proposed policies. The parties
15   subsequently submitted to the Court and the Monitor their comments to the proposed
16   policies on March 23, 2023.
17          IT IS HEREBY ORDERED that MCSO shall within one week of this Order adopt
18   policies attached to this Order as Exhibit A, GH-2 (Internal Investigations), Exhibit B,
19   Professional Standards Bureau Operations Manual and Exhibit C, Attachment B of GC-17
20   (Employee Disciplinary Procedures).
21          IT IS FURTHER ORDERED that MCSO shall, in consultation with the Monitor,
22   make those changes to other existing policies or supporting documents that are essential to
23   and consistent with Exhibits A, B and C to this Order.
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 1         IT IS FURTHER ORDERED that to the extent any of the policies attached to this
 2   Order may be deemed in conflict with the provisions of Paragraphs 170 or 171 of the
 3   Court’s Second Amended Second Supplemental Permanent Injunction Judgment Order
 4   (Doc. 1765), the policies attached to this Order are authorized to supersede the mandates
 5   of those paragraphs.
 6         Dated this 12th day of October, 2023.
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                              MARICOPA COUNTY SHERIFF’S OFFICE
                                  POLICY AND PROCEDURES
                         Subject                                                                 Policy Number
                            INTERNAL INVESTIGATIONS                                                 GH-2
                                                                                                 Effective Date
                                                                                                XX-XX-XX
 Related Information                                              Supersedes
 ARS Title 38, Chapter 8, Article 1
 ARS 38-1104
 ARS 38-1116
 ARS 39-128
 Maricopa County Employee Merit System Rules
 Maricopa County Law Enforcement Officers’ Merit System Rules
 CP-2, Code of Conduct
 DJ-3, Inmate Grievance Procedures
 GC-16, Employee Grievance Procedures
 GC-17, Employee Disciplinary Procedures                                         GH-2 (10-25-22)
 GC-21, Drug, Medication, and Alcohol Testing
 GE-3, Property Management and Evidence Control
 GE-4, Use, Assignment, and Operation of Vehicles
 GH-3, Polygraph Procedures and Documents
 GH-5, Early Identification System
 GI-1, Radio and Enforcement Communications Procedures
 GJ-2, Critical Incident Response
 GJ-11, Serious Diagnosed Illness, Serious Physical Injury or
 Death of a Prisoner or Inmate
 GJ-24, Community Relations and Youth Programs
 GJ-28, Prison Rape Elimination Act (PREA)

PURPOSE

The purpose of this Office Policy is to establish guidelines and procedures for accepting, processing, and investigating
complaints of employee misconduct. Complaints include, but are not limited to, those brought forward by members
of the public, inmates, Maricopa County employees, and Sheriff’s Office employees.

Although this Office Policy refers to employees throughout, this Office Policy also applies with equal force to all
volunteers. Volunteers include, but are not limited to, reserve deputies and Posse members.

POLICY

It is the policy of the Office to ensure that all complaints of employee misconduct – whether internally discovered
and/or alleged by another employee or based on a complaint filed by a member of the public – are fully, fairly,
impartially, and efficiently investigated. All investigative findings shall be supported by the appropriate standard of
proof and documented in writing; and all employees who commit misconduct shall be held accountable pursuant to
a disciplinary system that is fair, consistent, and unbiased; and provides due process.

DEFINITIONS

Administrative Closure: A result of a PSB Diversion process in which the PSB Commander reviews individual
complaints, on a case-by-case basis, and determines that they cannot be satisfactorily investigated or an investigation
is not necessary. Administrative Closures may be used in the following circumstances: a) Situations where an internal
or external complaint was received by the Office more than one year after the last instance of the underlying alleged
misconduct being reported; b) Situations where an internal or external complaint was received by the Office after the
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Policy GH-2, Internal Investigations                                                        Effective Date: xx-xx-xx

employee(s) involved in the alleged misconduct left employment with the Office; or situations where, in an internal
or external complaint, the principal employee involved in the alleged misconduct is deceased or becomes no longer
employed by the Office and there is no evidence or indication of any other potential employee misconduct in the
incident; c) Situations where in an internal or external complaint the initial complainant is unwilling or unable to
cooperate; d) Situations where in an internal or external complaint the initial complainant is anonymous; e) Situations
resulting in the death or serious physical injury of a prisoner or an inmate that do not involve a use of force by an
employee and are considered non-critical incidents; and f) Situations where an internal complaint originated from a
workplace relationship and is most appropriately addressed with the assistance of the MCSO Employee Retention
and Performance Division.

An Administrative Closure shall also be used when the following circumstances exist in a Service Complaint: a) The
complaint does not allege employee misconduct and can be resolved with an explanation to the complainant regarding
the policy, procedure, service level due to manpower or resources, or statutory authority required of the Office. This
includes matters in which the complainant questions Office policy, procedures, or service level due to manpower or
resources, or statutory authority required of the Office; b) The complainant does not allege employee misconduct and
expresses dissatisfaction with the outcome of formal legal, civil, or administrative processes involving members of
the Office. The preliminary inquiry associated with this type of Service Complaint closure shall be thoroughly
reviewed and verify that potential employee misconduct was not involved with the incident prior to closure; c) The
complainant does not allege employee misconduct and requests additional information or follow-up actions
pertaining to a prior call for service, report, or investigation; or d) The complaint lacks specificity and the complainant
refuses or is unable to provide further clarification necessary for the Office to fully understand the complaint, or the
complainant does not articulate facts amounting to an allegation of employee misconduct.

Appointing Authority: For the purposes of this policy, the designated member of Office command staff, appointed
by the Sheriff, whose duties include: being responsible for conducting the Pre-Determination Hearing (PDH); and
providing the employee with an opportunity to be heard.

Blue Team: The Early Identification System (EIS) application that allows employees and supervisors to record
information in a database regarding incidents, performance, and conduct. The information from Blue Team is
transferred to the IAPro Early Identification case management system.

Classified: All positions in Maricopa County service that are covered by the Maricopa County Merit System Rules.
Excluded are those employees identified as temporary, initial probation, or contract employees, and those positions
identified as unclassified.

Clear and Convincing Evidence: Evidence that leaves one with a firm belief or conviction that is highly probable
that the factual contention of the claim or defense is true. This standard of proof is higher than proof by a
preponderance of the evidence but does not require proof beyond a reasonable doubt. The standard of proof, Clear
and Convincing Evidence, is only utilized when determining an investigatory finding of Unfounded; it is evidence
that the allegation was false or not supported by fact.

Closed Case Notification: A memorandum sent to the principal, investigative lead, and witness of an administrative
investigation to inform the employee that the investigation is complete. The notification for the principal is only sent
if the finding of the investigation was Unfounded, Exonerated, or Not Sustained.

Coaching: Coaching is a non-disciplinary interaction between a supervisor and an employee that supports an
individual in achieving specific personal or professional goals by providing training, advice, and guidance in response
to a specific situation.




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For the purpose of determining the number of offenses committed within identified categories of Office Policy GC-
17, Employee Disciplinary Procedures, Attachment A, the first use of Coaching shall not constitute an offense.
However, the use of Coaching shall require that subsequent conduct by the employee that falls in the same category
be addressed as a First Offense for both internal and external allegations, pre and post investigation. Coaching shall
be documented in Blue Team and shall be considered for the purpose of discipline for one year prior to the current
offense.

Compelled Statement: Information received during an administrative investigation, which the Office has required an
employee to provide under penalty of disciplinary action, up to, and including, dismissal from employment.

Complainant: Any individual who files a complaint regarding the conduct of any employee alleging a violation of
Office policies, procedures, or actions.

Complaint: An allegation of employee misconduct or wrongdoing. The complaint may be made verbally or in
writing, in person, by phone, by mail, or online; and may be by the individual complainant, someone acting on the
complainant’s behalf or anonymously; and with or without a signature.

Criminal Investigator: An Office criminal detective, whether assigned to the Criminal PSB Section or another
detective unit of the Office, who conducts an investigation into allegations of employee criminal misconduct.

Critical Incident: Any incident that involves the use of force by an employee resulting in death or serious physical
injury of a member of the public, prisoner, or an inmate; any assault upon MCSO employees, by any means, that
results in serious physical injury or death; or the intentional and unintentional discharge of a firearm by an employee
in the performance of their lawful duties. The term “critical incident,” as used in this Office Policy, is narrowed for
investigative purposes as specified in Office Policy GJ-2, Critical Incident Response, and should not be confused
with the definition provided in Office Policy GC-22, Critical Incident Stress Management Program, which is all-
encompassing and directly associated with issues of critical incident stress management. A critical incident does not
include the following and therefore does not require protocol activation:

        A.      The necessary dispatch of an animal for humane/medical purposes; including discharge of a firearm
                toward an animal for self-defense of themselves or in defense of others; or

        B.      The use of a specialized firearm by the Tactical Operations Unit in order to enhance officer safety,
                dispense chemical agents, or as an entry device, when no serious physical injury or death to any
                person occurs.

Disciplinary Offer: A situation where there is sufficient external evidence, documentary or video evidence that is
dispositive of whether a violation of policy occurred, that establishes a violation of Office Policy, and the PSB
Commander determines based on the circumstances of the situation, that the principal(s) involved accepted
responsibility and received an offer for either the presumptive discipline or a mitigated discipline no lower than the
minimum discipline within the Office Disciplinary Matrices, resulting in a sustained finding. A Disciplinary Offer
should be considered an Expedited Resolution.

Domestic Partner: An interpersonal relationship between two individuals who live together and share a common
domestic life but are not married to each other or anyone else.

Early Identification System (EIS): A system of electronic databases that captures and stores threshold events to help
support and improve employee performance through early intervention and/or to identify problematic operating
procedures, improving employee performance, identifying detrimental behavior, recognizing outstanding
accomplishments, and to improve the Office's supervisory response. The computerized relational database shall
collect, maintain, integrate, and retrieve information gathered in order to highlight tendencies in performance,
complaints, and other activities. The database allows the Office to document appropriate identifying information for
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Policy GH-2, Internal Investigations                                                        Effective Date: xx-xx-xx

involved employees, (and members of the public, when applicable), and the actions taken to address the tendencies
identified. Blue Team, IAPro, and EI Pro are applications of the EIS.

Early Intervention Unit (EIU): The EIU is part of the Bureau of Internal Oversight. The EIU is responsible for the
implementation, maintenance, and operation of the EIS and for providing training and assistance to the EIS users. The
unit conducts data analysis, data input, and review of activities exceeding thresholds to address potentially problematic
conduct or operating procedures and recognizes positive attributes by reviewing employee awards. The Office shall ensure
that there is sufficient staff to facilitate EIS input and training.

Employee: A person currently employed by the Office in a classified, unclassified, contract, or temporary status.

Employee Misconduct: Conduct that includes but is not limited to: a violation of Office Policy; an act of retaliation
for complying with Office Policy; an intentional provision of false information in an administrative investigation or
any official report, log, or electronic transmittal of information; an intentional failure to complete data collection of
other paperwork requirements required by the Office; or federal, state, or local criminal or civil violations.

Employee Retention and Performance Division (ERPD): The ERPD is a resource available to all employees,
supervisors, and commanders to assist with addressing employee performance concerns and sources of conflict
originating from workplace relationships on a case-by-case basis. This includes resolving disputes pertaining to
annual performance appraisals, supervisor application of workplace rules/regulations, and disputes pertaining to
employee leave matters. The Employee Retention and Performance Division is comprised of the Leave Management,
Compensation, and Retention and Performance Sections. The Leave Management Section (LMS) coordinates leaves
of absence and modified duty requests for employees in accordance with the Family and Medical Leave Act (FMLA),
the Uniformed Services Employment and Reemployment Rights Act (USERRA), the Americans with Disabilities
Act (ADA), workers’ compensation policy, and other related regulations and policies.

Expedited Resolution: A truncated investigative process that may be used in the event of a Disciplinary Offer
resulting in a sustained finding, or in the event that documentary or video evidence presents clear and convincing
evidence establishing that the alleged violation of Office Policy did not occur and there is no evidence or indication
of any other potential employee misconduct involved in the incident (resulting in an Unfounded finding).

External Complaint: An expression of dissatisfaction by the public, directed at an employee’s conduct.

Family Relationship: Relatedness or connection by blood or marriage or adoption.

Garrity Warning: A notice of an employee’s obligations and rights regarding compelled statements during an
administrative investigation.

Good Faith: Honesty of purpose and absence of intent to defraud.

IA Number: A unique investigative action number assigned to an allegation of misconduct for tracking and recording
purposes.

IAPro: A case management system used by the EIU, the Professional Standards Bureau (PSB), and the Administrative
Services Division that tracks and analyzes information, including but not limited to, complaints, commendations, use of
force incidents, pursuits, discipline, supervisor notes, and internal investigations. IAPro is used by PSB for the periodic
assessment of timelines of investigations and for monitoring the caseloads of internal affairs investigators. IAPro is also
used to track, as a separate complaint category, allegations of biased policing and unlawful investigatory stops, searches,
seizures, or arrests.



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Internal Affairs Investigator: Any employee who conducts an administrative investigation of misconduct, including
investigators assigned to the PSB or supervisors in an Office Division or bureau who are assigned to investigate
misconduct.

Internal Complaint: A complaint that originates from within the Office. Such complaints may be initiated by other
employees or from supervisors who observed, or were informed by other employees, of possible policy violations or
other misconduct. For the purpose of this Office Policy, complaints made by a former Office employee regarding
conduct that occurred while the former employee was still employed by the Office shall also be identified as an
internal complaint.

Intervention: An approved specified action taken by a supervisor to improve a situation or prevent a potential
negative work performance situation from developing into misconduct.

Investigative File: The Office’s complete investigative report and any attachments detailing the incidents being
investigated. The file shall contain, but is not limited to, the Administrative Investigations Process Checklist, Cover
Sheet, Findings Page(s), Prior Work History Report, Investigative Plan, Investigative Report, the Presumptive Range
of Discipline form, the Employee Disciplinary Considerations and Decision form, transcripts, audio/video of
interviews, body-worn camera footage, the Inmate Grievance Form, if applicable, etc. Depending on the outcome of
the investigation, the file shall also contain, but not be limited to, a Final Disposition Letter; Closed Case Notification;
and documents that record discipline, to include the Pre-Determination Hearing (PDH) recording. The Professional
Standards Bureau shall maintain the investigative file of all documents within the Office’s custody and control
relating to any investigation and related disciplinary proceedings, grievance proceedings, and appeals to the Maricopa
County Merit Systems Commission or state court.

Investigative Lead: An individual believed to have information or facts relevant to the matter under investigation.

Law Enforcement Officer: An employee of the Office, other than an initial probation employee, who is a deputy
sheriff or a detention officer.

Merit Rules: The Maricopa County Employee Merit System Rules and the Maricopa County Law Enforcement
Officers’ Merit System Rules.

Minor Discipline: Discipline less severe than a suspension, such as a written reprimand.

Misconduct: Includes any violation of Office Policy or Procedure, federal, state, or local criminal or civil law,
constitutional violations, whether criminal or civil, administrative rules including, but not limited to, the Maricopa
County Merit System Rules, or Office regulations.

        Criminal Misconduct: Misconduct by an employee that a reasonable and trained supervisor or internal affairs
        investigator would conclude could result in criminal charges due to the apparent circumstances of the
        misconduct.

        Minor Misconduct: Misconduct that, if sustained, would result in discipline or corrective action less severe
        than a suspension.

        Minor misconduct, while a violation of Office Policy, can often be addressed with field supervisor-initiated
        intervention intended to improve a situation, or prevent a potential negative work performance situation from
        progressing into a misconduct investigation. To address these employee behaviors, supervisors may initiate
        an intervention method, as specified in Office Policy GH-5, Early Identification System, to include: Squad
        briefing; meeting with supervisor; employee services; supervisor ride-along/work along; training; supervisor
        evaluation period; action plan; meeting with the commander; re-assignment; and coaching. The use of
        intervention shall only be used to address employee minor misconduct or behavior that does not, per the
                                                                                                                          5
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Policy GH-2, Internal Investigations                                                        Effective Date: xx-xx-xx

        Office Disciplinary Matrix, exceed a Category 1, First or Second Offense; a Category 2, First Offense and
        which has not been received by the Office as an external complaint, or has not already been assigned to the
        Professional Standards Bureau (PSB).

        Serious Misconduct: Misconduct that, if sustained, would result in discipline of a suspension, demotion, or
        dismissal.

Notice of Investigation: A written notice given to an employee during an administrative investigation which identifies
the employee’s status in the investigation, the employee’s responsibility not to discuss the investigation with anyone
other than those specified, the name and rank of the assigned investigators, and the right to have an observer present
at the interview.

Official Investigation: An official examination by a supervisor, an internal affairs investigator, or a criminal
investigator, into alleged employee misconduct that relates to or may affect an employee’s position with the Office.
The Office has two types of investigations that are used to examine these allegations:

        1.       Administrative Investigation: An investigation conducted into apparent violations of Office Policy.
                 Sustained allegations for an administrative investigation provide the basis for the imposition of
                 discipline according to the Discipline Matrices and the Categories of Offenses, as specified in Office
                 Policy GC-17, Employee Disciplinary Procedures.

        2.       Criminal Investigation: An investigation by a criminal investigator into an allegation of employee
                 criminal misconduct. These include the process of collecting information (or evidence) about a crime
                 in order to: 1) determine if a crime has been committed; 2) identify the perpetrator; 3) apprehend the
                 perpetrator, and 4) provide evidence to support a conviction in court.

The following does not constitute an official investigation or investigative interview: (a) questioning in the normal
course of duty, counseling or instruction, or an informal verbal admonishment by, or other routine or unplanned
contact with a supervisor or other law enforcement officer; or (b) preliminary questioning to determine the scope of
the allegations or if an investigation is necessary. However, such counseling, instructions, verbal admonishments,
other contacts, and preliminary questioning are covered by and subject to the truthfulness standards found in Office
Policy CP-5, Truthfulness.

Pre-Determination Hearing (PDH): A forum that allows an employee, regardless of employment status, who is
being considered for serious discipline, to address the appointing authority regarding the intended discipline.

Pre-Determination Hearing Notice: A written notice given to an employee who is being considered for serious
discipline. The notice includes information regarding: 1) the proposed disciplinary action, 2) the Merit Rules, as
applicable; 3) policies alleged to have been violated; 4) sufficient details describing the specific reasons that are being
considered for disciplinary action; 5) the employee’s relevant work history; 6) the opportunity for the employee to
review the investigative file; 7) the employee’s opportunity to present mitigating information; and 8) the date and
time of the hearing.

Preliminary Inquiry: The gathering of information available to determine the scope of the allegation and to preserve
perishable evidence. This can include a review of EI Pro, Blue Team, traffic stop data, Computer Aided Dispatch
(CAD), Shift Log entries in SHIELD, audio and video recordings, and preliminary audio- and video-recorded
questioning of parties involved.

Preponderance of the Evidence: Facts alleged are more likely true than not true. Preponderance of the evidence is
only utilized when determining an investigatory finding of Sustained.


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Principal: An employee identified as the primary focus of an administrative investigation and against whom a
complaint of misconduct has been made. An administrative investigation may have multiple principals.

PSB Administrative Investigators – Critical Incidents (PSB-CI): Select members of the administrative section of
the Professional Standards Bureau (PSB) who are responsible for investigating critical incidents strictly for
administrative purposes. The PSB-CI shall be comprised of no less than one PSB Command Staff and two
investigators.

PSB Diversion: A complaint intake process to address, on a case-by-case basis, eligible complaints without the
initiation of a formal administrative investigation or service complaint. Complaints received by the PSB shall be
reviewed to make an initial determination of the most appropriate course of action to take based on the nature of the
allegation. The Diversion process can culminate in one of the following: PSB-Directed Supervisory Intervention;
Administrative Closure; or Expedited Resolution with a finding of Unfounded.

PSB-Directed Supervisory Intervention: A PSB Diversion intended to improve and/or prevent a potential negative
work performance situation from progressing into a misconduct investigation. PSB may, on a case-by-case basis,
initiate an intervention method, as specified in Office Policy GH-5, Early Identification System, to include: Squad
briefing; meeting with supervisor; employee services; supervisor ride-along/work along; training; supervisor
evaluation period; action plan; meeting with the commander; re-assignment; and coaching. The use of intervention
shall only be used to address employee minor misconduct or behavior that per the Office Disciplinary Matrices does
not exceed a Category 1, First or Second Offense; a Category 2, First Offense for any Internal Complaint and as
specified in Attachment B of Office Policy GC-17 for any External Complaints.

Serious Discipline: Discipline which results in an employee receiving a suspension, demotion, or dismissal from
employment. All sustained violations of a Category 7 offense as specified in Office Policy GC-17, Employee
Disciplinary Procedures, shall result in dismissal from employment.

Serious Physical Injury: Injury which causes death or creates a reasonable risk of death, severe and permanent
disfigurement, severe impairment of health, or loss or protracted impairment of the functions of any bodily organ or
limb.

Service Complaint: A complaint regarding an inadequate policy, procedure, practice, service level due to staffing or
resources, or statutory authority required of the Office. A service complaint is not an allegation of employee
misconduct.

Supervisor: An employee to whom subordinates report.

        1.      Commander: An employee with the rank of lieutenant or above, or its civilian equivalent.

        2.      First-Line Supervisor: An employee with the rank of sergeant, or its civilian equivalent.

Unclassified Employee, Civilian Only: An at-will employee not covered by the Maricopa County Employee Merit
System Rules.

Volunteer: A person who performs hours of service for civic, charitable, or humanitarian reasons, without promise,
expectation, or receipt of compensation for services rendered. An employee may not volunteer to perform the same,
similar, or related duties for the Office that the employee is normally paid to perform.

Witness: An individual who has observed an incident.



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PROCEDURES

1.     Supervisor-Initiated Intervention: An approved action, as specified in Office Policy GH-5, Early
       Identification System, taken by a supervisor to improve a situation or prevent a potential negative work
       performance situation before it develops into a misconduct investigation. Supervisors may also initiate this
       action when an employee’s conduct, has minimal negative impact on the overall operations. Examples of
       employee work performance situations in which a supervisor may consider approved interventions include
       those categorized as a Category 1 or Category 2 of the Attachment B, of Office Policy GC-17, Employee
       Disciplinary Procedures. Employee conduct outside of the limitations of this section shall be addressed, as
       specified in this Office Policy. Supervisors are encouraged to contact the PSB if unsure whether the
       employee work performance situation may be addressed through a supervisor-initiated intervention or
       reported to the PSB for action.

       A.      Prior to determining intervention regarding the work performance situation, the supervisor shall:

               1.      Confirm the employee’s conduct does not exceed a Category 1, First or Second Offense or
                       a Category 2, First Offense, as specified in Office Policy GC-17, Employee Disciplinary
                       Procedures, and which has not been received by the Office as an External Complaint, or has
                       not already been assigned to the PSB;

               2.      Review discipline history by accessing the employee’s EIPro Dashboard to assist the
                       supervisor in their intervention or corrective action decision; and

               3.      Ensure that when considering a coaching for the intervention, that the employee will not
                       exceed the number of coachings allowed, as specified in Office Policy GC-17, Employee
                       Disciplinary Procedures, for one year prior to the current offense.

       B.      All supervisor-initiated intervention action taken shall be documented in Blue Team, as specified in
               Office Policy GH-5, Early Identification System. The entry shall include justification for the
               intervention and the specific policy or policies involved in the performance issue linked to the
               employee.

2.     Complaint Intake Procedures: The Office shall ensure that all allegations of employee misconduct, whether
       internally discovered or based on a complaint from a member of the public, or from an inmate, are fully,
       fairly, and efficiently investigated. All complaints shall be reviewed by the PSB Commander to determine
       if they are to be addressed as a PSB Diversion or a Service Complaint, or administratively investigated. All
       investigative findings must be supported by the appropriate standard of proof, as defined for each findings
       disposition, and shall be documented in writing. All employees who commit misconduct shall be held
       accountable.

       Complaints and allegations of misconduct, including third-party and anonymous complaints, shall be
       accepted and addressed as a PSB Diversion or a Service Complaint, or administratively investigated. All
       employees and members of the public shall be permitted to report allegations of misconduct anonymously.
       When a third-party registers a complaint on behalf of another individual, every reasonable effort shall be
       made to contact the alleged offended individual to verify the complaint. All complaints shall be documented,
       investigated, and dispositions determined as appropriate and per policy, and a written record made of the
       findings and resolution.

       A.      The Office shall provide a Comment and Complaint Form in both English and Spanish.



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Policy GH-2, Internal Investigations                                                     Effective Date: xx-xx-xx


               1.      A Comment and Complaint Form shall be available in the following locations:

                       a.       All deputies shall carry complaint forms in their Office vehicles. Upon request,
                                deputies shall provide individuals with complaint forms and information about how
                                to file a complaint, their name and badge number, and the contact information,
                                including telephone number and e-mail address, of their immediate supervisor;

                       b.       At the reception desk at Office Headquarters and Districts;

                       c.       At the reception desk at PSB;

                       d.       On the Office website;

                       e.       The Office shall allow for complaints to be received through a free 24-hour hotline;
                                and

                       f.       Permanent placards shall be posted and maintained in locations clearly visible to
                                members of the public at the reception desk at Office Headquarters and Districts.
                                The placards shall describe the complaint process and include all relevant contact
                                information, including telephone numbers, e-mail addresses, mailing addresses, and
                                internet sites. The placards shall be both in English and Spanish.

               2.      The Community Outreach Division (COrD) shall be responsible for ensuring that Comment
                       and Complaint Forms are available at all times at the Office Headquarters, Districts, and
                       other public locations. Deputies shall ensure that Comment and Complaint Forms are
                       available in their patrol vehicles. PSB shall be responsible for the reception desk of the PSB
                       and for those complaints received through the hotline.

       B.      Every complaint shall be documented in detail by the person receiving the complaint. Complaints
               shall normally be referred to a supervisor, but if this is not practicable, the receiving employee shall
               obtain pertinent information about the complaint and then immediately forward the information to a
               supervisor. This procedure shall be followed regardless of whether the complaint is submitted
               verbally, in writing, in person, by phone, by mail, or online, or whether the complaint is submitted
               by the complainant, someone acting on the complainant’s behalf, anonymously, or with or without
               the complainant’s signature. Complaints received by the Communications Division shall be
               processed as specified in Office Policy, GI-1, Radio and Enforcement Communications Procedures.
               When notified by an employee, the supervisor shall immediately document the notification and
               ensure that PSB has been advised through Blue Team. Employees receiving complaints shall ensure
               the maintenance of confidentiality. Employees shall not divulge the name of any persons filing a
               complaint or provide complainant information to any employee other than the supervisor and/or PSB
               personnel authorized by Office command to properly process and investigate allegations of
               misconduct. Upon receipt of the complaint, supervisors are not to discuss the facts of the allegation
               with those involved as to not compromise the integrity of the investigation. When taking complaint
               information, Office employees shall respond to the complainant in a courteous and professional
               manner. If asked by the complainant to identify themselves, employees shall provide at a minimum,
               their name and serial number.




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              1.     External Complaints

                     a.     External Complaints shall be accepted. No employee shall attempt to discourage,
                            interfere with, or delay an individual from registering a complaint. Every effort shall
                            be made to facilitate the convenient, courteous, and prompt receipt and processing
                            of an external complaint. The fact that a complainant does not speak, read, or write
                            in English; or is deaf or hard of hearing, will not be grounds to decline to accept or
                            investigate a complaint.

                            (1)     Complaints received at the Division by phone or in person shall be referred
                                    to the on-duty supervisor. Complaints received at the Sheriff’s Office
                                    Headquarters by phone or in person shall be referred to the Court
                                    Implementation Division. If this is not practical, the receiving employee
                                    shall obtain pertinent information about the complaint and have a supervisor
                                    make contact with the complainant as soon as possible. The PSB shall
                                    accept any external complaint directly from a complainant.

                            (2)     Complaints received by mail, e-mail, or the Office website shall be
                                    forwarded as follows:

                                    (a)      Complaints addressed to the Sheriff shall be routed to the PSB along
                                             with all supporting documents in a manner that promotes
                                             confidentiality.

                                    (b)      Complaints received through the mail, e-mail, the Office website,
                                             or received from other sources, shall be forwarded to the PSB.

                            (3)     Complaints requiring the Office to investigate allegations of criminal
                                    misconduct require the receiving supervisor to immediately notify their own
                                    chain of command, unless this notification would negatively impact the
                                    integrity of the complaint and the subsequent investigation. The respective
                                    commander shall notify the PSB Commander for investigative assignment.

                            (4)     Complaints involving allegations of excessive force or physical abuse
                                    require the supervisor to make every reasonable attempt to make immediate
                                    personal contact with the complainant. This interaction shall be both audio
                                    and video recorded unless deemed impractical to do so. Color photographs
                                    shall promptly be taken of any alleged physical injury. In extreme
                                    circumstances, personnel from the Scientific Analysis Division shall be
                                    contacted to take the photos. Complainants may also be encouraged to seek
                                    medical evaluation at their own expense and shall be asked to sign an
                                    Authorization to Release Information (See Attachment B) if treatment is
                                    sought.

                     b.     External complaints shall be documented in detail and forwarded immediately to the
                            PSB through Blue Team.

                            (1)     If received by a supervisor, the supervisor shall:



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                                   (a)     Offer to meet in person, and if in-person contact is desired, audio
                                           and video record the interaction. If the complainant does not desire
                                           in person contact, the contact shall be made by telephone,
                                           documented in the investigative report, and the supervisor shall
                                           audio record the interaction.

                                   (b)     Obtain the following minimum information:

                                           i)      Date of occurrence;

                                           ii)     Time of occurrence;

                                           iii)    Incident summary;

                                           iv)     Incident location;

                                           v)      Complainant’s name and contact information;

                                           vi)     Witness’s name and contact information;

                                           vii)    Supporting documents and/or evidence;

                                           viii)   Involved employees; and

                                           ix)     Any other available information.

                                   (c)     Immediately complete an entry utilizing Blue Team by selecting
                                           Incident Type – External Complaint. This information shall be
                                           automatically routed to PSB. If Blue Team is unavailable, the
                                           supervisor shall complete the Complaint Acceptance Report (see
                                           Attachment A) and e-mail the document to the PS. Once Blue Team
                                           is available, the information from the Complaint Acceptance Report
                                           shall be promptly added by the supervisor to Blue Team.

                                   (d)     Attach audio and video recording(s) and any related documents to
                                           the Blue Team entry. If Blue Team is not available, send copies of
                                           the audio and video recording(s) and related documents to the PSB.

                            (2)    If received by the PSB, the PSB shall:

                                   (a)     Offer to meet with the complainant and if in-person contact is
                                           desired, audio and video record the interaction. If the complainant
                                           does not desire in-person contact, the contact shall be made by
                                           telephone, documented in the investigative report, and the PSB shall
                                           audio record the interaction.




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                                    (b)     Enter the information directly into IAPro and attach audio and video
                                            recordings and related documents. If IAPro is unavailable,
                                            complete the Complaint Acceptance Report. Once IAPro is
                                            available, the information from the Complaint Acceptance Report
                                            and the audio and video recording(s) shall be promptly added to
                                            IAPro by the PSB.

                     c.     When possible, the supervisor or the PSB shall give verbal acknowledgment to the
                            complainant that the complaint has been received and documented, that it shall be
                            forwarded to the PSB for action, and an Office representative shall contact the
                            complainant as part of the complaint process. If verbal acknowledgement is not
                            possible, the supervisor or the PSB shall give written acknowledgement through
                            mail or e-mail. If acknowledgement in any form is not possible due to the lack of
                            complainant contact information, this shall be documented in the IAPro
                            Investigative Case File.

                     d.     The PSB shall notify the principal’s Division Commander and Bureau Chief of the
                            complaint provided that the integrity of subsequent action will not be compromised.
                            If the complaint is addressed through an administrative investigation, the principal’s
                            affected Division Commander and Bureau Chief are not to discuss the facts of the
                            allegation with those involved as to not compromise the integrity of the
                            investigation.

                     e.     Upon determination by the PSB Commander that an allegation of misconduct
                            requires an investigation, the PSB shall promptly assign an IA Number to the
                            incident and provide it to the complainant. Within seven days, the PSB shall provide
                            a written update to the complainant which shall include the IA Number and the name
                            of the assigned investigator. This written update shall also inform the complainant
                            how they may contact the PSB to inquire about the status of the complaint.

                     f.     If during the course of a PSB or Division administrative investigation the assigned
                            investigator identifies a new principal, the investigator shall notify the Division
                            Commander and Bureau Chief of the new principal, provided that the integrity of
                            the investigation will not be compromised.

                     g.     When allegations are filed on multiple employees involved in a single act of
                            misconduct, one IA Number shall be assigned. The assigned IA Number shall be
                            noted on all documents resulting from the complaint.

              2.     Inmate Complaints

                     a.     Inmate complaints shall be received through Inmate Grievance forms, Inmate
                            Request forms, or through verbal communication. Inmates shall be directed to
                            submit their complaint on an Inmate Grievance form, as specified in Office Policy
                            DJ-3, Inmate Grievance Procedures. If the inmate refuses to complete an Inmate
                            Grievance form, any information collected regarding the complaint shall be attached
                            to an Inmate Grievance form and forwarded through the grievance process.




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                            Detention personnel shall collect an inmate’s grievance or complaint as soon as
                            possible during the course of their shift duties and make an attempt to resolve the
                            grievance or complaint within 72 hours. Detention personnel unable to resolve the
                            grievance within 72 hours, shall forward the Inmate Grievance form to a shift
                            supervisor.

                            If at any time during this process employee misconduct is identified, it shall
                            immediately be entered into Blue Team as an External Complaint by the supervisor
                            identifying the misconduct. The entry shall include all investigative documentation
                            obtained prior to the misconduct being identified. Forms regarding the processing
                            of inmate complaints alleging employee misconduct are located in the Bureau
                            Hearing Unit Forms/Misconduct Grievance Forms folder on the Office’s shared
                            drive.

                     b.     Inmate complaints shall be processed based on the topic of the complaint. The
                            established procedures are as follows:

                            (1)     Inmate complaints involving policy, procedure, or services of the jail shall
                                    be addressed through the inmate grievance process, as specified in Office
                                    Policy DJ-3, Inmate Grievance Procedures.

                            (2)     Inmate complaint allegations of employee misconduct related to violations
                                    of the Prison Rape Elimination Act (PREA) shall be addressed, as specified
                                    in Office Policies DJ-3, Inmate Grievance Procedure and GJ-28, Prison
                                    Rape Elimination Act (PREA). The PREA Coordinator shall forward the
                                    completed PREA incident documents to the PSB Commander or designee,
                                    for review.

                            (3)     Inmate complaints regarding allegations of employee misconduct, to
                                    include use of force, shall be addressed, as specified in this Policy.

                            (4)     Inmate complaints regarding allegations of employee misconduct of a
                                    criminal nature shall be reported immediately to the Division Commander,
                                    and the PSB.

                            (5)     All other inmate complaints regarding allegations of employee misconduct
                                    received by non-supervisory personnel shall be immediately forwarded to a
                                    supervisor for action.

                     c.     Supervisor responsibilities when an inmate complaint alleges employee misconduct:

                            (1)     Upon determining an Inmate Grievance Preliminary Inquiry Report (PIR)
                                    is needed, the supervisor shall contact the facility Custody Bureau Hearing
                                    Unit (CBHU) Sergeant to receive a grievance tracking number and an
                                    Inmate Grievance Tracking Coversheet.




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                            (2)    As soon as possible, and not to exceed seven calendar days of receiving the
                                   Inmate Grievance form, to include those that are noted as resolved by the
                                   inmate after the officer responds in Section II of the Inmate Grievance form,
                                   the supervisor receiving the inmate complaint shall be responsible for
                                   completing a preliminary inquiry regarding the allegation. The preliminary
                                   inquiry shall include, but is not limited to the following:

                                   (a)     An audio recorded statement from the inmate complainant;

                                   (b)     Documented review of audio and video recordings, Shift Log
                                           entries in SHIELD, and rosters; and

                                   (c)     Documented limited questioning of the employee to determine the
                                           validity of the complaint.

                            (3)    Upon completion of the preliminary inquiry, the supervisor shall document
                                   their findings on a PIR.

                            (4)    The supervisor shall write a synopsis of the PIR findings on the inmate’s
                                   original Inmate Grievance form.

                            (5)    The supervisor shall provide all documentation, to include the PIR,
                                   Grievance Tracking Coversheet, the original Inmate Grievance form, and
                                   any associated information, to the shift commander for their review.

                            (6)    In the event a supervisor is an involved employee in an inmate’s complaint
                                   alleging employee misconduct, that supervisor shall not conduct the
                                   preliminary inquiry. The shift commander shall then determine which
                                   supervisor will conduct the preliminary inquiry.

                     d.     Shift Commander, Jail Commander, CBHU Commander or designee’s,
                            responsibilities when an inmate alleges employee misconduct:

                            (1)    As soon as possible, and not to exceed seven calendar days of receipt of the
                                   documentation from the supervisor, the shift and jail commander shall
                                   conduct their reviews and document their conclusion on the PIR.

                                   (a)     In the event that during the review by the shift or jail commander,
                                           either determines that misconduct did occur, they shall consult with
                                           the PSB Commander or designee, and provide them with a copy of
                                           the Inmate Grievance form, the PIR, the Grievance Tracking
                                           Coversheet, and any other associated information. The PSB
                                           Commander or designee, shall determine if misconduct by the
                                           employee has occurred and shall notify the CBHU of their
                                           determination.

                                   (b)     If the PSB determines an investigation is warranted, the copy of the
                                           Inmate Grievance form, the PIR, and Grievance Tracking
                                           Coversheet, and any associated information shall be forwarded to
                                           the PSB. Entry into IAPro and the assignment of an IA Number
                                           will stop the grievance process.         The PSB shall provide
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                                          documentation to the CBHU staff notifying them of the IA Number
                                          for processing and closure in the CBHU database. The CBHU staff
                                          shall make a notation on the original Inmate Grievance form
                                          indicating the PSB is investigating the allegation and attach the PSB
                                          documentation. The CBHU shall then provide the IA Number to
                                          the inmate in the grievance response.

                                   (c)    When the shift and jail commander complete their review, and
                                          conclude no employee misconduct occurred, they shall ensure the
                                          original Inmate Grievance form is returned to the inmate within
                                          three calendar days. The inmate shall be instructed to select their
                                          choice of action in Section IV of the Inmate Grievance form, and
                                          then sign their name, booking number, and the date, and be provided
                                          their copy of the grievance form. No PIR or Grievance Tracking
                                          Coversheet shall be provided to the inmate as part of the
                                          response. The Inmate Grievance form shall then be forwarded to
                                          the CBHU Commander, along with the PIR, the Grievance
                                          Tracking Coversheet, and any other associated information.

                            (2)    The CBHU Commander or designee, shall conduct a review and document
                                   their findings on the PIR as soon as possible, and not to exceed seven
                                   calendar days of the shift or jail commander’s documentation.

                                   (a)    If the CBHU Commander or designee, determines that employee
                                          misconduct may have occurred, they shall consult with the PSB, and
                                          provide the PSB with a copy of the Inmate Grievance form, the PIR,
                                          the Grievance Tracking Coversheet, and any other associated
                                          information. The PSB Commander or designee, shall determine if
                                          an investigation is warranted. If the allegation is going to be
                                          investigated by the PSB, the Inmate Grievance form will be closed
                                          out in the CBHU database upon issuance of the IA Number in
                                          IAPro. The CBHU staff shall make a notation on the original
                                          Inmate Grievance form indicating the PSB is investigating the
                                          allegation and attach the PSB documentation. The CBHU shall then
                                          provide the IA Number to the inmate in the grievance response.

                                   (b)    A copy of the grievance form indicating the assigned IA Number
                                          and noting that PSB will be conducting an investigation shall be
                                          provided to the inmate by the CBHU Commander or designee. No
                                          PIR or Grievance Tracking Coversheet shall be provided to the
                                          inmate as part of the response.

                                   (c)    If upon review of the Inmate Grievance form, the PIR, the
                                          Grievance Tracking Coversheet, and any other associated
                                          information, the CBHU Commander or designee, determines the
                                          PSB is not going to investigate the allegation, the Inmate Grievance
                                          form shall continue through the inmate grievance process. All
                                          collected information obtained during the preliminary inquiry, to
                                          include the Inmate Grievance form, the PIR, the Grievance
                                          Tracking Coversheet, and any other associated information, shall be
                                          stored in the CBHU database.

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                     e.     Once potential misconduct is identified, the PSB Commander shall make the final
                            determination whether an administrative investigation is conducted following
                            consultation with the shift or jail commander, or the CBHU Commander or designee,
                            regarding an inmate allegation of employee misconduct.

                            (1)     For allegations of misconduct, the CBHU Commander shall provide the
                                    Inmate Grievance form, the PIR, the Grievance Tracking Coversheet, and
                                    any other associated information from the shift or jail commander to the
                                    PSB Commander or designee, who shall make an initial determination of
                                    the category of the alleged offense and promptly assign an internal affairs
                                    investigator.

                            (2)     If the PSB Commander or designee, determines an administrative
                                    investigation is warranted, the PSB shall enter the Inmate Grievance form,
                                    the PIR, the Grievance Tracking Coversheet, and any other associated
                                    information, into IAPro, as an External Complaint, listing the inmate as the
                                    complainant.

                            (3)     Once determined the complaint will be investigated as an External
                                    Complaint through the PSB, the Inmate Grievance shall not be processed
                                    any further by the CBHU and closed out in the CBHU database as
                                    investigated further by the PSB and referencing the IA Number. The CBHU
                                    Commander or designee, shall notify the inmate regarding the status of their
                                    grievance.

                            (4)     If the PSB Commander or designee, determined employee misconduct did
                                    not occur, the allegation shall remain as an inmate grievance. The PSB’s
                                    determination shall be documented in the CBHU database, and the Inmate
                                    Grievance form shall continue through the grievance process, as specified
                                    on Office Policy DJ-3, Inmate Grievance Procedures.

              3.     Internal Complaints

                     a.     Internal complaints shall be accepted by supervisors. While employees may enter
                            an internal complaint into Blue Team or may contact the PSB directly, employees
                            are encouraged, but not required, to first attempt to resolve their internal complaint
                            through their respective chain of command.

                            (1)     Employees who observe or become aware of any act of misconduct by
                                    another employee shall, as soon as practicable, report the incident to a
                                    supervisor, directly to the PSB, or any outside entity authorized to take
                                    corrective action, without fear of retaliation. When the misconduct involves
                                    a supervisor, the employee shall either contact the next level in the chain of
                                    command, or the PSB, at any time, regarding misconduct involving an
                                    Office employee or make a Blue Team entry.

                            (2)     Internal complaints shall not be confused with an employee grievance. A
                                    grievance is directed at such matters as employee status, work conditions,
                                    or operational procedures, as specified in Office Policy GC-16, Employee
                                    Grievance Procedures. An internal complaint is directed at alleged
                                    misconduct on the part of an employee which shall warrant a preliminary
                                    inquiry or investigation, and possible disciplinary action.
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                            (3)     Internal complaints shall not be confused with matters associated with
                                    Failure to Perform at Level Required of the Position (not involving
                                    misconduct). These matters do not involve misconduct and no internal
                                    complaint shall be submitted. Supervisors shall contact the Human
                                    Resources Bureau for guidance on how to manage an employee for Failure
                                    to Perform at Level Required of the Position (not involving misconduct).

                                    (a)     Supervisor action to assist the employee shall include intervention
                                            options as specified in Office Policy GH-5, Early Identification
                                            System, and this Office policy.

                                    (b)     The use of Failure to Perform at Level Required of Position will be
                                            limited at this time to civilian personnel and will require the review
                                            of the PSB Commander to ensure the employee action is not
                                            misconduct.

                     b.     Internal complaints shall be documented in detail and immediately forwarded to the
                            PSB through Blue Team.

                            (1)     If an internal complaint is received by the supervisor, the complaint shall be
                                    documented consistent with external complaints, as specified in this Office
                                    Policy. When entering the information into Blue Team, the supervisor shall
                                    select Incident Type – Internal Complaint. The information shall be
                                    automatically routed to the PSB.

                            (2)     If the employee elects to enter a complaint directly into Blue Team, they shall
                                    select Incident Type – Internal Complaint and enter the required
                                    information. This information shall be automatically routed to the PSB.

                            (3)     If an internal complaint is received by the PSB, complaints shall be
                                    documented consistent with external complaints, as specified in this Office
                                    Policy. When entering the information into IAPro, PSB shall select Incident
                                    Type – Internal Complaint.

              4.   Service Complaints

                     a.     The Office shall receive, evaluate, and respond to service complaints regarding
                            inadequate policy, procedure, practice, service level due to manpower or resources,
                            or statutory authority required of the Office. A service complaint shall not include
                            allegations of employee misconduct. A service complaint provides a mechanism to
                            foster communication between members of the Office and the public.

                     b.     Preliminary Inquiry: If a supervisor receives a complaint believed to be a service
                            complaint, the supervisor shall conduct a preliminary inquiry. The supervisor shall
                            document information gathered during the preliminary inquiry. The information to
                            be documented shall include:

                            (1)     An audio recording of the personal contact with the complainant. If the
                                    complainant does not want personal contact, the interaction shall be audio
                                    recorded;

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                            (2)     If needed, any interviews of involved employees; and

                            (3)     Information gathered through a review of EI Pro, Blue Team, traffic stop
                                    data, CAD, Shift Log entries in SHIELDs, audio and video recordings, and
                                    limited preliminary questioning of the parties involved.

                     c.     Service Complaint Form: The supervisor shall complete the Service Complaint
                            Form and include all information gathered during the preliminary inquiry. The
                            Service Complaint Form shall be forwarded to the PSB through Blue Team by
                            selecting Incident Type – Service Complaint. The Service Complaint Form is found
                            in the Internal Affairs\Forms folder on the Office’s shared drive. The audio and
                            video recordings and other information gathered during the preliminary inquiry shall
                            be attached to the Blue Team entry when forwarded to the PSB.

                     d.     Review of Service Complaint: The PSB shall review the preliminary inquiry and
                            determine whether the complaint shall be issued a Service Complaint number (SC
                            Number) and closed administratively, the complaint will be investigated
                            administratively and issued an IA Number, or PSB will utilize the PSB Diversion
                            process. When a complaint consists of both misconduct and service issues, only an
                            IA Number shall be issued. However, the matters determined to be a service
                            complaint can be treated as separate allegations and closed as service complaints.

                            (1)     Administrative Closure: An Administrative Closure shall be used to indicate
                                    a service complaint was resolved without an administrative investigation.

                                    (a)      Administrative Closures shall be used when any of the following
                                             circumstances exist:

                                            i.      The complaint does not allege employee misconduct and
                                                    can be resolved with an explanation to the complainant
                                                    regarding the policy, procedure, service level due to
                                                    manpower or resources, or statutory authority required of
                                                    the Office. This includes matters in which the complainant
                                                    questions Office policy, procedures, or service level due to
                                                    manpower or resources, or statutory authority required of
                                                    the Office.

                                           ii.      The complainant does not allege employee misconduct and
                                                    expresses dissatisfaction with the outcome of formal legal,
                                                    civil, or administrative processes involving members of the
                                                    Office. The preliminary inquiry associated with this type
                                                    of Service Complaint closure shall be thoroughly reviewed
                                                    and confirm potential employee misconduct was not
                                                    involved with the incident prior to closure.

                                          iii.      The complainant does not allege employee misconduct and
                                                    requests additional information or follow-up actions
                                                    pertaining to a prior call for service, report, or investigation.




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                                          iv.       The complaint lacks specificity and the complainant refuses
                                                    or is unable to provide further clarification necessary for the
                                                    Office to fully understand the complaint, or the
                                                    complainant does not articulate facts amounting to an
                                                    allegation of employee misconduct.

                                    (b)     If the service complaint is closed with the appropriate
                                            administrative finding, the PSB shall complete an entry into IAPro
                                            by selecting Incident Type – Service Complaint. The entry shall
                                            include the SC Number and outcome.

                                           i.       PSB shall prepare and distribute the Final Disposition
                                                    Letter. The complainant should be informed that their
                                                    complaint is being looked into for possible changes to
                                                    policy and training, if applicable.

                                          ii.       The PSB shall forward copies of the service complaint to
                                                    the Policy Development Section, Training Division, or any
                                                    other area that may be impacted by the information
                                                    contained in the complaint for review and action, if
                                                    necessary. The Policy Development Section and/or
                                                    Training Division shall be required to look into the issue
                                                    and respond to the PSB about any changes that it will make
                                                    or why changes are not being made.

                            (2)     Administrative Investigation: If the service complaint is elevated to an
                                    administrative investigation, the PSB shall assign an IA Number and assign
                                    the investigation to the appropriate Division or maintain and initiate the
                                    investigation.

              5.     Office Vehicle Accidents

                     a.     Office vehicle accident investigations shall be addressed, as specified in Office
                            Policy GE-4, Use, Assignment, and Operation of Vehicles.

              6.   PSB Diversions

                     a.     The PSB Diversion process is a mechanism initiated by the PSB Commander to
                            address, on a case-by-case basis, eligible complaints that are most appropriately
                            handled without the initiation of a formal administrative investigation or Service
                            Complaint.

                     b.     The PSB Diversion process shall utilize the EIS to process, document, route, and
                            track the way eligible complaints are addressed in lieu of a formal administrative
                            investigation or Service Complaint.

                     c.     The PSB Diversion process shall require notification to the complainant, principal
                            employees, and the respective employee’s chain of command consistent with
                            notifications sent when an administrative investigation or Service Complaint is
                            received or closed.

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                     d.     If the PSB Diversion process is utilized, the incident type of PSB Diversion will be
                            utilized in the IAPro Database, a unique tracking number will be assigned, and all
                            documentation associated with the PSB Diversion and involved employees will be
                            attached.

                     e.     Only the specific categories of complaints identified in this Office Policy are eligible
                            for a PSB Diversion.

                     f.     The PSB Commander shall document in writing the decision to utilize a PSB
                            Diversion instead of initiating a formal administrative investigation or Service
                            Complaint. Decisions as to how complaints are classified or which are eligible for
                            PSB Diversions will be made on a case-by-case basis; and based on the
                            circumstances, cases may be reclassified.

                     g.     If the PSB Commander determines that a qualifying complaint should be addressed
                            with an approved PSB Diversion, the following procedures shall apply:

                            (1)     The PSB Diversion Service Form shall include the PSB Diversion tracking
                                    number, involved employee, synopsis, associated policy violation(s),
                                    category of offense(s), and offense number.

                            (2)     The PSB Diversion Service Form shall include instructions for issuance to
                                    the employee and be routed via the involved employee’s chain of command
                                    for service.

                            (3)     The PSB Diversion Service Form shall be issued to the involved employee,
                                    documented in the EIS in accordance with the instructions provided, and
                                    returned to the PSB within 30 calendar days.

                            (4)     The PSB Diversion Service Form will be attached to the PSB Diversion
                                    Incident in the IAPro Database and linked to any associated EIS entries.

                     h.     The following types of complaints are not eligible for consideration for a Diversion:

                            (1)     Complaints involving members of the Plaintiffs’ class;

                            (2)     Complaints involving allegations of bias;

                            (3)     Complaints involving allegations of criminal conduct;

                            (4)     Allegations of conduct that, if sustained, would require notification to the
                                    MCAO for Rule 15 Disclosure pursuant to Brady v. Maryland;

                            (5)     Allegations of conduct that, if sustained, could result in the revocation of a
                                    principal’s AZ POST certification; and

                            (6)     Allegations of conduct that, if sustained, could constitute a Category 3 or
                                    higher Offense from the Office’s Disciplinary Matrices – unless otherwise
                                    specified below.

                     i.     The following situations, on a case-by-case basis, are eligible as part of the Diversion
                            process, to be Administrative Closures:
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                            (1)    Situations where a complaint was received by the Office more than one year
                                   after the last instance of the underlying alleged misconduct being reported.

                            (2)    Situations where an internal or external complaint was received by the
                                   Office after the employee(s) involved in the alleged misconduct left
                                   employment with the Office; or situations where, in an internal or external
                                   complaint, the principal employee involved in the alleged misconduct is
                                   deceased or becomes no longer employed by the Office and there is no
                                   evidence or indication of any other potential employee misconduct in the
                                   incident.

                                   (a)     Should the principal employee return to work at the Office, the case
                                           shall be reactivated and resumed for full completion in accordance
                                           with Office Policy standards. The time in which the employee was
                                           not employed with the Office shall be excluded from the
                                           investigative timeline.

                            (3)    Situations when the initial complainant is unwilling or unable to cooperate.

                            (4)    Situations where the initial complainant is anonymous. Anonymous
                                   complainants include those that are known but desire to remain anonymous
                                   and requested to not be included in the investigative report and those whose
                                   identity is unable to be confirmed.

                            (5)    Situations resulting in a health-related in-custody jail death that do not
                                   involve the use of force by an employee and are considered non-critical
                                   incidents under Office Policy.

                                   (a)     There are no exclusions for Diversions in these situations.

                                   (b)     Prisoner or Inmate Death Preliminary Inquiry Report (PIR):
                                           Following the death of a prisoner or inmate in Office custody, as
                                           specified in Office Policy GJ-11, Serious Diagnosed Illness,
                                           Serious Physical Injury or Death of a Prisoner or Inmate, where
                                           there is no employee use of force, and when no PSB investigation
                                           has otherwise been initiated, shall require the completion of a PIR,
                                           as specified in this Office Policy. The PIR shall be conducted to
                                           identify potential employee misconduct associated with the
                                           incident. If at any time during the PIR process employee
                                           misconduct is identified, it shall immediately be entered into Blue
                                           Team as an Internal Complaint by the supervisor identifying the
                                           misconduct.

                                         i.        The gathering of information for the PIR shall include, but
                                                   is not limited to, interviews of involved employees,
                                                   information gathered through various data sources, and the
                                                   review of associated audio and video recordings. The PIR
                                                   will ensure that any perishable evidence relevant to an
                                                   administrative misconduct investigation is preserved.


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                                          ii.       PIRs completed pursuant to a prisoner or inmate death shall
                                                    be forwarded through the chain of command to the PSB
                                                    Commander or designee to determine if an administrative
                                                    investigation is warranted to determine whether any
                                                    violation of Office policy contributed in any way to the
                                                    prisoner or inmate death.

                                                    a.      If the PSB Commander or designee determines
                                                            employee misconduct was identified, the PIR shall
                                                            be entered as an Internal Complaint pursuant to this
                                                            Office Policy.

                                                    b.      If the PSB Commander or designee determines
                                                            employee misconduct did not occur, no further
                                                            administrative investigative action is required.

                                         iii.       A prisoner or inmate death PIR is not required when the
                                                    following occurs:

                                                    a.      The death of a prisoner or inmate is determined be
                                                            a critical incident, as specified in Office Policy GJ-
                                                            2, Critical Incident Response; or

                                                    b.      The PSB has already initiated an administrative
                                                            investigation into the incident.

                            (6)    Situations where an internal complaint originated from a workplace
                                   relationship(s) and are most appropriately addressed with the assistance of
                                   the MCSO Employee Retention and Performance Division (ERPD) in
                                   accordance with the process outlined in the PSB Operations Manual.

                                   (a)      The following types of complaints are not eligible for consideration
                                            for a PSB Diversion Process in place of a formal administrative
                                            investigation or Service Complaint:

                                            i.      Allegations of conduct that, if sustained, could constitute a
                                                    Category 4 or higher Offense from the Office’s
                                                    Disciplinary Matrices.

                     j.     PSB-Directed Supervisory Interventions:

                            (1)    Situations wherein the PSB may initiate an PSB-Directed Supervisory
                                   Intervention to improve and/or prevent a potential negative work
                                   performance situation from progressing into a misconduct investigation. To
                                   address these employee behaviors, PSB may initiate an intervention method,
                                   as specified in Office Policy GH-5, Early Identification System, to include:
                                   Squad briefing; meeting with supervisor; employee services; supervisor
                                   ride-along/work along; training; supervisor evaluation period; action plan;
                                   meeting with the commander; re-assignment; and coaching. The use of
                                   intervention shall only be used to address employee minor misconduct or
                                   behavior that per the Office Disciplinary Matrices does not exceed a
                                   Category 1, First or Second Offense; a Category 2, First Offense for any
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                                   Internal Complaint and as specified in Attachment B of Office Policy GC-
                                   17 for any External Complaints. Employee conduct outside of the
                                   limitations of the named sections for both internal and external allegations
                                   shall be addressed by considering the definition for each Category of
                                   Offenses and determining placement, as specified in the Office Policy.

                                   These situations are eligible, on a case-by-case basis, for consideration by
                                   the PSB Commander for an approved PSB-Directed Supervisory
                                   Intervention, in lieu of an administrative investigation or Service Complaint.

                                   (a)     Following a review of the circumstances of the incident, available
                                           evidence, EIS profile, and the disciplinary history of the potential
                                           principal, the PSB Commander shall make an initial determination
                                           if the allegations can appropriately be addressed through an
                                           approved PSB-Directed Supervisory Intervention. Principals shall
                                           not exceed the number of coachings allowed, as specified in Office
                                           Policy GC-17, Employee Disciplinary Procedures, for one year
                                           prior to the current offense.

                     k.     Expedited Resolution with a finding of Unfounded:

                            (1)    Situations of an internal or external complaint where under the clear and
                                   convincing evidence standard, external documentary or video evidence
                                   establishes that the alleged violation of Office Policy did not occur and there
                                   is no indication of any other employee misconduct resulting in an Expedited
                                   Resolution with a finding of Unfounded.

                                   (a)     If the investigator determines during the administrative
                                           investigative process that above conditions are met, and the case
                                           investigation has not already been completed, the investigator shall
                                           document in the investigative report the following:

                                           i.       The manner and circumstances in which the above
                                                    condition is met to support an expedited finding;

                                           ii.      The investigative steps taken to verify there are no other
                                                    indications or evidence of other employee misconduct
                                                    involved in the incident;

                                           iii.     If applicable, the readily available clear and convincing
                                                    evidence demonstrating that the alleged violation of Office
                                                    Policy could not occur as alleged, supporting an unfounded
                                                    finding;

                                           iv.      The investigative report shall be completed with the
                                                    recommended expedited finding of unfounded and
                                                    submitted for review in accordance with the processing of
                                                    all other completed administrative investigations.

                                           v.       If the Expedited Resolution and finding is approved by the
                                                    PSB Commander, the administrative case will proceed

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                                                          through all other formal closure processes for an
                                                          administrative investigation as outlined in Office Policy.

                                                 vi.      If the Expedited Resolution and finding is applied to an
                                                          administrative investigation, a special indicator linked to
                                                          the expedited finding shall be included in IAPro
                                                          Investigative Case File and associated with the employee’s
                                                          EIS information for future reference.

3.     Disciplinary Offer: Situations where there is sufficient external evidence, documentary or video evidence
       that is dispositive of whether a violation of policy occurred, establishes a violation of Office Policy, and the
       PSB Commander determines based on the circumstances of the situation, that the principal(s) involved
       accepted responsibility and received an offer for either the presumptive discipline or a mitigated discipline
       no lower than the minimum discipline within the Office Disciplinary Matrix, as further described:

       A.      A Disciplinary Offer is to be considered an Expedited Resolution.

       B.      The ability of the PSB Commander to offer principals the presumptive discipline or a mitigated
               penalty if they accept responsibility, shall include allegations that, if sustained, could constitute a
               Category 1, Category 2, and Category 3, First Offense, where minor discipline is within the approved
               range pursuant to Office Policy GC-17, Employee Disciplinary Procedures.

       C.      If determined to be eligible, the PSB Commander shall coordinate with the MCSO Administrative
               Services Division (ASD) Conduct Resolution Section (CRS) to prepare and extend the written
               disciplinary offer to the principal employee(s).

       D.      The principal employee(s) shall have seven (7) calendar days during a time period the employee is
               regularly scheduled to work to respond to the disciplinary offer.

       E.      If the employee accepts responsibility for the policy violation(s) and returns the signed disciplinary
               offer, the ASD CRS shall prepare/process the disciplinary action in accordance with standard
               operating procedures for minor discipline administration following a formal administrative
               investigation. Some steps may not be required to complete this investigation.

       F.      If the employee declines to accept the disciplinary offer or fails to return the disciplinary offer to the
               ASD CRS by the deadline provided, the ASD CRS shall forward the response or lack of response to
               the PSB Commander for the initiation of a formal administrative investigation.

       G.      In the event information/evidence related to this complaint is later discovered which could require
               the matter to be investigated further by the PSB, the discipline offer or issuance shall be rescinded
               by the PSB Commander.

       H.      The following types of complaints are not eligible for consideration for a presumptive discipline or
               a mitigated penalty in place of a full formal administrative investigation or Service Complaint:

               1.      Complaints involving members of the Plaintiffs’ class;

               1.      Complaints involving allegations of bias;

               2.      Complaints involving allegations of criminal conduct;


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               3.       Allegations of conduct that, if sustained, would require notification to the MCAO for Rule
                        15 Disclosure pursuant to Brady v. Maryland;

               4.       Allegations of conduct that, if sustained, could result in the revocation of a principal’s AZ
                        POST certification; and

               6.       Allegations of conduct that, if sustained, could constitute a Category 3 Offense where minor
                        discipline is not within the approved range from the Office’s Disciplinary Matrices.

4.     Investigative Assignment: The PSB Commander will make an initial determination of the category of
       offense and then promptly assign an internal affairs investigator, or a criminal investigator as required. If the
       misconduct investigation will be investigated at the Division level, the Division Commander shall assign the
       internal affairs investigator.

       A.      Investigations of complaints shall only be conducted by individuals who meet the clearly defined
               qualifications documented in the PSB Operations Manual, or as justified in writing by the PSB
               Commander. The Office must ensure that an internal affairs investigator:

               1.       Possesses excellent investigative skills, has a reputation for integrity, possesses the ability to
                        write clear reports, has the ability to be fair and objective in determining whether an
                        employee committed misconduct; and

               2.       Does not have a disciplinary history of three or more sustained violations of misconduct or
                        does not have one sustained violation of a Category 6 from the Office’s Disciplinary
                        Matrices, as specified in Office Policy GC-17, Employee Disciplinary Procedures, and does
                        not have a history of conducting deficient investigations.

               3.       Is not listed in the Law Enforcement Rule 15 Disclosure Database.

       B.      Allegations of employee minor misconduct shall be administratively investigated by a sergeant who
               has received misconduct investigative training.

               1.       Division level internal affairs investigators may seek assistance from the PSB at any time
                        during the investigation.

               2.       If at any point during an administrative investigation the investigator has information
                        indicating the principal may have committed misconduct of a serious or criminal nature, the
                        investigator shall immediately notify the PSB, which shall assume the investigation.

       C.      The PSB shall investigate the following allegations of employee misconduct:

               1.       Serious misconduct;

               2.       Misconduct indicating apparent criminal conduct;

               3.       Allegations of a violation of Office Policy, CP-5, Truthfulness;

               4.       Complaints alleging any act of discriminatory policing or conduct;

               5.       Discriminatory motor vehicle stop complaints;


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               6.      Supervisory referrals resulting from a supervisory review of reports or recordings depicting
                       discriminatory actions;

               7.      Use of force complaints in which serious injury results or is alleged;

               8.      Complaints alleging an employee has committed an act of domestic violence;

               9.      The filing of any civil suit by a member of the public alleging misconduct of an employee
                       which occurred on or off duty;

               10.     Critical incidents, as specified in Office Policy GJ-2, Critical Incident Response; and

               11.     Any investigation, which due to its complexity or the involvement of personnel from
                       multiple squads or Divisions or is beyond the capabilities of Division level personnel.

       D.      Conflict of Interest: Conflict of interest in administrative investigations is prohibited. An assigned
               investigator shall disclose any involvement or relationship which could be perceived to compromise
               the investigative process to the PSB Commander prior to the start of the investigation. The PSB
               Commander shall make a determination as to whether the perception is justified and reassign the
               investigation, if necessary.

               1.      No employee who was involved in an incident shall be involved in or review a misconduct
                       investigation arising out of the incident.

               2.      No employee who has an external business relationship or close personal relationship with
                       a principal or witness in a misconduct investigation shall investigate the misconduct.
                       Relationships that shall be reported, include but are not limited to:

                       a.      Family relationship(s);

                       b.      Outside business relationship(s);

                       c.      Romantic relationship(s);

                       d.      Personal friendship(s) that extends outside of the Office; and

                       e.      Close professional relationship(s).

               3.      No employee shall be involved in an investigation, whether criminal or administrative, with
                       respect to any persons who are superior in rank and in their chain of command.
                       Investigations of the Chief Deputy’s conduct, whether criminal or civil, must be referred to
                       an outside authority.

               4.      If an internal affairs investigator or a commander has knowledge of a conflict of interest
                       affecting their involvement, they should immediately inform the PSB Commander or, if the
                       holder of that office also suffers from a conflict, the highest-ranking, non-conflicted chief-
                       level position or, if there is no non-conflicted chief-level position, an outside authority.

               5.      Where appropriate to ensure the fact and appearance of impartiality, the PSB Commander
                       or the Chief Deputy may refer administrative misconduct investigations to another law
                       enforcement agency or may retain a qualified outside investigator to conduct the
                       investigation.
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               6.       Any outside authority retained by the Office must possess the requisite background and level
                        of experience of internal affairs investigators and must be free of any actual or perceived
                        conflicts of interest. The PSB shall determine if an outside investigator possesses the
                        requisite background and level of experience of internal affairs and the absence of any actual
                        or perceived conflicts of interest.

5.     Investigation of Complaints: The investigation of allegations is a critical part of the complaint and discipline
       process. A decision to exonerate, unfound, not sustain, or sustain a charge must be based upon actual and
       reliable information. The investigation shall consist of gathering and reporting facts related to the allegation.
       Credibility determinations shall be based upon all known facts. Employees shall provide all relevant
       evidence and information in their custody and control to internal affairs investigators. They shall also advise
       investigators of persons who shall be contacted for statements. Intentionally withholding evidence or
       information from an internal affairs investigator shall result in discipline.

       A.      Investigations must be viewed by the public and Office employees as diligent, thorough, and
               impartial. The investigation shall be conducted in a manner that shall reveal the facts. In each
               misconduct investigation, investigators shall:

               1.       Conduct investigations in a rigorous and impartial manner designed to determine the facts;

               2.       Approach the investigation without prejudging the facts and without permitting any
                        preconceived impression of the principal, investigative lead, witness, or complainant to
                        cloud the investigations;

               3.       Identify, collect, and consider all relevant, circumstantial, direct, and physical evidence,
                        including any audio or video recordings while ensuring evidence is collected in a timely
                        fashion and in accordance with Office Policy GE-3, Property Management and Evidence
                        Control;

               4.       Make reasonable attempts to locate and interview all witnesses, including members of the
                        public. Leaving voice mail messages and sending certified letters is not sufficient.
                        Reasonable attempts may include, but are not limited to, neighborhood canvasses, checking
                        with the Post Office, accessing open Internet resources, and completing Department of
                        Motor Vehicle checks. All attempts shall be documented in the investigative report with the
                        date, time, where, when, and who was contacted, to include all reasons why an interview
                        was not conducted;

               5.       Offer in person interviews to any external complainants;

               6.       Audio and video record all interviews. Exceptions to a recorded interview may include, but
                        are not limited to, the fact that the member of the community does not wish to be audio
                        and/or video recorded, or that the member of the community resides outside of Maricopa
                        County. If an interview is not audio and video recorded, all reasons shall be documented in
                        the investigative report;

               7.       Avoid asking leading questions and questions that may suggest justifications for the alleged
                        misconduct;

               8.       Attempt to resolve material inconsistencies between employee, complainant, investigative
                        lead, and witness statements, and make credibility determinations as appropriate;

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               9.      Not give automatic preference for an employee’s statement over a statement received from
                       a member of the public;

               10.     Not disregard a witness or investigative lead’s statement solely because the witness or
                       investigative lead has a connection to either the complainant or an employee or has a criminal
                       history; and

               11.     Not alone consider the fact that a complainant committed a crime, pled guilty, or is found
                       guilty of an offense, to determine whether the employee engaged in misconduct; nor will
                       such factors by themselves justify discontinuing an investigation.

       B.      Internal affairs investigators shall consider the witness or investigative lead’s criminal history or any
               adjudicated findings of untruthfulness in evaluating their statement. Additionally, the internal affairs
               investigator shall take into account the record of any witness, investigative lead, complainant, or
               employee who has been determined to have been deceptive or untruthful in any legal proceeding,
               misconduct investigation, or other investigation.

       C.      Investigators shall investigate any evidence of potential misconduct uncovered during the course of
               the investigation, regardless of whether the potential misconduct was part of the original allegation.

       D.      The Office shall not terminate an administrative investigation solely on the basis that the complainant
               seeks to withdraw the complaint, or is unavailable, unwilling, or unable to cooperate with an
               investigation, or because the principal resigns or retires to avoid discipline unless it meets the specific
               situations approved for Administrative Closures. The Office will continue the investigation and
               reach a finding, where possible, based on the evidence and investigatory procedures and techniques
               available.

       E.      Administrative Investigation: The PSB Commander shall determine if an administrative
               investigation will be conducted at the Division level or by the PSB, as specified in this Office Policy.

       F.      Criminal Investigation: When appropriate, a separate criminal investigation shall be conducted by
               the PSB Criminal Investigations Section, an Office criminal investigations unit, such as the Major
               Crimes or Special Investigations Division, or by a law enforcement agency having jurisdiction, for
               the purpose of prosecution. A criminal investigation conducted by an Office criminal investigative
               unit must first be authorized by, and under the authority of, the PSB Commander; and must be
               conducted separately from any administrative investigation. All criminal investigations conducted
               by the Office shall be assigned a Criminal Internal Affairs (CIA) number. The initiation of a criminal
               investigation does not preclude the initiation and/or continuing of an administrative investigation.

               1.      When a complaint, whether internal or external, has the implication of possibly being
                       criminal in nature, the PSB Commander shall be immediately notified. This includes critical
                       incidents as defined in Office Policy GJ-2, Critical Incident Response, regardless of the
                       jurisdiction where the critical incident occurred or where another entity retains jurisdiction.

               2.      If the criminal misconduct is discovered during an administrative investigation conducted
                       outside of the PSB, the PSB shall immediately assume the administrative investigation.

               3.      If the evidence of criminal misconduct pertains to someone who is superior in rank to the
                       PSB Commander and is within the commander’s chain of command, the PSB Commander
                       shall provide the evidence directly to the appropriate prosecuting authority, such as the
                       Maricopa County Attorney’s Office, the Arizona Attorney General’s Office, or the United

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                     States Attorney’s Office, without notifying those in the chain of command who may be the
                     subject of the investigation.

              4.     An administrative investigation shall be required for any matter investigated criminally.
                     Such administrative investigations shall be completed regardless of the outcome of the
                     criminal investigations, including cases in which the prosecuting agency declines to
                     prosecute or dismisses the charges.

              5.     If a misconduct allegation will be investigated criminally, the PSB will not compel an
                     interview of the principal pursuant to Garrity, until it has first consulted with the criminal
                     investigator and the relevant prosecuting authority.

                     a.      No other part of the administrative investigation shall be held in abeyance unless
                             specifically authorized by the PSB Commander in consultation with the entity
                             conducting the criminal investigation.

                     b.      The PSB shall document in writing all decisions regarding compelling an interview,
                             all decisions to hold any aspect of an administrative investigation in abeyance, and
                             all consultations with the criminal investigator and prosecuting authority.

                     c.      When an administrative investigation begins prior to the criminal investigation being
                             completed, it is imperative the administrative investigator does not communicate
                             with the criminal investigator about any statements by the principal that were
                             compelled pursuant to Garrity. The administrative investigator can obtain any and
                             all information about the criminal investigation from the criminal investigator for
                             the administrative investigation.

              6.     Administrative investigators shall not take part in any criminal investigation interviews of
                     Office personnel. They shall, however, monitor the interview from a location which is out
                     of view of the person being interviewed. The person being interviewed shall not be advised
                     of the presence of administrative investigators. The administrative investigators shall not
                     discuss or suggest any line of questioning or inquiry with criminal investigative personnel.

              7.     Administrative investigators shall coordinate any anticipated actions with the on-scene,
                     criminal investigation commander before entering the scene.

              8.     If the investigator conducting the criminal investigation decides to close the investigation
                     without referring it to a prosecuting agency, this decision must be documented in writing and
                     provided to the PSB Commander. The PSB Commander shall separately consider whether
                     to refer the matter to a prosecuting agency and shall document the decision in writing and
                     include it in the investigatory file.

              9.     If the investigator conducting the criminal investigation decides to refer the matter to a
                     prosecuting agency, the PSB Commander shall review the information provided to the
                     prosecuting agency to ensure that it is of sufficient quality and completeness. The PSB
                     Commander shall direct that the investigator conducts additional investigation when it
                     appears that there is additional relevant evidence that may improve the reliability or
                     credibility of the investigation. Such directions shall be documented in writing and included
                     in the investigatory file.



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               10.     If the prosecuting agency declines to prosecute or dismisses the criminal case after the
                       initiation of criminal charges, the PSB shall request an explanation for this decision, which
                       shall be documented in writing and appended to the criminal investigation report.

               11.     The Sheriff shall require the PSB to maintain all criminal investigation reports and files after
                       they are completed for record-keeping in accordance with applicable law.

       G.      In cases where the alleged misconduct involves a violation of Office Policy CP-5, Truthfulness, the
               PSB Commander or Chief Deputy may initiate an administrative investigation. If the decision is
               made not to investigate, the decision and the supporting information shall be documented in a
               memorandum and retained by the PSB in both hard copy and electronic form for record retention
               purposes.

       H.      Volunteer: A volunteer’s continued service with the Office shall be at the discretion of the Sheriff.
               Volunteers are subject to, and shall comply with all Office Policies, rules, and regulations. Violations
               of Office Policies, rules, and regulation shall be addressed, as specified in Office Policies GC-17,
               Employee Disciplinary Procedures, and this Office Policy. Serious violations of Office Policy by a
               volunteer shall result in a review by the PSB Commander to determine whether a Pre-Determination
               Hearing is held; or the services of the volunteer are to be immediately terminated.

6.     Administrative Investigation Report: At the conclusion of each investigation the internal affairs
       investigator shall document all information gathered during the investigation in the investigative report.

       A.      Report Format: The investigator shall utilize the following investigative report format. The format and
               forms for the investigative report shall be found in the Internal Affairs\Forms folder on the Office’s
               shared drive. All facts gathered during the investigation shall be documented. The investigative report
               shall include:

               1.      Investigative Plan: An Investigative Plan shall be created for each Administrative
                       Investigation. The primary objectives of an administrative Investigative Plan are to provide a
                       roadmap for a thorough and complete investigation; to identify all reasonable opportunities to
                       reduce and eliminate unnecessary investigative steps; and to promote timely completion of the
                       investigation. The Investigative Plan serves as the foundation and starting point for the
                       efficient investigation of the alleged employee misconduct.

                       a.       An Investigative Plan shall be formulated collaboratively with between the
                                investigator and the investigator’s supervisor. The Investigative Plan shall be
                                completed and approved by the investigator’s Division Commander within seven (7)
                                calendar days of the case assignment to the investigator.

                       b.       The Investigative Plan shall include the following items:

                                (1)     Complaint synopsis: The complaint synopsis shall consist of a few sentences
                                        providing an overall synopsis of the known allegations/facts after review of
                                        the complaint intake and all available associated evidence available to the
                                        investigator and their supervisor at the time the Investigative Plan is drafted.

                                (2)     Evidence: The evidence section shall consist of a list of all available items of
                                        evidence the investigator has currently in their possession or plans to seek
                                        out/collect/request/review during the investigation.


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                            (3)    Case outline: The case outline is a free-form outline of the projected order of
                                   investigative steps anticipated to be taken by the investigator. This section
                                   may be in bullet point or narrative form but must provide enough information
                                   to ascertain the projected sequence of events and any investigative steps
                                   anticipated necessary to complete the investigation.

                                   (a)      Examples that investigators and supervisors may consider when
                                            examining the possibility of reducing and/or eliminating unnecessary
                                            investigative steps include, but are not limited to:

                                          i.        Second Chair: Investigators should consider the physical
                                                    presence of a second investigator at Complainant, Witness
                                                    and Principal interviews as an exception rather than the rule.

                                          ii.       Witness Interviews: Investigators and their supervisors shall
                                                    consider the necessity when interviewing a multitude of
                                                    witnesses who they reasonably believe observed, or know of,
                                                    the same activity, and who will provide reasonably similar
                                                    information.

                                         iii.       Principal Interviews: Principals should be interviewed as
                                                    soon as practicable and reasonable, based upon the
                                                    cumulative evidence and information obtained by the
                                                    investigator.

                            (4)    Additional information: This section allows for the investigator to provide any
                                   other relevant information pertaining to the overall investigative strategy.

                            (5)    Estimated investigative completion date: This section shall include the
                                   investigator’s estimated date of completion and submission to their supervisor
                                   by following the steps outlined in the proposed Investigative Plan.

                            (6)    Supervisory Review: This section shall list the reviewing supervisor and the
                                   date in which the Investigative Plan was approved.

                     c.     The Investigative Plan submission, review, and approval workflow process shall
                            consist of the following:

                            (1)    Division/District Investigations:

                                   a.       The PSB will include a blank Investigative Plan template with the
                                            initial email notification sent to the respective Division Commander
                                            upon the initiation or assignment of a new administrative
                                            investigation.

                                   b.       The Investigative Plan email template shall be completed by the
                                            investigator and shall list all relevant data, forms, reports and
                                            materials. (e.g., BWC, IRs, CAD) provided with the initial complaint.

                                   c.       The investigator’s supervisor shall work with the assigned
                                            investigator to revise/edit the Investigative Plan as needed to
                                            eliminate any unnecessary investigative steps.
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                                     d.       Once approved, the investigator’s supervisor shall forward the
                                              Investigative Plan via the chain of command to the Division
                                              Commander. The investigator can begin the investigation following
                                              the immediate supervisor’s approval of the plan. If anyone in the
                                              chain of command, including the Division Commander, suggests
                                              modifications to the plan during the subsequent review process, those
                                              will be communicated to the investigator as soon as possible. Once
                                              approved, the Division Commander will forward the completed email
                                              template to the PSB.

                                     e.       The PSB will upload the approved Investigative Plan utilizing the
                                              IAPro Database “Running Sheet” feature making the approved
                                              Investigative Plan accessible and viewable by all Blue Team users
                                              having access to the incident for reference throughout the course of
                                              the investigation.

                             (2)     Investigative Plans for cases assigned to the PSB will be completed in
                                     accordance with specifications within the PSB Operations Manual.

                             (3)     The Investigative Plan shall be stored within the IAPro database and will be
                                     available for review/reference throughout the course of the investigation and
                                     shall be retained in the case file for future reference.

              2.     Administrative Investigations Process Checklist

              3.     Coversheet

              4.     Investigative Report: The body of the report shall document all actions taken during the
                     investigation.

              5.     Findings: A Findings page shall be prepared for each policy violation. If there are multiple
                     policy violations, allegations, or principals, there shall be a separate Findings page for each
                     principal, each allegation, and each policy violation.

              6.     Prior Work History Report: A Prior Work History Report shall be prepared in order to
                     consider the principal’s work history.

                     a.      The PSB shall review the employee’s EI Pro/Blue Team entries and Personnel File,
                             as well as any other pertinent information on the employee in order to compile a
                             complete history. The review shall include the employee’s prior five years of MCSO
                             work history, to include a review of the employee’s Employee Performance
                             Appraisals. This report shall be completed and uploaded into Blue Team within five
                             business days of the complaint being filed.

                     b.      If the case is assigned to the Division level, the assigned Division investigator shall
                             review the employee’s EIPro/Blue Team entries, and any other information
                             regarding the employee’s prior five years of work history and document the
                             information on the report.

                     c.      The following shall be included in the Prior Work History Report:

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                              (1)      Commendations and awards;

                              (2)      Findings of misconduct, which includes misconduct for which discipline
                                       was ultimately not issued for procedural reasons, such as but not limited to,
                                       the Merit Commission finding a good faith effort was not made to complete
                                       an investigation within the statutory requirements. The findings of
                                       misconduct shall be considered in future disciplinary decisions;

                              (3)      The IAPro complaint history; and

                              (4)      Discipline, to include information regarding the allegation, the date of
                                       allegation, and the findings.

       B.      Report Documentation: The investigator shall ensure the following are documented in the
               administrative investigation:

               1.     A narrative description of the incident;

               2.     Documentation of all evidence that was gathered, including names, phone numbers, and
                      addresses of complainants, witnesses, and investigative leads. In situations where there are
                      no known witnesses or investigative leads, the report shall specifically state this fact. In
                      circumstances in which witnesses, or investigative leads were present, but circumstances
                      prevented the investigator from determining the identification, phone number, or address of
                      those witnesses or investigative leads, the report shall state the reason. The report shall also
                      include all available identifying information for anyone who refuses to provide a statement;

               3.     Names of all Office employees who witnessed the incident;

               4.     Documentation of whether employees were interviewed and a transcript or recording of the
                      interviews;

               5.     The investigator’s evaluation of the incident, based on their review of the evidence gathered,
                      including a determination of whether the employee’s actions appear to be within Office
                      Policy, procedure, regulations, orders, or other standards of conduct required of Office
                      employees;

               7.     In cases where the investigator asserts that material inconsistencies were resolved, explicit
                      credibility findings, including a precise description of the evidence that supports or detracts
                      from the person’s credibility;

               8.     In cases where material inconsistencies must be resolved between complainant, witness,
                      investigative lead, and employee statements, explicit resolution of the inconsistencies,
                      including a precise description of the evidence relied upon to resolve the inconsistencies;

               9.     An assessment of the incident for policy, training, tactical, or equipment concerns, including
                      any recommendations for how those concerns shall be addressed. In accessing the incident
                      for policy, training, tactical or equipment concerns, the investigator shall include an
                      assessment of whether:

                      a.      The law enforcement action was in compliance with training and legal standards;

                      b.      The use of different tactics should or could have been employed;
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                       c.      The incident indicates a need for additional training;

                       d.      The incident suggests that the Office should revise its policies, strategies, tactics or
                               training;

               10.     If a weapon was used, documentation that the employee’s certification and training for the
                       weapon were current;

               11.     In the instance of an externally generated complaint, documentation of all contacts and
                       updates with the complainant; and

               12.     At the conclusion of an administrative investigation, the investigator shall identify a finding
                       for each policy violation. An investigation with a sustained policy violation shall be
                       forwarded to the PSB Commander which will result in the initiation of the disciplinary
                       process.

7.     Investigative Findings: At the conclusion of an administrative investigation, the investigator shall identify
       one of the following findings for each allegation of a policy violation:

       A.      Exonerated: This shall indicate the investigation determined that alleged conduct occurred, but the
               actions of the employee were within Office Policy, procedures, or training.

       B.      Unfounded: This shall indicate the investigation determined by clear and convincing evidence, that
               the allegation was false or not supported by fact.

       C.      Not Sustained: This shall indicate the investigation determined that there was insufficient evidence
               to prove or disprove the allegation;

       D.      Sustained: This shall indicate the investigation determined that the allegations are supported by the
               preponderance of the evidence and justify a reasonable conclusion of a policy violation.

8.     Review of Administrative Investigations

       A.      Enforcement Division Administrative Investigation Review:

               1.      Once the investigative report is completed, the investigator shall forward the report through
                       the chain of command to the Division Commander for review and signature. The chain of
                       command shall have up to 10 days within the 60 calendar days to complete their review. The
                       investigative file shall not be forwarded to the PSB until the Division Commander has
                       approved the investigation and concurred with the findings. The IAPro Task Feature shall
                       be utilized to track and provide alerts regarding due dates for review and approval to the
                       Division chain of command.

                       a.      If anyone in the chain of command determines that the findings of the investigation
                               are not supported by the appropriate standard of proof, as defined for each findings
                               disposition, that supervisor shall return the investigation to the investigator for
                               correction or additional investigative effort.

                               (1)      The Division Commander shall document the inadequacies in a
                                        memorandum and shall forward the documentation to the PSB no later than
                                        60 days after receipt of the complaint for investigation.
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                               (2)     The Division Commander shall take appropriate action to address the
                                       inadequately supported determination and any investigative deficiencies
                                       that led to it.

                       b.      The Division Commander shall be responsible for the accuracy and completeness of
                               the investigation reports prepared by investigators under their command.

               2.      Once the Division Commander has approved the investigation and concurred with the
                       findings, the Division Commander shall forward the investigative file to the PSB
                       Commander or designee, for review. The PSB shall review the investigative file for
                       completeness, thoroughness, and appropriate investigative actions. The PSB shall ensure
                       that the investigative findings are supported by evidence.

                       a.      If the PSB review determines the investigation is properly completed, the next
                               course of action based on the findings of the investigation shall occur.

                       b.      If the investigation is incomplete or unsatisfactory, the PSB shall return the
                               investigative file for revision and/or further investigation, as necessary. The PSB
                               shall order additional investigation when it appears there is additional relevant
                               evidence that may assist in resolving inconsistencies or improving the reliability or
                               credibility of the findings.

                       c.      When the findings of the investigation report are not supported by the appropriate
                               standard of proof, as defined for each findings disposition, the PSB shall document
                               the reasons for this determination.

                       d.      The PSB shall ensure revisions and/or further investigation complies with the PSB
                               recommendations and established timelines.

                       e.      At the discretion of the PSB Commander, an administrative investigation may be
                               assigned or re-assigned to another supervisor with the approval of the supervisor’s
                               commander, whether within or outside of the district or bureau in which the incident
                               occurred or may be returned to the original supervisor for further investigation or
                               analysis. This assignment or re-assignment shall be explained in writing.

       B.      PSB Administrative Investigation Review: Once the investigative report is completed, the PSB
               investigator shall forward the report to the PSB Commander. The PSB Commander shall have up to
               10 calendar days, within the 85 calendar days, to complete a review of the investigative report. The
               PSB Commander shall also be responsible for the accuracy and completeness of the investigation
               reports prepared by investigators under their command and shall determine the findings for each
               alleged policy violation.

               1.      If the PSB Commander determines that the findings of the investigation are not supported
                       by the appropriate standard of proof, the PSB Commander shall return the investigation to
                       the investigator for correction or additional investigative effort.

               2.      The PSB Commander shall document the inadequacies and take appropriate action to address
                       the inadequately supported determination and any investigative deficiencies that led to it.

       C.      PSB Commander Determinations:

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              1.     Once an investigation is completely, thoroughly, and appropriately investigated, the PSB
                     Commander shall determine the next course of action based on the findings of the
                     investigation.

                     a.      If the findings for the policy violation(s) in a completed Enforcement Division
                             administrative investigation are Not Sustained, Unfounded, or Exonerated,
                             following the review by the PSB Commander or designee, action to close and file
                             the case, accordingly, shall occur.

                     b.      If the findings for the policy violation(s) in a completed PSB administrative
                             investigation are Not Sustained, Unfounded, or Exonerated, the PSB Commander
                             shall make final findings, sign the investigative report, ensure that all notifications
                             are made to the complainant and involved employee(s), and direct that the case be
                             closed and filed accordingly.

                     c.      If the findings for the policy violations in either a completed Enforcement Division
                             or PSB administrative investigation are sustained, the PSB Commander shall make
                             a preliminary determination if discipline is to be imposed and shall document those
                             determinations in writing, including the presumptive range of discipline for the
                             sustained misconduct allegation, and the employee’s discipline history.

                             (1)     If the PSB Commander makes a preliminary determination that the
                                     sustained allegations for a Category 1, First or Second Offense, or a
                                     Category 2 First Offense, can appropriately be handled by a Coaching, the
                                     investigation shall be forwarded to the Administrative Services Division.
                                     The Administrative Services Division will notify the appropriate chain of
                                     command to ensure that the Coaching is conducted and documented both in
                                     the EIS and as the resolution to the investigation in question before the case
                                     is closed. If the PSB Commander determines that minor discipline is to be
                                     imposed, the Administrative Services Division shall be responsible for
                                     coordinating the process. This includes preparing detailed correspondence,
                                     and ensuring all necessary notifications and actions are completed, as
                                     specified in Office Policy GC-17, Employee Disciplinary Procedures.

                             (2)     When the PSB Commander makes a preliminary determination that serious
                                     discipline should be imposed, the appointing authority shall conduct a PDH
                                     and will provide the employee with an opportunity to be heard. The
                                     preliminary determination of discipline will be forwarded to the
                                     Administrative Services Division to process in accordance with Office
                                     Policy, GC-17, Employee Disciplinary Procedures; and to coordinate the
                                     process. This includes preparing detailed correspondence, scheduling the
                                     PDH, if applicable, and ensuring all necessary notifications and actions are
                                     completed.

              2.     Policy, training, tactical or equipment concerns shall be addressed as specified in this Office
                     Policy.

              3.     The PSB Commander shall review all serious Office Policy violations by a volunteer, to
                     determine whether a PDH is held, or the services of the volunteer are immediately
                     terminated.


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 9.    Timeline for Completing Administrative Investigations: The investigative timeline for cases assigned to
       the PSB or outsourced by PSB is 85 calendar days, and for cases assigned outside of the PSB 60 calendar
       days. Should a case be transferred during the investigative process between the PSB and a Division outside
       of the PSB, the timeline will default to 85 calendar days. Investigative start, extension, and completion
       timeline procedures are as follows:

       A.      Investigative Timeline: The investigative timeline starts on the date the Office receives notice of
               alleged employee misconduct by a person authorized by the Office to initiate an investigation which
               includes investigators assigned to the PSB or supervisors in an Office Division or bureau who are
               assigned to investigate misconduct and ends when the completed investigation is approved by the
               PSB Commander.

               1.      Administrative investigations shall be investigated and submitted to the PSB Commander by
                       the due date identified by the PSB.

               2.      If it appears that the investigation will exceed the investigative timeline identified by the
                       PSB, and a reasonable justification exists to request an extension, the investigator shall
                       complete a Request for Investigative Extension.

                       a.      Reasonable justifications to extend the investigative timeline are situations beyond
                               the investigator’s control that have caused delays in the investigation. Examples of
                               reasonable justification include, but are not limited to: documented attempts to
                               obtain crucial evidence; situations where involved employees are out on approved
                               leave for prolonged periods of time during the investigative timeframe (i.e., FMLA
                               or military leave), the prolonged unavailability of the non-employee complainant,
                               witness, or evidence, or a criminal investigation restricting necessary investigative
                               steps from being completed.

                       b.      The investigative timeline shall not be extended without an approved reasonable
                               justification.

               3.      Division Process to Requests for Investigative Extension: The Request for Investigative
                       Extension for a Division Level Investigation is attached as Appendix xxx and shall be
                       processed in the following manner:

                       a.      The Request for Investigative Extension shall be completed by the investigator and
                               submitted through the chain of command to their Executive Chief for review. The
                               Executive Chief will forward the Request for Investigative Extension to the PSB
                               Commander for processing no later than 10 calendar days prior to the current
                               investigative due date.

                       b.      If approved, the PSB will facilitate the submission to the Sheriff for review and
                               consideration.

                       c.      If approved by the Sheriff, the PSB will submit the request to the Monitor Team
                               (during such time as the Monitor is assigned) for final review, approval, and
                               establishment of a new investigation due date.

                       d.      If a new due date is approved, the Request for Investigative Extension will be added
                               to the investigative case file and provided to the investigator and respective Division
                               Commander by the PSB.

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                       e.      If at any stage, the Request for Investigative Extension is not approved, the Request
                               for Investigative Extension will be provided to the PSB to be added to the
                               investigative case file and a copy of the unapproved request will be provided to the
                               investigator and respective Division Commander by the PSB.

                       f.      The PSB will update the IAPro database with any approved extension due date.

                       g.      If the investigation is not completed by the newly established due date a new Request
                               for Investigative Extension will be completed utilizing the procedures previously
                               outlined.

       B.      Investigative Timeline Extension: Completion of the Request for Investigative Extension shall
               include a brief synopsis of the case, the justification for requesting the extension, and the new
               investigative timeline due date being requested.

               1.      The Request for Investigative Extension shall be submitted to the PSB Commander no later
                       than 10 calendar days prior to the current investigative due date.

               2.      The Request for Investigative Extension will be attached to the administrative investigation
                       case file and if applicable, any newly approved deadline will be provided to the investigator
                       and respective Division Commander by the PSB.

       C.      Overall Investigation Completion Timeline: The overall administrative investigation completion
               timeline starts on the date the Office receives notice of alleged employee misconduct by a person
               authorized by the Office to initiate an investigation which includes investigators assigned to the PSB
               or supervisors in an Office Division or bureau who are assigned to investigate misconduct and ends
               when the employee is served with a Closed Case Notification, Coaching, Written Reprimand, or Pre-
               Determination Hearing Notice.

               1.      In cases involving a law enforcement officer’s conduct that may result in suspension,
                       demotion, or dismissal, the Office is statutorily obligated to make a good faith effort to
                       complete an administrative investigation within 180 calendar days after the Office receives
                       notice of the allegation by a person authorized by the Office to initiate an investigation. The
                       180-calendar day timeline is met when the employee is served with a Closed Case
                       Notification, Coaching, Written Reprimand, or Pre-Determination Hearing Notice.

               2.      If it appears that the completion timeline will exceed the statutorily identified 180th calendar
                       day despite good faith efforts, and additional time is necessary to obtain or review evidence,
                       the Office shall provide the principal(s) with a written notice explanation of the reasons for
                       the investigation to continue beyond 180 calendar days.

                       a.       The PSB shall prepare a 180-Day Notice and provide a copy of the 180-Day Notice
                                signed by the PSB Commander to the principal(s) prior to 180 calendar days.

                       b.       The 180-Day Notice shall be attached to the investigative report and documented
                                in IAPro.

               3.      In accordance with Arizona Revised Statute, following the 180-Day Notice, the completion
                       timeline for an administrative investigation involving a law enforcement officer’s conduct
                       that may result in suspension, demotion, or dismissal, shall not exceed an additional 360
                       calendar days, with the exceptions of events indicated below.

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                       a.      The completion timeline is suspended during the time that any criminal investigation
                               or prosecution is pending in connection with the act, omission, or other allegation of
                               misconduct.

                       b.      The completion timeline is suspended during the period of time in which a law
                               enforcement officer who is involved in the investigation is incapacitated or
                               otherwise unavailable.

                       c.      The completion timeline may be suspended for a period prescribed in a written
                               waiver of the limitation by the law enforcement officer.

                       d.      The completion timeline may be suspended for emergencies or natural disasters
                               during the time period in which the governor has declared a state of emergency
                               within the jurisdictional boundaries of the concerned employer.

                       e.      A multijurisdictional investigation may be extended for a period of time reasonably
                               necessary to facilitate the coordination of the employers involved.

10.    Administrative Investigation Interview Guidelines: Interviews shall be conducted according to the
       following guidelines:

       A.      Audio and video recordings of the entire interview shall be made by the assigned investigator for
               administrative purposes. To ensure the integrity of the investigation, these recordings shall become
               part of the investigative file as the official recordings. Employees are permitted to record their own
               interviews with investigators using personally owned electronic devices. Recordings made by the
               employee, or the employee’s observer, do not constitute an official record of the interview.

       B.      The employee’s observer may take notes during the interview. The employee may use notes taken
               during the interview only to assist them in the investigation or a disciplinary matter. The notes do
               not constitute an official record of the interview.

       C.      Any notes that are taken or recordings made during the interview shall be kept confidential and may
               only be discussed and/or shared with those specified in the Notice of Investigation, the employee’s
               observer, and the employee’s attorney.

       D.      Principals of an administrative investigation should, in most cases, be interviewed after the
               complainant, witness, and investigative leads have been interviewed, evidence has been examined,
               associated reports and testimony have been reviewed; and the principal’s training, work assignments,
               supervisor notes, and previous similar administrative investigations and/or criminal investigations
               involving the principal, have been reviewed.

       E.      The interview shall be conducted at a reasonable hour, preferably during the interviewee’s work
               schedule, unless circumstances dictate otherwise. Maricopa County and Office employees
               interviewed outside their work schedule must be paid for all hours they are required to participate in
               the interview.

       F.      The interview shall be conducted with an Office employee at PSB or at the district/Division.
               Interviews of employee complainants and witnesses may be conducted via Microsoft Teams video-
               conferencing at the discretion of the investigator if the confidentiality and other interview
               requirements of Office Policy are met. The Microsoft Team video conference shall be recorded, and
               the employee notified of the recording process. Interviews with members of the public shall be
               conducted at a mutually agreeable location or through a mutually agreeable communication method.
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       G.      Any employee participating in an interview at the PSB office shall be required to secure all weapons,
               to include firearms and knives, prior to entering the PSB office. This includes complainants,
               witnesses, investigative leads, principals, and employee observers.

       H.      All employees shall cooperate with an administrative investigation, including appearing for an
               interview when requested by an investigator, and providing all required documents, evidence, or
               names of witnesses that may be relevant to the investigation. Intentionally withholding evidence or
               information during an administrative investigation shall result in disciplinary action.

       I.      Supervisors shall be notified when an employee under their supervision is summoned as part of an
               administrative investigation and shall facilitate the employee’s appearance, absent extraordinary and
               documented circumstances.

       J.      A principal shall be permitted reasonable breaks of limited duration during any interview for the
               purpose of telephonic or in-person consultation with others, including attorneys, who are
               immediately available.

       K.      In an administrative investigation where the principal is involved in a use of force incident that
               resulted in death or serious physical injury of a person and the principal video recorded the event,
               the investigator shall offer the principal the opportunity to view the video recording. Once the initial
               administrative interview has been conducted, the administrative investigator shall show the principal
               the recording. This shall occur prior to the conclusion of the interview process. The principal shall
               be given the opportunity to provide additional information to supplement his statement, and he may
               be asked additional questions by the investigator, as specified in Office Policy GJ-35, Body-Worn
               Cameras.

               1.       Prior to viewing the video recording, the investigator shall read the principal the following
                        statement, as specified in ARS 38-1116:

                        Video evidence has limitations and may depict events differently than you recall. The video
                        evidence may assist your memory and may assist in explaining your state of mind at the time
                        of the incident. Viewing video evidence may or may not provide additional clarity to what
                        you remember. You should not feel in any way compelled or obligated to explain any
                        difference in what you remember and acted on from what viewing the additional evidence
                        provides you.

               2.       Following the review of the video recording, the principal shall be given the opportunity to
                        provide the investigator information they believe is relevant to the administrative
                        investigation.

11.    Administrative Interview Forms: Prior to an administrative investigation interview, and at the
       investigator’s discretion to preserve the integrity of the investigation, employee complainants, witnesses,
       investigative leads, and principals shall be provided a Notice of Investigation, and principals shall be provided
       a Garrity Warning. A copy of each shall be provided to the employee.

       A.      The Notice of Investigation templates are located in the Internal Affairs\Forms folder on the Office’s
               shared drive.

               1.       The Notice of Investigation clarifies the employee’s status in the investigation and the
                        employee’s responsibility not to discuss the investigation with anyone other than those
                        specified in the Notice of Investigation.
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                         a.      If the Notice of Investigation allows the employee to speak with their spouse or
                                 domestic partner about the investigation and the spouse or domestic partner is an
                                 employee of the Office, the following shall apply:

                                 (1)      The spouse or domestic partner shall adhere to all the requirement of the
                                          Notice of Investigation and shall not be required to sign or receive a copy of
                                          their spouse or domestic partner’s Notice of Investigation.

                                 (2)      The spouse or domestic partner shall not discuss the investigation with
                                          anyone other than those specified in the Notice of Investigation.

                         b.      An employee’s spouse or domestic partner, who violates the Notice of Investigation,
                                 shall be subject to disciplinary action, as specified in Office Policy GC-17, Employee
                                 Disciplinary Procedures.

                    2.   The Notice of Investigation issued to a principal shall include the alleged facts that are the
                         basis of the investigation, the specific nature of the investigation, the principal’s status in the
                         investigation, all known allegations of misconduct that are the reason for the interview, and
                         the principal’s right to have an observer present at the interview. The principal shall be
                         provided a copy of the notice of investigation that they shall retain.

                         a.      When issuing the notice to the principal, the Office shall provide any relevant and
                                 readily available materials, including complaints that contain the alleged facts,
                                 except for complaints that are filed with the Office and that include allegations of
                                 unlawful discrimination, harassment, or retaliation, or complaints that involve
                                 matters under the jurisdiction of the EEOC. The format of the materials may be
                                 written, audio, or video.

                         b.      The Office is not required to disclose any facts to the employee that would impede
                                 the investigation.

               3.        During an interview if, through questioning of the employee, additional employee
                         misconduct is discovered beyond the scope of the current administrative investigation, the
                         in-progress interview shall continue and questions concerning the new misconduct may be
                         asked without the issuance of a separate Notice of Investigation.

                         a.      All new allegations of employee misconduct shall be investigated, as specified in
                                 this Office Policy. Following the interview, a determination shall be made by the
                                 PSB Commander, as specified in this Office Policy, whether a separate investigation
                                 into the newly alleged misconduct shall be conducted or whether the new allegations
                                 shall be included in the current investigation.

                         b.      During an interview, should misconduct of a criminal nature be disclosed, the
                                 interview must cease, and further direction be provided by the PSB Commander.

               4.        If an employee is involved in a critical incident investigation, statements made during a
                         tactical debrief will not be considered a violation of a NOI.

       B.      The Garrity Warning template is located in the Internal Affairs\Forms folder on the Office’s shared
               drive. The Garrity Warning advises employees that statements given during an administrative

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               investigation are compelled statements and cannot be used to incriminate the affected employee in
               any criminal proceedings. Garrity shall only be provided to principals of an investigation.

       C.      Employee Release from NOI: An employee is released from the NOI when notified by the PSB that
               the investigation is closed.

12.    Employee Right to an Observer:

       A.      If an employee is party to an administrative investigation as a witness, investigative lead, or principal,
               they shall be notified that they may request to have an observer present during the interview, at no
               cost to the Office. The investigator shall have the employee complete the Employee Observer
               Admonition or the Observer Waiver Form prior to the interview. These forms are located in the
               Internal Affairs\Forms folder on the Office’s shared drive.

       B.      If an employee witness, investigative lead, or principal desires an observer, they shall provide the
               name of the prospective observer to the investigator to ensure the observer selected is not involved
               in the investigation as a complainant, principal, witness, or investigative lead, or is an observer for
               another employee involved in the same or related investigation. Personnel within the employee’s
               chain of command shall be excluded from acting as an employee’s observer. The PSB Commander
               shall have the final authority to determine whether the prospective observer shall be excluded from
               participation as an observer.

       C.      The observer selected must be an employee of the Office, not an attorney, and must be available on
               reasonable notice so that the interview is not unreasonably delayed. If the selected observer is not
               reasonably available, the employee witness, investigative lead, or principal may request permission
               from their assigned investigator to use a representative from their professional membership
               organization.

       D.      If an employee witness, investigative lead, or principal elects to have an observer, they may only
               have one observer at any given time.

       E.      An employee who agrees to be an observer shall do so at no cost to the Office by using their own
               off-duty time. Accrued vacation time may be used during scheduled duty hours, provided that the
               absence shall not have a cost impact on the operation of the area where the observer is assigned.

       F.      An observer must, in fact, act only as an observer. At no time shall the observer interrupt the
               investigative interview in any manner including, but not limited to, engaging in any form of verbal
               or non-verbal communication, making distracting noises, or hindering the flow or direction of the
               interview.

       G.      The observer is prohibited from making any electronic recordings or transmitting any portion of the
               interview in real time. Any open or covert attempt to do so shall result in disciplinary action.

       H.      Employee observers are permitted to take notes during the interview.

               1.      The notes may only be used to assist in the investigation or a disciplinary matter. The notes
                       do not constitute an official record of the interview.

               2.      Any notes that are taken during the interview shall be kept confidential and shall only be
                       discussed and/or shared with those specified in the Notice of Investigation, the employee the
                       observer is representing, and the employee’s attorney.

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               3.       If the employee, employee’s observer, attorney, or anyone specified in the Notice of
                        Investigation releases information without authorization, the employee, the employee’s
                        observer, and any other Office employee specified in the Notice of Investigation may be
                        subject to disciplinary action up to and including, dismissal from employment.

       I.      If the employee witness, investigative lead, or principal or their observer fails to comply with these
               guidelines, the offender may be subject to disciplinary action. If the observer’s non-compliance
               occurs during the interview, the observer shall be immediately removed from the interview.

       J.      Once the interview has concluded, the employee witness, investigative lead, or principal is prohibited
               from discussing the interview or investigation with anyone other than the assigned investigator,
               observer, or legal counsel. If the employee witness, investigative lead, or principal releases
               information without authorization, the Office may subject the employee to disciplinary action.

       K.      Once the interview has been concluded, the observer is prohibited from discussing the interview or
               investigation with anyone other than the assigned investigator or the employee they represented. If
               the observer releases information without authorization, the Office may subject the employee to
               disciplinary action.

       L.      Employees shall not be subject to discipline, threat of retaliation, or retaliation for requesting the use
               of, or serving as, an observer.

       M.      The right to an observer does not apply to an interview that is:

               1.       In the normal course of duty, counseling, instruction, an informal verbal admonishment, or
                        other routine or unplanned contact with a supervisor or any other employee;

               2.       During a preliminary inquiry to determine the scope of the allegations; or

               3.       In the course of a criminal investigation.

13.    Employee Five-Minute Statement: At the conclusion of the interview, a principal shall be entitled to make
       a statement to the investigator, not to exceed five minutes, addressing specific facts or policies that are related
       to the interview.

14.    Examinations and Tests: The Garrity Warning shall be given to a principal, and the Notice of Investigation
       shall be given to any employee, prior to any examination or test. Photographs, lineups, and psychological or
       physical examinations may be required in an administrative investigation and shall be authorized by the PSB
       Commander.

       A.      If it appears likely that an employee shall be required to submit to examinations or tests during the
               course of an administrative investigation, the employee shall be advised that submission is
               compulsory. The required examinations or tests shall be incident-specific and narrowly and directly
               related to the employee’s performance or non-performance of duty, their fitness for duty, or the
               alleged misconduct.

       B.      With proper justification, a request for a physical or psychological examination of an employee may
               be approved. The employee shall cooperate with the examiner and submit to all laboratory or
               psychological tests. Drug testing procedures are specified in Office Policy GC-21, Drug,
               Medication, and Alcohol Testing.


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15.    Administrative Leave with Pay: The purpose of administrative leave is to manage risk and to protect
       employees, victims, and the integrity of an investigation. Employees may also be placed on administrative
       leave with pay due to a critical incident. The following procedures specify when and how an employee may be
       placed on administrative leave:

       A.      Command personnel of the rank of lieutenant or above, or their civilian counterparts may place an
               employee on administrative leave with pay for the remainder of a shift for alleged infractions of the
               law, Maricopa County Merit System Rules, or Office Policy. The incident shall immediately be
               reported to the bureau commander, who shall review the facts of the incident and, if necessary, extend
               the administrative leave up to a maximum of three working days. The Chief Deputy or the PSB
               Commander or designee must authorize leave to exceed three working days. Once authorized, the
               employee shall be advised of the administrative leave in writing.

       B.      If the allegation in the complaint would likely result in dismissal if sustained, the bureau commander
               may place an employee on administrative leave with pay for the remainder of a shift and shall refer the
               matter directly to the Chief Deputy or the PSB Commander or designee, who may place the employee
               on administrative leave with pay. The employee shall be advised of the administrative leave in writing.

       C.      Employees involved in a critical incident may be placed on administrative leave with pay. The Chief
               Deputy or PSB Commander or designee, shall authorize critical incident administrative leave. Once
               authorized, the employee shall be advised of the administrative leave in writing. This leave typically
               includes the remainder of the work week during which the critical incident occurred plus an additional
               40 hours during which time the PSB Administrative Investigators-Critical Incident members shall
               conduct their initial investigation and allow the involved employee to complete other administrative
               processes required following a critical incident.

16.    Retaliation: All forms of reprisal, discouragement, intimidation, coercion, or adverse action against any
       person, member of the public, or employee because that person reports misconduct, attempts to make or
       makes a misconduct complaint in good faith, or cooperates with an investigation of misconduct, conducts an
       investigation or enforces the findings of a misconduct investigation, constitute retaliation and are strictly
       prohibited. This also includes reports of misconduct made directly to any outside entity authorized to take
       corrective action. Retaliating against any person who reports or investigates alleged misconduct shall be
       considered serious misconduct and shall result in disciplinary action, up to and including dismissal from
       employment.

17.    Closed Case Notification:

       A.      Upon completion of the investigation, if the findings are determined to be Not Sustained, Unfounded,
               or Exonerated, the PSB shall send the principal a Closed Case Notification memorandum notifying the
               principal of the outcome. If the finding is Sustained, and discipline is required, the procedures shall be
               followed, as specified in Office Policy GC-17, Employee Disciplinary Procedures. A template for a
               Closed Case Notification is found in the Internal Affairs\Forms folder on the Office’s shared drive.

       B.      Upon completion of the investigation, the PSB shall notify the employee witnesses and investigative
               leads that the case is closed.

18.    Final Disposition Letter: A Final Disposition Letter shall be sent to all known complainants by the PSB
       upon completion of the investigation. A copy of the letter must be maintained with the investigative file.
       Templates for this letter may be found in the Internal Affairs\Forms folder on the Office’s shared drive. The
       letter shall state whether the actions of the employee were appropriate under the circumstances or fell within
       the guidelines of policy. When the actions of an employee have been found to be in violation of policy, the
       complainant shall also be advised that the matter shall be addressed internally. In cases involving a complaint
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       from a member of the public, the complainant shall be notified of the findings, and as applicable, the imposed
       discipline as permitted by law.

19.    Employee Resignation/Retirements While Under Investigation: An investigation of an employee who
       resigns or retires while under investigation shall be completed and findings regarding policy violations shall be
       made, unless it meets the criteria for a PSB Diversion as per this Policy. Depending on the status of the
       investigation at the time of the resignation or retirement, the employee shall be given the opportunity to
       participate in an interview and/or provide written information regarding the findings of the investigation before
       the case is finalized.

20.    Policy, Training, Tactical or Equipment Failure or Deficiency: A failure or deficiency occurs when the
       allegation is true and the action of the employee was within policy or training guidelines, but the result was
       inappropriate or undesirable.

       A.      If, during the course of an administrative investigation, an investigator identifies a policy deficiency,
               training or tactical failure, or equipment failure, the investigator shall document the deficiency or failure
               in their investigative report. The PSB shall notify the Division Commander of the Policy Development
               Section and/or Training Division of the deficiency or failure, and ensure that the policy, tactical, or
               equipment concerns are resolved. The Policy Development Section and/or Training Division shall
               notify the PSB of the actions taken. This information will be added to the investigative file.

       B.      If, during the course of an administrative investigation, an investigator identifies an employee’s training
               deficiency, the investigator shall document the deficiency in their investigative report. The PSB
               Commander shall ensure that necessary training is delivered and that policy, tactical, or equipment
               concerns are resolved. A memorandum of concern detailing the policy, training, tactical or
               equipment concerns, and any proposed recommendations, shall be authored and forwarded to the
               appropriate Bureau Chief and Division Commander for review and action.

21.    Confidentiality and Security of Records: Information regarding an employee misconduct investigation
       shall be kept as confidential as possible while still allowing for a thorough investigation.

       A.      The PSB shall maintain a complete file of all documents within the Office’s custody and control
               relating to any investigations and related disciplinary proceedings, including pre-determination
               hearings, grievance proceedings, and appeals to the Maricopa County Merit Systems Commission or
               a state court. All files, reports, tapes, electronic media, memoranda, and other forms of
               documentation relating to a completed administrative investigation shall be filed in the PSB. All
               investigations shall be securely maintained. All copies of documents related to a completed
               administrative investigation shall be destroyed upon notification that the original investigation
               documents have been received by the PSB.

       B.      Polygraph Services may retain original documents and polygraph recordings which are prepared or
               originated by that unit, but shall not retain any other investigative material, as specified in Office
               Policy GH-3, Polygraph Procedures and Documents.

22.    Records Disclosure: The Administrative Services Division may distribute copies of all or any portion of an
       administrative investigation for administrative or public record purposes, or as necessary to comply with a
       judgment of a federal or state court.

       A.      In accordance with ARS Title 38, Chapter 8, Article 1, information about a law enforcement officer’s
               investigative file shall not be released for public inspection until the investigation is complete, or the
               Office has discontinued the investigation. The investigation is not considered complete until the
               principal receives a Closed Case Notification, a Coaching, a Written Reprimand, or a Notice of
                                                                                                                         45
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               Disciplinary Action. If the investigative file is the subject of an appeal regarding a disciplinary action
               that resulted in a suspension, demotion, or dismissal by a classified law enforcement officer, the
               investigative file is not complete until the conclusion of the appeal process before the Maricopa
               County Merit Systems Commission, or such time to appeal has lapsed.

       B.      Investigative files for all other Office employees shall be released, in accordance with state law.

       C.      Polygraph data and reports regarding a classified law enforcement officer shall be disclosed, pursuant
               to ARS Title 38, Chapter 8, Article 1.

23.    Records Retention: In accordance with ARS 39-128, the Office shall retain all records that are reasonably
       necessary or appropriate to maintain an accurate knowledge of disciplinary action involving employees of
       the Office, including the employee’s responses to all disciplinary actions. All administrative investigations
       shall be maintained for five years after an employee’s separation or retirement from Office employment.

Attachment A
Complaint Acceptance Report Protected.docx

Attachment B
Authorization to Release Information Protected.docx




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        MARICOPA COUNTY SHERIFF’S OFFICE
                Paul Penzone, Sheriff

                      Professional Standards Bureau
                           Operations Manual
                        Effective Xxxxxx xx, 2023




The content of this Office manual provides specific guidance regarding the administrative practices and
procedures associated with the (Area of Operation). The contents are not intended to supersede or conflict
with Office Policy, but to clarify and define the division’s daily operations. Personnel assigned to the
Professional Standards Bureau shall be responsible for reading, understanding, and complying with the
provisions contained in this Operations Manual, in addition to Maricopa County Sheriff’s Office Policy.

Employees wishing to submit recommendations for procedural changes to this manual shall do so in writing
through the chain-of-command. Recommendations are to be submitted with an explanation as to why a
revision would be beneficial and should include a sample draft of the proposed revision.

                                              Approved by:

_______________________________________________            Date: ______________________________
PSB Commander

                                              Approved by:

_______________________________________________            Date: ______________________________
Executive Chief Bureau of Compliance




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101.   Definitions:

       Administrative Closure: A result of a PSB Diversion process in which the PSB Commander reviews
       individual complaints, on a case-by-case basis, and determines that they cannot be satisfactorily investigated
       or an investigation is not necessary. Administrative Closures may be used in the following circumstances: a)
       Situations where an internal or external complaint was received by the Office more than one year after the last
       instance of the underlying alleged misconduct being reported; b) Situations where an internal or external
       complaint was received by the Office after the employee(s) involved in the alleged misconduct left
       employment with the Office; or situations where, in an internal or external complaint, the principal employee
       involved in the alleged misconduct is deceased or becomes no longer employed by the Office and there is no
       evidence or indication of any other potential employee misconduct in the incident; c) Situations where in an
       internal or external complaint the initial complainant is unwilling or unable to cooperate; d) Situations where
       in an internal or external complaint the initial complainant is anonymous; e) Situations resulting in the death
       or serious physical injury of a prisoner or an inmate that do not involve a use of force by an employee and are
       considered non-critical incidents; and f) Situations where an internal complaint originated from a workplace
       relationship and is most appropriately addressed with the assistance of the MCSO Employee Retention and
       Performance Division.

       An Administrative Closure shall also be used when the following circumstances exist in a Service Complaint:
       a) The complaint does not allege employee misconduct and can be resolved with an explanation to the
       complainant regarding the policy, procedure, service level due to manpower or resources, or statutory
       authority required of the Office. This includes matters in which the complainant questions Office policy,
       procedures, or service level due to manpower or resources, or statutory authority required of the Office; b)
       The complainant does not allege employee misconduct and expresses dissatisfaction with the outcome of
       formal legal, civil, or administrative processes involving members of the Office. The preliminary inquiry
       associated with this type of Service Complaint closure shall be thoroughly reviewed and verify that potential
       employee misconduct was not involved with the incident prior to closure; c) The complainant does not allege
       employee misconduct and requests additional information or follow-up actions pertaining to a prior call for
       service, report, or investigation; or d) The complaint lacks specificity and the complainant refuses or is unable
       to provide further clarification necessary for the Office to fully understand the complaint, or the complainant
       does not articulate facts amounting to an allegation of employee misconduct.

       Appointing Authority: For the purposes of this policy, the designated member of Office command staff,
       appointed by the Sheriff, whose duties include conducting the Pre-Determination Hearing; and providing the
       employee with an opportunity to be heard.

       Blue Team: The Early Identification System (EIS) application that allows employees and supervisors to
       record information in a database regarding incidents, performance, and conduct. The information from Blue
       Team is transferred to the IAPro Early Identification case management system.

       Class Remedial Matter: Misconduct by employees of the Office involving those matters covered by the
       Melendres case or the remedies to which those impacted by the Melendres case are entitled.

       Classified: All positions in Maricopa County service that are covered by the Maricopa County Merit System
       Rules. Excluded are those employees identified as temporary, initial probation, or contract employees, and
       those positions identified as unclassified.

       Clear and Convincing Evidence: Evidence that leaves one with a firm belief or conviction that is highly
       probable that the factual contention of the claim or defense is true. This standard of proof is higher than proof
       by a preponderance of the evidence but does not require proof beyond a reasonable doubt. The standard of
       proof, Clear and Convincing Evidence, is only utilized when determining an investigatory finding of
       Unfounded; it is evidence that the allegation was false or not supported by fact.
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Coaching: Coaching is a non-disciplinary interaction between a supervisor and an employee that supports an
individual in achieving specific personal or professional goals by providing training, advice, and guidance in
response to a specific situation.

For the purpose of determining the number of offenses committed within identified categories of Office Policy
GC-17, Employee Disciplinary Procedures, Attachment A, the first use of Coaching shall not constitute an
offense. However, the use of Coaching shall require that subsequent conduct by the employee that falls in the
same category be addressed as a First Offense for both internal and external allegations, pre and post
investigation. Coaching shall be documented in Blue Team and shall be considered for the purpose of
discipline for one year prior to the current offense.

Compelled Statement: Information received during an administrative investigation, which the Office has
required an employee to provide under penalty of disciplinary action, up to, and including, employment
dismissal.

Complainant: Any individual who files a complaint regarding the conduct of any employee alleging a
violation of Office policies, procedures, or actions.

Complaint: An allegation of employee misconduct or wrongdoing. The complaint may be made verbally or
in writing, in person, by phone, by mail, or online; and may be by the individual complainant, someone acting
on the complainant’s behalf or anonymously; and with or without a signature.

Complaint Intake Sergeant: A Professional Standards Bureau (PSB) employee assigned to receive Internal
and External Complaints, enter into IAPro, and forward them to the appropriate commander.

Court Appointed Monitor (The Monitor and/or the Monitor Team): A person or team of people selected
to assess and report on the MCSO’s implementation of the October 2, 2013 Supplemental Permanent
Injunction/Judgment Order and all subsequent amended and/or modified orders related to this document
(Melendres Court Order and/or the Order).

Critical Incident: Any incident that involves the use of force by an employee resulting in death or serious
physical injury of a member of the public, prisoner, or an inmate; any assault upon MCSO employees, by any
means, that results in serious physical injury or death; or the intentional and unintentional discharge of a
firearm by an employee in the performance of their lawful duties. The term “critical incident,” as used in this
Office Policy, is narrowed for investigative purposes and should not be confused with the definition provided
in Office Policy GC-22, Critical Incident Stress Management Program, which is all encompassing and directly
associated with issues of critical incident stress management. A critical incident does not include the
following and therefore does not require protocol activation:

        A.      The necessary dispatch of an animal for humane/medical purposes; including discharge of a
                firearm toward an animal for self-defense of themselves or in defense of others; or

        B.      The use of a specialized firearm by the Tactical Operations Unit in order to enhance officer
                safety, dispense chemical agents, or as an entry device, when no serious physical injury or
                death to any person occurs.




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Disciplinary Offer: A situation where there is sufficient external evidence, documentary or video evidence
that is dispositive of whether a violation of policy occurred, that establishes a violation of Office Policy, and
the PSB Commander determines based on the circumstances of the situation, that the principal(s) involved
accepted responsibility and received an offer for either the presumptive discipline or a mitigated discipline
no lower than the minimum discipline within the Office Disciplinary Matrices, resulting in a sustained
finding. A Disciplinary Offer should be considered an Expedited Resolution.

Early Identification System (EIS): A system of electronic databases that captures and stores threshold
events to help support and improve employee performance through early intervention and/or to identify
problematic operating procedures, improving employee performance, identifying detrimental behavior,
recognizing outstanding accomplishments, and to improve the Office's supervisory response. The
computerized relational database shall collect, maintain, integrate, and retrieve information gathered in order
to highlight tendencies in performance, complaints, and other activities. The database allows the Office to
document appropriate identifying information for involved employees, (and members of the public when
applicable), and the actions taken to address the tendencies identified. Blue Team, IAPro, and EI Pro are
applications of the EIS.

Early Intervention Unit (EIU): The EIU is part of the Bureau of Internal Oversight. The EIU is responsible
for the implementation, maintenance, and operation of the EIS and for providing training and assistance to
the EIS users. The unit conducts data analysis, data input, and review of activities exceeding thresholds to
address potentially problematic conduct or operating procedures and recognizes positive attributes by
reviewing employee awards. The Office shall ensure there is sufficient staff to facilitate EIS input and
training.

Employee: A person currently employed by the Office in a classified, unclassified, contract or temporary
status.

Employee Misconduct: Conduct that includes, but is not limited to: a violation of Office policy; an act of
retaliation for complying with Office policy; an intentional provision of false information in an administrative
investigation or any official report, log, or electronic transmittal of information; an intentional failure to
complete data collection of other paperwork requirements required by the Office; or federal, state, or local
criminal or civil violations.

Employee Retention and Performance Division (ERPD): The ERPD is a resource available to all
employees, supervisors, and commanders to assist with addressing employee performance concerns and
sources of conflict originating from workplace relationships on a case-by-case basis. This includes resolving
disputes pertaining to annual performance appraisals, supervisor application of workplace rules/regulations,
and disputes pertaining to employee leave matters. The Employee Retention and Performance Division is
comprised of the Leave Management, Compensation, and Retention and Performance Sections. The Leave
Management Section (LMS) coordinates leaves of absence and modified duty requests for employees in
accordance with the Family and Medical Leave Act (FMLA), the Uniformed Services Employment and
Reemployment Rights Act (USERRA), the Americans with Disabilities Act (ADA), workers’ compensation
policy, and other related regulations and policies.

Expedited Resolution: A truncated investigative process that may be used in the event of a Disciplinary Offer
resulting in a sustained finding, or in the event that documentary or video evidence presents clear and
convincing evidence establishing that the alleged violation of Office Policy did not occur and there is no
evidence or indication of any other potential employee misconduct involved in the incident (resulting in an
Unfounded finding).

External Complaint: An expression of dissatisfaction by the public, directed at an employee’s conduct,
Office policy and procedure, or service.
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Federal Court Order (the Melendres Court Order and/or the Order): The October 2, 2013 Supplemental
Permanent Injunction/Judgment Order, the Amended Second Supplemental Permanent Injunction/Judgement
Order, and all subsequent amended and/or modified orders related to this document.

Garrity Warning: A notice of an employee’s obligations and rights regarding compelled statements during an
administrative investigation.

IA Number: A unique investigative action number assigned to an allegation of misconduct for tracking and
recording purposes.

IAPro: A case management system used by the EIU, the Professional Standards Bureau (PSB), and the
Administrative Services Division that tracks and analyzes information, including but not limited to,
complaints, commendations, use of force incidents, pursuits, discipline, supervisor notes, and internal
investigations. IAPro is used by PSB for the periodic assessment of timelines of investigations and for
monitoring the caseloads of internal affairs investigators. IAPro is also used to track, as a separate complaint
category, allegations of biased policing and unlawful investigatory stops, searches, seizures, or arrests.

Internal Complaint: A complaint that originates from within the Office. Such complaints may be initiated
by other employees or from supervisors who observed, or were informed by other employees, of possible
policy violations or other misconduct. For the purpose of this Office Policy, complaints made by a former
Office employee regarding conduct that occurred while still employed by the Office shall also be identified
as an internal complaint.

Internal Affairs Investigator: Any employee who conducts an administrative investigation of misconduct,
including investigators assigned to the PSB or supervisors in an Office division or bureau who are assigned
to investigate misconduct.

Investigative File: The Office’s complete investigative report and any attachments detailing the incidents
being investigated. The file shall contain, but is not limited to, the Administrative Investigations Process
Checklist, Cover Sheet, Findings Page(s), Prior Work History Report, Investigative Plan, Investigative
Report, the Presumptive Range of Discipline form, the Employee Disciplinary Considerations and Decision
form, transcripts, audio/video of interviews, body-worn camera footage, etc. Depending on the outcome of
the investigation, the file shall also contain, but not be limited to, a Final Disposition Letter, Closed Case
Notification, and documents that record discipline, to include the Pre-Determination Hearing (PDH)
recording. The Professional Standards Bureau shall maintain the investigative file of all documents within
the Office’s custody and control relating to any investigation and related disciplinary proceedings, grievance
proceedings, and appeals to the Maricopa County Merit System Council or state court.

Investigative Lead: An individual believed to have information or facts relevant to the matter under
investigation.

MCSO Quarterly Report: Report submitted to the Monitor Team on a quarterly basis assessing MCSO’s
level of compliance with the Order.

Misconduct: Any violation of Office policy or procedure, federal, state, or local criminal or civil law,
constitutional violations, whether criminal or civil, administrative rules including, but not limited to, the
Maricopa County Merit System Rules, or Office regulations.

Criminal Misconduct: Misconduct by an employee that a reasonable and trained supervisor or internal
affairs investigator would conclude could result in criminal charges due to the apparent circumstances of the
misconduct.
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Minor Misconduct: Misconduct that, if sustained, would result in discipline or corrective action less severe
than a suspension.

Minor misconduct, while a violation of Office Policy, can often be addressed with field supervisor-initiated
intervention intended to improve a situation, or prevent a potential negative work performance situation from
progressing into a misconduct investigation. To address these employee behaviors, supervisors may initiate
an intervention method, as specified in Office Policy GH-5, Early Identification System, to include: Squad
briefing; meeting with supervisor; employee services; supervisor ride-along/work along; training; supervisor
evaluation period; action plan; meeting with the commander; re-assignment; and coaching. The use of
intervention shall only be used to address employee minor misconduct or behavior that per the Office
Disciplinary Matrices does not exceed a Category 1, First or Second Offense; a Category 2, First Offense and
which has not been received by the Office as an External Complaint, or has not already been assigned to the
Professional Standards Bureau (PSB).

Serious Misconduct: Misconduct that, if sustained, would result in discipline of a suspension, demotion,
or dismissal.

The Office: The Maricopa County Sheriff’s Office or the MCSO.

Notice of Investigation: A written notice given to an employee during an administrative investigation which
identifies the employee’s status in the investigation, the employee’s responsibility not to discuss the
investigation with anyone other than those specified, the name and rank of the assigned investigators, and the
right to have an observer present at the interview.

Official Investigation: An official inquiry by a supervisor, a Professional Standards Bureau administrative
investigator, a criminal investigator, or a polygraph examiner into alleged employee misconduct or
wrongdoing that relates to or may affect an employee’s position with the Office. The Office has two types of
investigations that are used to examine these allegations:

1.      Administrative Investigation: An investigation conducted into apparent violations of Office policy.
        Sustained allegations for an administrative investigation provide the basis for the imposition of
        discipline according to the Discipline Matrices and the Categories of Offenses, as specified in Office
        Policy GC-17, Employee Disciplinary Procedure.

2.      Criminal Investigation: An investigation by a criminal investigator into an allegation of employee
        criminal misconduct. These include the process of collecting information (or evidence) about a crime
        in order to: 1) determine if a crime has been committed; 2) identify the perpetrator; 3) apprehend the
        perpetrator, and 4) provide evidence to support a conviction in court.

Pre-Determination Hearing (PDH): A forum that allows an employee, regardless of employment status,
who is being considered for serious discipline, to address the Appointing Authority regarding the intended
discipline.

Preponderance of the Evidence: Facts alleged are more likely true than not true. The standard of proof,
Preponderance of the Evidence, is only utilized when determining an investigatory finding of Sustained.

PSB Diversion: A complaint intake process to address, on a case-by-case basis, eligible complaints without
the initiation of a formal administrative investigation or service complaint. Complaints received by the PSB
shall be reviewed to make an initial determination of the most appropriate course of action to take based on
the nature of the allegation. The Diversion process can culminate in one of the following: PSB-Directed
Supervisory Intervention; Administrative Closure; or Expedited Resolution with a finding of Unfounded.
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PSB-Directed Supervisory Intervention: A PSB Diversion intended to improve and/or prevent a potential
negative work performance situation from progressing into a misconduct investigation. PSB may, on a case-
by-case basis, initiate an intervention method, as specified in Office Policy GH-5, Early Identification System,
to include: Squad briefing; meeting with supervisor; employee services; supervisor ride-along/work along;
training; supervisor evaluation period; action plan; meeting with the commander; re-assignment; and
coaching. The use of intervention shall only be used to address employee minor misconduct or behavior that
per the Office Disciplinary Matrices does not exceed a Category 1, First or Second Offense; a Category 2,
First Offense for any Internal Complaint and as specified in Attachment B of Office Policy GC-17 for any
External Complaints.

Service Complaint: A complaint regarding an inadequate policy, procedure, practice, service level due to
manpower or resources, or statutory authority required of the Office. A service complaint is not an allegation
of employee misconduct.




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SECTION 300 – PROCEDURES

301.   Complaint Intake and Assignment

       A.     PSB Review:

              1.    Once a complaint is received by the PSB, a review will be conducted. Prior to assigning an
                    investigation number, the PSB Commander shall make an initial determination of the most
                    appropriate course of action to take regarding the complaint based on whether employee
                    misconduct is alleged, and if so, the category of alleged offense(s).

              2.    The PSB Commander shall determine, on a case-by-case basis, if the complaint shall be
                    processed as a PSB Diversion, Service Complaint, or administratively investigated.

                    a.      The PSB Diversion is a mechanism initiated by the PSB Commander to address
                            complaints that are eligible and most appropriately handled without the initiation of
                            a formal administrative investigation or Service Complaint.

                    b.      Only the specific categories of complaints in this Office Policy are eligible for a PSB
                            Diversion.

                    c.      The PSB Commander shall document in writing the decision to utilize a PSB
                            Diversion instead of initiating a formal administrative investigation or Service
                            Complaint. Decisions as to how complaints are classified or which are eligible for
                            PSB Diversions will be made on a case-by-case basis; cases may be reclassified.

                    d.      If the PSB Commander determines that a qualifying complaint should be addressed
                            with an approved PSB Diversion, the following procedures shall apply:

                            (1)     The PSB Diversion Service Form shall include the PSB Diversion tracking
                                    number, involved employee, synopsis, associated policy violation(s),
                                    category of offense(s), and offense number.

                            (2)     The PSB Diversion Service Form shall include instructions for issuance to
                                    the employee and be routed via the involved employee’s chain of command
                                    for service.

                            (3)     The PSB Diversion Service Form shall be issued to the involved employee,
                                    documented in the EIS in accordance with the instructions provided, and
                                    returned to the PSB within 30 calendar days.

                            (4)     The PSB Diversion Service Form will be attached to the PSB Diversion
                                    Incident in the IAPro Database and linked to any associated EIS entries.

                    e.      The following types of complaints are not eligible for consideration for a Diversion:

                            (1)     Complaints involving members of the Plaintiffs’ class;

                            (2)     Complaints involving allegations of bias;

                            (3)     Complaints involving allegations of criminal conduct;

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              (4)     Allegations of conduct that, if sustained, would require notification to the
                      MCAO for Rule 15 Disclosure pursuant to Brady v. Maryland;

              (5)     Allegations of conduct that, if sustained, could result in the revocation of a
                      principal’s AZ POST certification; and

              (6)     Allegations of conduct that, if sustained, could constitute a Category 3 or
                      higher Offense from the Office’s Disciplinary Matrices – unless otherwise
                      specified below.

        f.    The following situations, on a case-by-case basis, are eligible as part of the Diversion
              process, to be Administrative Closures:

              (1)     Situations where a complaint was received by the Office more than one year
                      after the last instance of the underlying alleged misconduct being reported.

              (2)     Situations where an internal or external complaint was received by the Office
                      after the employee(s) involved in the alleged misconduct left employment
                      with the Office; or situations where, in an internal or external complaint, the
                      principal employee involved in the alleged misconduct is deceased or
                      becomes no longer employed by the Office and there is no evidence or
                      indication of any other potential employee misconduct in the incident.

                      (a)      Should the principal employee return to work at the Office, the case
                               shall be reactivated and resumed for full completion in accordance
                               with Office Policy standards. The time in which the employee was
                               not employed with the Office shall be excluded from the
                               investigative timeline.

              (3)     Situations when the initial complainant is unwilling or unable to cooperate.

              (4)     Situations where the initial complainant is anonymous. Anonymous
                      complainants include those that are known but desire to remain anonymous
                      and requested to not be included in the investigative report and those whose
                      identity is unable to be confirmed.

              (5)     Situations resulting in a health-related in-custody jail death that do not
                      involve the use of force by an employee and are considered non-critical
                      incidents under Office Policy.

                      (a)      There are no exclusions for Diversions in these situations.

                      (b)      Prisoner or Inmate Death Preliminary Inquiry Report (PIR):
                               Following the death of a prisoner or inmate in Office custody, as
                               specified in Office Policy GJ-11, Serious Diagnosed Illness, Serious
                               Physical Injury or Death of a Prisoner or Inmate, where there is no
                               employee use of force, and when no PSB investigation has otherwise
                               been initiated, shall require the completion of a PIR, as specified in
                               this Office Policy. The PIR shall be conducted to identify potential
                               employee misconduct associated with the incident. If at any time
                               during the PIR process employee misconduct is identified, it shall

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                             immediately be entered into Blue Team as an Internal Complaint by
                             the supervisor identifying the misconduct.

                            i.       The gathering of information for the PIR shall include, but
                                     is not limited to, interviews of involved employees,
                                     information gathered through various data sources, and the
                                     review of associated audio and video recordings. The PIR
                                     will ensure that any perishable evidence relevant to an
                                     administrative misconduct investigation is preserved.

                           ii.       PIRs completed pursuant to a prisoner or inmate death shall
                                     be forwarded through the chain of command to the PSB
                                     Commander or designee to determine if an administrative
                                     investigation is warranted to determine whether any
                                     violation of Office policy contributed in any way to the
                                     prisoner or inmate death.

                                     a.      If the PSB Commander or designee determines
                                             employee misconduct was identified, the PIR shall
                                             be entered as an Internal Complaint pursuant to this
                                             Office Policy.

                                     b.      If the PSB Commander or designee determines
                                             employee misconduct did not occur, no further
                                             administrative investigative action is required.

                          iii.       A prisoner or inmate death PIR is not required when the
                                     following occurs:

                                     a.      The death of a prisoner or inmate is determined be a
                                             critical incident, as specified in Office Policy GJ-2,
                                             Critical Incident Response; or

                                     b.      The PSB has already initiated an administrative
                                             investigation into the incident.

              (6)   Situations where an internal complaint originated from a workplace
                    relationship(s) and are most appropriately addressed with the assistance of
                    the MCSO Employee Retention and Performance Division (ERPD) in
                    accordance with the process outlined in the PSB Operations Manual.

                    (a)      The following types of complaints are not eligible for consideration
                             for a PSB Diversion Process in place of a formal administrative
                             investigation or Service Complaint:

                             i.      Allegations of conduct that, if sustained, could constitute a
                                     Category 4 or higher Offense from the Office’s Disciplinary
                                     Matrices.




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        g.    PSB-Directed Supervisory Interventions:

              (1)    Situations wherein the PSB may initiate an PSB-Directed Supervisory
                     Intervention to improve and/or prevent a potential negative work
                     performance situation from progressing into a misconduct investigation. To
                     address these employee behaviors, PSB may initiate an intervention method,
                     as specified in Office Policy GH-5, Early Identification System, to include:
                     Squad briefing; meeting with supervisor; employee services; supervisor ride-
                     along/work along; training; supervisor evaluation period; action plan;
                     meeting with the commander; re-assignment; and coaching. The use of
                     intervention shall only be used to address employee minor misconduct or
                     behavior that per the Office Disciplinary Matrices does not exceed a
                     Category 1, First or Second Offense; a Category 2, First Offense for any
                     Internal Complaint and as specified in Attachment B of Office Policy GC-17
                     for any External Complaints. Employee conduct outside of the limitations
                     of the named sections for both internal and external allegations shall be
                     addressed by considering the definition for each Category of Offenses and
                     determining placement, as specified in the Office Policy.

                     These situations are eligible, on a case-by-case basis, for consideration by
                     the PSB Commander for an approved PSB-Directed Supervisory
                     Intervention, in lieu of an administrative investigation or Service Complaint.

                     (a)     Following a review of the circumstances of the incident, available
                             evidence, EIS profile, and the disciplinary history of the potential
                             principal, the PSB Commander shall make an initial determination
                             if the allegations can appropriately be addressed through an
                             approved PSB-Directed Supervisory Intervention. Principals shall
                             not exceed the number of coachings allowed, as specified in Office
                             Policy GC-17, Employee Disciplinary Procedures, for one year prior
                             to the current offense.

        h.    Expedited Resolution with a finding of Unfounded:

              (1)    Situations of an internal or external complaint where under the clear and
                     convincing evidence standard, external documentary or video evidence
                     establishes that the alleged violation of Office Policy did not occur and there
                     is no indication of any other employee misconduct resulting in an Expedited
                     Resolution with a finding of Unfounded.

                     (a)     If the investigator determines during the administrative investigative
                             process that above conditions are met, and the case investigation has
                             not already been completed, the investigator shall document in the
                             investigative report the following:

                             i.      The manner and circumstances in which the above condition
                                     is met to support an expedited finding;

                             ii.     The investigative steps taken to verify there are no other
                                     indications or evidence of other employee misconduct
                                     involved in the incident;
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                                 iii.    If applicable, the readily available clear and convincing
                                         evidence demonstrating that the alleged violation of Office
                                         Policy could not occur as alleged, supporting an unfounded
                                         finding;

                                 iv.     The investigative report shall be completed with the
                                         recommended expedited finding of unfounded and
                                         submitted for review in accordance with the processing of
                                         all other completed administrative investigations.

                                 v.      If the Expedited Resolution and finding is approved by the
                                         PSB Commander, the administrative case will proceed
                                         through all other formal closure processes for an
                                         administrative investigation as outlined in Office Policy.

                                 vi.     If the Expedited Resolution and finding is applied to an
                                         administrative investigation, a special indicator linked to the
                                         expedited finding shall be included in IAPro Investigative
                                         Case File and associated with the employee’s EIS
                                         information for future reference.

  3.    The PSB Commander shall take into consideration the following when deciding if a PSB
        Diversion process is the most appropriate manner to address a complaint without the initiation
        of a formal administrative investigation or Service Complaint:

        a.      The information obtained during the complaint intake process including giving
                weight to the complainant’s explanation of the impact of the alleged employee
                misconduct.

        b.      If the complaint filing was delayed, the reason(s) why a complaint filing was delayed.
                The mere fact of a delay in filing a complaint shall not be sufficient grounds in and
                of itself to not pursue an administrative investigation.

        c.      The availability of evidence, to include BWC if readily available, and witnesses
                relevant to the alleged employee misconduct.

        d.      If the complainant is anonymous or becomes unwilling or unable to cooperate. The
                mere fact that the complainant is anonymous or becomes unwilling or unable to
                cooperate with the investigation in and of itself shall not be sufficient grounds to not
                pursue an administrative investigation. A final decision shall be based on the totality
                of the information, the existing evidence, and/or the availability of viable leads to
                pursue.

        e.      The EIS history of the involved employee(s), to include other pending administrative
                investigations.

        f.      The disciplinary history of the involved employees. To include an overall three-year
                lookback review conducted for patterns of behaviors and misconduct.

        g.      Potential policy, training, or tactical concerns involved in the incident.

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        h.     Formal processes or mechanisms in MCSO Policy available to address the matter
               (i.e., the Employee Grievance process, the Early Identification Unit, Maricopa
               County Merit Systems and the Employee Performance Appraisal process).

        i.     Whether or not the alleged employee misconduct involved a supervisor’s actions, or
               a supervisory failure.

  4.    The PSB Commander shall document in writing the decision to utilize a PSB Diversion
        instead of initiating a formal administrative investigation or Service Complaint.

        a.     The PSB Commander shall utilize the PSB Review Worksheet (Appendix xxxx) to
               document the review process and assessment.

        b.     The PSB Diversion Worksheet documentation shall demonstrate the PSB made a
               good faith effort to search and review readily available evidence relevant to the
               allegations that was not part of the initial complaint entry (physical evidence,
               identifying witnesses, BWC footage, other surveillance footage, etc.) to have a
               sufficient understanding of the totality of the circumstances regarding the incident.
               If necessary, the PSB shall also conduct or request a supervisor to conduct some
               preliminary inquiry actions that shall be documented in the PSB Diversion
               Worksheet, such as confirmation of information from complainants, witnesses, other
               involved participants, or record searches/requests, GPS data review, to understand
               the scope of the incident. All information shall be considered when determining the
               appropriate PSB Diversion course of action, or if a formal administrative
               investigation is appropriate.

        c.     If the PSB Commander determines that a PSB Diversion process should be utilized,
               the complaint shall be categorized with the incident type of PSB Diversion in the
               IAPro Database. The entry shall link the involved employees, allegations, and the
               determination.

               (1)     The PSB Diversion Service Form, disciplinary history, and all information
                       received/reviewed shall be attached to the PSB Diversion Case File in the
                       IAPro Database.

               (2)     If the PSB Commander determines that a qualifying complaint should be
                       addressed with an approved supervisory intervention or combination of
                       supervisory intervention methods, the following procedures shall apply:

                       (a)     The PSB Diversion Service Form shall include the PSB Diversion
                               tracking number, involved employee, synopsis, associated policy
                               violation(s), category of offense(s), and offense numbers.




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                    (b)     The PSB Diversion Service Form shall include instructions for
                            issuance to the employee and be routed via the involved employee’s
                            chain of command for service.

                    (c)     The PSB Diversion Service Form shall be issued to the involved
                            employee, documented in the EIS in accordance with the instructions
                            provided, and returned to the PSB within 30 calendar days.

                    (d)     The PSB Diversion Service Form will be attached to the PSB
                            Diversion Incident in the IAPro Database and linked to any
                            associated EIS entries.

              (3)   If the PSB Commander determines that an internal complaint originating
                    from a workplace relationship should be handled with the assistance of the
                    MCSO Employee Retention and Performance Division (ERPD), the
                    following procedures shall apply:

                    (a)     The ERPD is a resource available to all employees, supervisors, and
                            commanders to assist with addressing employee performance
                            concerns and sources of conflict originating from workplace
                            relationships. This includes resolving disputes pertaining to annual
                            performance appraisals, supervisor application of workplace
                            rules/regulations, and disputes pertaining to employee leave matters.

                    (b)     The PSB Commander shall, based upon the information available
                            determine the level of involvement by the ERPD to address the
                            complaint. The PSB Diversion Worksheet shall be utilized by the
                            PSB Commander as outlined above to document the review,
                            assessment, and eligibility of the matter to be resolved utilizing the
                            ERPD.

                            i.      If the PSB Commander determines that a qualifying
                                    complaint is most appropriately handled as a supervisory
                                    intervention with the assistance of the ERPD, in addition to
                                    processing the matter as a supervisor intervention, the PSB
                                    shall facilitate the following:

                                    a.      The PSB shall provide the contact information of
                                            the ERPD to the supervisor assigned the PSB
                                            Diversion to assist them as needed to complete the
                                            appropriate supervisory intervention.

                                    b.      The PSB shall provide the available information
                                            regarding the matter and the contact information for
                                            the supervisor assigned the PSB Diversion to the
                                            ERPD to foster communication and promote the
                                            most appropriate resolution to the supervisory
                                            intervention.

                          ii.       If the PSB Commander determined that a qualifying
                                    complaint is most appropriately assessed for a proper course
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                                   of action by the ERPD, the PSB Commander shall refer the
                                   matter and all available information to the ERPD for further
                                   assessment.

                                   a.      The ERPD will review, evaluate, inquire as needed,
                                           and formulate a memorandum outlining a
                                           recommended course of action to resolve the
                                           complaint.     The memorandum including the
                                           proposed action(s) shall be provided in writing to
                                           the PSB Commander with a projected completion
                                           date. The memorandum shall also include any
                                           portion(s) of the complaint in which the ERPD
                                           determines to be feels are outside the scope of the
                                           proposed resolution or if additional alleged
                                           employee misconduct is identified.

                                   b.      The PSB Commander shall review the proposal
                                           from the ERPD to resolve the complaint to verify no
                                           additional employee misconduct concerns have
                                           been identified. The PSB Commander will work
                                           with the ERPD to resolve any other identified
                                           concerns before moving forward with the proposal.

                                           1.      If approved by the PSB Commander, the
                                                   matter will be returned to the ERPD for
                                                   completion of the proposed action.

                                           2.      The ERPD shall document the completion
                                                   of the proposed action which will be
                                                   forwarded to the PSB Commander, or
                                                   designee for review and inclusion in the
                                                   PSB Diversion file in IAPro.

                                           3.      If, after review, additional alleged
                                                   employee misconduct has been identified,
                                                   or the matter warrants further formal
                                                   investigation, the formal administrative
                                                   investigative process shall be initiated.

              (4)   In the event that the PSB Commander determines that a Diversion should be
                    utilized, the following procedures shall apply:

                    (a)    PSB Commander will complete the PSB Diversion Worksheet
                           documenting a summary of the incident, the review conducted,
                           assessment, policy violations.

                    (b)    The complaint should be categorized with the incident type of PSB
                           Diversion in the IAPro Database. The entry shall link the involved
                           employees, allegations, and the determination.




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                     (c)     The case should be administratively closed with an explanation as to
                             why that is the appropriate course of action. The PSB Diversion
                             process shall utilize the EIS to process, document, route, and track
                             the how eligible complaints are addressed in lieu of a formal
                             administrative investigation or Service Complaint.

              (5)    The PSB Diversion process shall require notification to the complainant,
                     principal employees, and the respective employee’s chain of command
                     consistent with notifications sent when an administrative investigation or
                     Service Complaint is received or closed.

              (6)    Should additional allegations of employee misconduct or information
                     become available during the PSB Diversion process, it shall be reviewed by
                     the PSB Commander to assess whether the matter warrants the initiation of
                     a formal administrative investigation or Service Complaint.

              (7)    The procedures set forth in Office Policy shall retroactively apply to any
                     open complaints/investigations.

              (8)    If the complaint meets the requirements to be processed as a Service
                     Complaint, it shall continue through the Service Complaint process as
                     specified in Office Policy.

              (9)    If the complaint will be administratively investigated, the PSB Commander
                     will make an initial determination of the category of the alleged offense,
                     assign an IA Number to track the allegation of misconduct, and promptly
                     assign an internal affairs investigator(s).

              (10)   If an administrative investigation is initiated, the PSB shall provide a written
                     update to the complainant within seven days which shall include the IA
                     Number and the name of the assigned investigator. This written update shall
                     also inform the complainant how they may contact the PSB to inquire about
                     the status of the complaint.

              (11)   When allegations are filed on multiple employees involved in a single act of
                     misconduct, one IA Number shall be assigned. The assigned IA Number
                     shall be noted on all documents resulting from the complaint.

              (12)   The incident type of PSB Diversion shall also be utilized by the PSB to
                     document communications received by the PSB that are not complaints,
                     rather other inquires, questions, comments, commendations, or other matters.
                     While these matters do not meet the definition of a complaint of employee
                     misconduct, the PSB Diversion incident type with an appropriate label shall
                     be the mechanism to store/document the action taken by the PSB in response
                     to these communications. Communications in this category are not to be
                     confused with complaints of employee misconduct and shall be categorized
                     separately for tracking purposes with the IAPro Database.




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   5.   Disciplinary Offer: Situations where there is sufficient external evidence, documentary or
        video evidence that is dispositive of whether a violation of policy occurred, establishes a
        violation of Office Policy, and the PSB Commander determines based on the circumstances
        of the situation, that the principal(s) involved accepted responsibility and received an offer
        for either the presumptive discipline or a mitigated discipline no lower than the minimum
        discipline within the Office Disciplinary Matrices, as further described:

        a.      A Disciplinary Offer is to be considered an Expedited Resolution.

        b.      The ability of the PSB Commander to offer principals the presumptive discipline or
                a mitigated penalty if they accept responsibility, shall include allegations that, if
                sustained, could constitute a Category 1, Category 2 and Category 3, First Offense,
                where minor discipline is within the approved range pursuant to Office Policy GC-
                17, Employee Disciplinary Procedures.

        c.      If determined to be eligible, the PSB Commander shall coordinate with the MCSO
                Administrative Services Division (ASD) Conduct Resolution Section (CRS) to
                prepare and extend the written disciplinary offer to the principal employee(s).

        d.      The principal employee(s) shall have seven (7) calendar days during a time period
                the employee is regularly scheduled to work to respond to the disciplinary offer.

        e.      If the employee accepts responsibility for the policy violation(s) and returns the
                signed disciplinary offer, the ASD CRS shall prepare/process the disciplinary action
                in accordance with standard operating procedures for minor discipline administration
                following a formal administrative investigation. Some steps may not be required to
                complete this investigation.

        f.      If the employee declines to accept the disciplinary offer or fails to return the
                disciplinary offer to the ASD CRS by the deadline provided, the ASD CRS shall
                forward the response or lack of response to the PSB Commander for the initiation of
                a formal administrative investigation.

        g.      In the event information/evidence related to this complaint is later discovered which
                could require the matter to be investigated further by the PSB, the discipline offer or
                issuance shall be rescinded by the PSB Commander.

        h.      The following types of complaints are not eligible for consideration for a presumptive
                discipline or a mitigated penalty in place of a full formal administrative investigation
                or Service Complaint:

                (1)     Complaints involving members of the Plaintiffs’ class;

                (2)     Complaints involving allegations of bias;

                (3)     Complaints involving allegations of criminal conduct;

                (4)     Allegations of conduct that, if sustained, would require notification to the
                        MCAO for Rule 15 Disclosure pursuant to Brady v. Maryland;


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                      (5)     Allegations of conduct that, if sustained, could result in the revocation of a
                              principal’s AZ POST certification; and

                      (6)     Allegations of conduct that, if sustained, could constitute a Category 3
                              Offense where minor discipline is not within the approved range from the
                              Office’s Disciplinary Matrices.

B.     Case assignment: Administrative Investigations shall be assigned in accordance with Policy GH-2,
       Internal Investigations, and all applicable Court Orders.

       1.     The PSB Commander shall make an initial determination of the category of offense and then
              promptly assign the case to an internal affairs investigator.

       2.     The PSB Commander shall determine whether the administrative investigation will be
              conducted at the division level or by the PSB. Caseload, conflict(s) of interest, and
              investigative experience shall be taken into consideration when assigning cases.

C.     Complaint Intake - Associated Blue Team, IAPro Duties/Responsibilities:

       1.     IAPro and Blue Team shall be utilized, as appropriate to each, during the complaint intake
              process for purposes to include, but not be limited to: case number; logging dates and times
              of complaint receipt; nature of the complaint; how the complaint was received; alleged policy
              violation(s); name of complainant (if known); complainant contact information; name of
              principal(s) if known; date reviewed by PSB commander; date complaint assigned; assigned
              investigator(s) or District/Division Commander; investigator’s supervisor; completion due
              date; due date for the PSB Investigative Plan; PSB Diversion Worksheet (if applicable); and
              date notice of complaint receipt provided to the complainant (if applicable).




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302.   Administrative Investigations

       A.     Administrative Investigations shall be received and conducted in accordance with Policy GH-2,
              Internal Investigations, Arizona Revised Statutes, Title 38, and the Amended Second Supplemental
              Permanent Injunction/Judgement Order, Document 176, 2:07-cv-02513-GMS.

              1.      The investigation shall consist of gathering and reporting facts related to the allegation.
                      Credibility determinations shall be based upon all known facts. Employees shall present
                      documentary evidence on their behalf at any time prior to the conclusion of an investigation.
                      They shall also advise investigators of persons who shall be contacted for statements.

              2.      In each misconduct investigation, investigators shall:

                      a.      Conduct investigations in a rigorous and impartial manner designed to determine the
                              facts;

                      b.      Approach the investigation without prejudging the facts and without permitting any
                              preconceived impression of the principal, investigative lead, witness or
                              complainant to cloud the investigations;

                      c.      Identify, collect, and consider all relevant, circumstantial, direct, and physical
                              evidence, including any audio or video recordings;

                      d.      Make reasonable attempts to locate and interview all witnesses, including members
                              of the public;

                      e.      Make reasonable attempts to interview any external complainants in person;

                      f.      Audio and video record all interviews;

                      g.      Avoid asking leading questions and questions that may suggest justifications for the
                              alleged misconduct;

                      h.      Attempt to resolve material inconsistencies between employee, complainant,
                              investigative lead, and witness statements, and make credibility determinations as
                              appropriate;

                      i.      Not give automatic preference for an employee’s statement over a statement received
                              from a member of the public;

                      j.      Not disregard a witness or investigative lead’s statement solely because the witness
                              or investigative lead has a connection to either the complainant or an employee or
                              has a criminal history; and

                      k.      Not alone consider the fact that a complainant committed a crime, pled guilty or is
                              found guilty of an offense, to determine whether the employee engaged in
                              misconduct; nor will any such fact, by itself, justify discontinuing an investigation.




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       3.     Internal affairs investigators shall consider the witness or investigative lead’s criminal history
              or any adjudicated findings of untruthfulness in evaluating their statement. Additionally, the
              internal affairs investigator shall consider the record of any witness, investigative lead,
              complainant, or employee who has been determined to have been deceptive or untruthful in
              any legal proceeding, misconduct investigation, or other investigation.

       4.     Investigators shall investigate any additional evidence of potential misconduct uncovered
              during the course of the investigation, regardless of whether the potential misconduct was
              part of the original allegation.

       5.     The MCSO shall not terminate an administrative investigation solely on the basis that the
              complainant seeks to withdraw the complaint, or is unavailable, unwilling, or unable to
              cooperate with an investigation, or because the principal resigns or retires to avoid discipline,
              unless it meets the specific situations approved for Administrative Closures. The MCSO will
              continue the investigation and reach a finding, where possible, based on the evidence and
              investigatory procedures and techniques available.

B.     Investigative Timelines: Investigative start, extension, and completion timeline procedures are as
       follows:

       1.     Administrative investigations shall be investigated and submitted to the PSB Commander by
              the deadline identified by the PSB.

       2.     If the investigation is conducted by the PSB or outsourced to an outside vendor, the
              investigative timeline shall be completed within 85 calendar days.

       3.     If the investigation is completed by an enforcement division other than the PSB, the
              investigative timeline shall be 60 calendar days. Within these 60 calendar days, the chain of
              command shall have up to 10 calendar days to complete its review.

       4.     If it appears the investigation will exceed the investigative timeline identified by the PSB,
              and a reasonable justification exists to request an extension, the investigator shall complete a
              Request for Investigative Extension.

              a.      Requests for extensions must provide sufficient detail to justify the amount of time
                      requested and demonstrate why the extension shall be deemed reasonable.
                      Reasonable justifications to the investigative timeline may include situations where
                      involved employees are out on approved leave for prolonged periods of time during
                      the investigative timeframe (i.e., FMLA or military leave), the prolonged
                      unavailability of the non-employee complainant, witness, or evidence, or a criminal
                      investigation restricting necessary investigative steps from being completed.

              b.      The investigative timeline shall not be extended without an approved justification.

              c.      No part of the administrative investigation shall be held in abeyance unless
                      authorized by the PSB Commander in consultation with the entity conducting the
                      criminal investigation.

       5.     Division Process to Requests for Investigative Extension: The Request for Investigative
              Extension for a Division Level Investigation is attached as Appendix xxx and shall be
              processed in the following manner:
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        a.      The Request for Investigative Extension shall be completed by the investigator and
                submitted through the chain of command to their Executive Chief for review. The
                Executive Chief will forward the Request for Investigative Extension to the PSB
                Commander for processing no later than 10 calendar days prior to the current
                investigative due date.

        b.      If approved, the PSB will facilitate the submission to the Sheriff for review and
                consideration.

        c.      If approved by the Sheriff, the PSB will submit the request to the Monitor Team for
                final review, approval, and establishment of a new investigation due date.

        d.      If a new due date is approved, the Request for Investigative Extension will be added
                to the investigative case file and provided to the investigator and respective Division
                Commander by the PSB.

        e.      If at any stage, the Request for Investigative Extension is not approved, the Request
                for Investigative Extension will be provided to the PSB to be added to the
                investigative case file and a copy of the unapproved request will be provided to the
                investigator and respective Division Commander by the PSB.

        f.      The PSB will update the IAPro database with any approved extension due date or
                disapproved extension request.

        g.      If the investigation is not completed by the newly established due date a new Request
                for Investigative Extension shall be completed utilizing the procedures previously
                outlined.

  6.    PSB Process to Requests for Investigative Extension: The Request for Investigative Extension
        for a PSB Investigation is attached as Appendix xxx and shall be processed in the following
        manner:

        a.      The Request for Investigative Extension shall be completed by the investigator and
                submitted through the chain of command to the PSB Commander for review. The
                Request for Investigative Extension shall be submitted to the PSB Commander for
                processing no later than 10 calendar days prior to the current investigative due date.

        b.      If approved, the PSB will facilitate the submission to the Sheriff for review and
                consideration.

        c.      If approved by the Sheriff, the PSB will submit the request to the Monitor Team
                (during such time as the Monitor is assigned) for final review, approval, and
                establishment of a new investigation due date.

        d.      If a new date is approved, the Request for Investigative Extension will be added to
                the investigative case file and disseminated to the investigator.

        e.      If at any stage, the Request for Investigative Extension is not approved, the Request
                for Investigative Extension will be provided to the PSB to be added to investigative
                case file and a copy of the unapproved request will be provided to the investigator.

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        f.      The PSB will update the IAPro database with any approved extension due date or
                disapproved extension request.

        g.      If the investigation is not completed by the newly established due date a new Request
                for Investigative Extension shall be completed.

  7.    Overall Investigation Completion Timeline: The overall administrative investigation
        completion timeline starts on the date the Office receives notice of alleged employee
        misconduct by a person authorized by the Office to initiate an investigation which includes
        investigators assigned to the PSB or supervisors in an Office division or bureau who are
        assigned to investigate misconduct and ends when the employee is served with a Closed Case
        Notification, Coaching, Written Reprimand, or Pre-Determination Hearing Notice.

        a.      In cases involving a law enforcement officer’s conduct that may result in suspension,
                demotion, or dismissal, the Office is statutorily obligated to make a good faith effort
                to complete an administrative investigation within 180 calendar days after the Office
                receives notice of the allegation by a person authorized by the Office which includes
                investigators assigned to the PSB or supervisors in an Office division or bureau who
                are assigned to investigate misconduct to initiate an investigation. The 180-calendar
                day timeline is met when the employee is served with a Closed Case Notification,
                Coaching, Written Reprimand, or Pre-Determination Hearing Notice.

        b.      If it appears that the completion timeline will exceed the statutorily identified 180th
                calendar day despite good faith efforts and additional time is necessary to obtain or
                review evidence, the Office shall provide the principal(s) with a written notice
                explanation of the reasons for the investigation to continue beyond 180 calendar days.

                (1)     The PSB shall prepare a 180-Day Notice and provide a copy of the 180-Day
                        Notice signed by the PSB Commander to the principal(s) prior to 180
                        calendar days.

                (2)     The 180-Day Notice shall be attached to the investigative report in IAPro
                        including documentation of the 180-Day Notice being provided to the
                        principal(s).

        c.      In accordance with Arizona Revised Statute, following the 180-Day Notice, the
                completion timeline for an administrative investigation involving a law enforcement
                officer’s conduct that may result in suspension, demotion, or dismissal, shall not
                exceed an additional 360 calendar days, with the exceptions of events indicated
                below. When one of these exceptions occur, the investigator shall include the
                information in the IAPro case file:

                (1)     The completion timeline is suspended during the time that any criminal
                        investigation or prosecution is pending in connection with the act, omission,
                        or other allegation of misconduct.

                (2)     The completion timeline is suspended during the period of time in which a
                        law enforcement officer who is involved in the investigation is incapacitated
                        or otherwise unavailable.

                (3)     The completion timeline may be suspended for a period prescribed in a
                        written waiver of the limitation by the law enforcement officer.
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                             (4)     The completion timeline may be suspended for emergencies or natural
                                     disasters during the time period in which the governor has declared a state of
                                     emergency within the jurisdictional boundaries of the concerned employer.

                             (5)     A multijurisdictional investigation may be extended for a period of time
                                     reasonably necessary to facilitate the coordination of the employers involved.

303.   Administrative Investigation Reports

       A.     Throughout the course of each investigation the internal affairs investigator shall document all
              information gathered during the investigation in the investigative report.

              1.     Report Format: The investigator shall utilize the appropriate investigative report format. The
                     format and forms for the investigative report are found at M: PSB\Investigation Forms (See
                     Attachments B through E.) All facts gathered during the investigation shall be documented.
                     The investigative report shall include:

                     a.      Investigative Plan: An Investigative Plan shall be created for each Administrative
                             Investigation. The primary objectives of an administrative Investigative Plan are: to
                             provide a roadmap for a thorough and complete investigation; to identify all reasonable
                             opportunities to reduce and eliminate unnecessary investigative steps; and to promote
                             timely completion of the investigation. The Investigative Plan serves as the foundation
                             and starting point for the efficient investigation of the alleged employee misconduct.

                             (1)     An Investigative Plan shall be formulated collaboratively between the
                                     investigator and the investigator’s supervisor. The Investigative Plan shall be
                                     completed and approved by the investigator’s Division Commander within
                                     seven (7) calendar days of the case assignment to the investigator.

                             (2)     The Investigative Plan shall include the following items:

                                     (a)      Complaint synopsis: The complaint synopsis shall consist of a few
                                              sentences providing an overall synopsis of the known allegations/facts
                                              after review of the complaint intake and all available associated
                                              evidence available to the investigator and their supervisor at the time
                                              the Investigative Plan is drafted.

                                     (b)      Evidence: The evidence section shall consist of a list of all available
                                              items of evidence the investigator has currently in their possession or
                                              plans to seek out/collect/request/review during the investigation.

                                     (c)      Case outline: The case outline is a free-form outline of the projected
                                              order of investigative steps anticipated to be taken by the investigator.
                                              This section may be in bullet point or narrative form but must provide
                                              enough information to ascertain the projected sequence of events and
                                              any investigative steps anticipated necessary to complete the
                                              investigation.

                                     (d)      Additional information: This section allows for the investigator to
                                              provide any other relevant information pertaining to the overall
                                              investigative strategy.
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                     (e)     Estimated investigative completion date: This section shall include the
                             investigator’s estimated date of completion and submission to their
                             supervisor by following the steps outlined in the proposed
                             Investigative Plan.

                     (f)     Supervisory Review: This section shall list the reviewing supervisor
                             and the date in which the Investigative Plan was approved.

              (3)    The Investigative Plan submission, review, and approval workflow process
                     shall consist of the following:

                     (a)      The Investigative Plan template shall be entered into the IAPro
                              Database utilizing the Running Sheet feature for supervisory review
                              and approval.

                     (b)      The reviewing supervisor shall work with the assigned investigator
                              to revise/edit the Investigative Plan as needed to eliminate any
                              unnecessary investigative steps.

                     (c)      Once approved, the investigator’s supervisor, a Lieutenant, shall
                              document their approval of the Investigative Plan on the applicable
                              IAPro Running Sheet with their date of approval. The investigator
                              can begin the investigation following the immediate supervisor’s
                              approval of the plan.

                              Within 5 days after the approval of the Investigative Plan, another
                              Lieutenant will review the approved plan. If this reviewer suggests
                              modifications to the plan during this review process, those will be
                              communicated to the investigator’s supervisor as soon as possible.

                     (d)      The Investigative Plan shall be stored within the IAPro Database and
                              be available for review/reference throughout the course of the
                              investigation, and a copy shall be retained in the case file for future
                              reference.

                     (e)      The IAPro Task Feature shall be utilized to track the initial
                              assignment and due date for completion and approval of all
                              investigative plans. Alerts associated with the investigative plan due
                              date shall be provided to the investigator, their supervisor, and their
                              commander in Blue Team.

        b.    Prior Work History Report: A Prior Work History Report shall be prepared in order
              to consider the principal’s work history.

              (1)    The PSB shall review the employee’s EI Pro/Blue Team entries and Personnel
                     File, as well as any other pertinent information on the employee in order to
                     compile a complete history. The review shall include the employee’s prior
                     five years of MCSO work history, to include a review of the employee’s
                     Employee Performance Appraisals. This report shall be completed and
                     uploaded into Blue Team within five days of the complaint being filed.

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               (2)     If the case is assigned to the division level, the assigned division investigator
                       shall review the employee’s Division File, Supervisor Notes, and any other
                       information regarding the employee’s prior ten years of work history and
                       document the information on the report. If the PSB is conducting the
                       investigation, the PSB investigator shall contact the division level supervisor
                       who shall assist with gathering the information so that it can be documented
                       in the report.

               (3)     The following shall be included in the Prior Work History Report:

                       (a)       Commendations and awards;

                       (b)       Findings of misconduct, which includes misconduct for which
                                 discipline was ultimately not issued for procedural reasons, such as
                                 but not limited to, the Merit Commission finding a good faith effort
                                 was not made to complete an investigation within the statutory
                                 requirements. The findings of misconduct shall be considered in
                                 future disciplinary decisions;

                       (c)       The IAPRO complaint history; and

                       (d)       Discipline, to include information regarding the allegation, the date
                                 of allegation; and the findings.

        c.     Coversheet

        d.     Administrative Investigations Process Checklist

        e.     Findings: A Findings page shall be prepared for each policy violation. If there are
               multiple policy violations, allegations, or principals, there shall be a separate Findings
               page for each principal, each allegation, and each policy violation.

        f.     Investigative Report: The body of the report shall document all actions taken during
               the investigation.

  2.    Report Documentation: The investigator shall ensure the following are documented in
        the administrative investigation:

        a.     A narrative description of the incident;

        b.     Documentation of all evidence that was gathered, including names, phone numbers,
               and addresses of civilian complainants, witnesses, and investigative leads. In
               situations where there are no known witnesses or investigative leads, the report shall
               specifically state this fact. In circumstances in which witnesses or investigative
               leads were present but circumstances prevented the investigator from determining
               the identification, phone number, or address of those witnesses or investigative
               leads, the report shall state the reason. The report shall also include all available
               identifying information for anyone who refuses to provide a statement;

        c.     Names of all Office employees who witnessed the incident;

        d.     Documentation of whether employees were interviewed and a transcript or recording
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              of the interviews;

        e.    The investigator’s evaluation of the incident, based on their review of the evidence
              gathered, including a determination of whether the employee’s actions appear to be
              within Office policy, procedure, regulations, orders, or other standards of conduct
              required of Office employees;

        f.    In cases where the investigator asserts that material inconsistencies were resolved,
              explicit credibility findings, including a precise description of the evidence that
              supports or detracts from the person’s credibility.

       g.     In cases where material inconsistencies must be resolved between complainant,
              witness, investigative lead, and employee statements, explicit resolution of the
              inconsistencies, including a precise description of the evidence relied upon to resolve
              the inconsistencies.

       h.     An assessment of the incident for policy, training, tactical, or equipment concerns,
              including any recommendations for how those concerns shall be addressed. In
              accessing the incident for policy, training, tactical, or equipment concerns, the
              investigator shall include an assessment of whether:

              (1)     The law enforcement action complied with training and legal standards;

              (2)     The use of different tactics should or could have been employed;

              (3)     The incident indicates a need for additional training;

              (4)     The incident suggests that the Office should revise its policies, strategies,
                      tactics or training;

       i.     If a weapon was used, documentation that the employee’s certification and training
              for the weapon were current.

       j.     In the instance of an externally generated complaint, documentation of all contacts
              and updates with the complainant.

       k.     For each allegation of misconduct, investigators shall identify and recommend one
              of the following dispositions for each allegation of misconduct:

              (1)     Unfounded – the investigation determines by clear and convincing evidence,
                      that the allegation was false or not supported by fact.

              (2)     Exonerated – the investigation determines that the alleged misconduct did
                      occur but did not violate policy, procedure, or training.

              (3)     Not Sustained – the investigation determines that there is insufficient
                      evidence to prove or disprove the allegation.

              (4)     Sustained – the investigation determines by the preponderance of the
                      evidence, that the alleged misconduct did occur and justifies a reasonable
                      conclusion of a policy violation.

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  3.    PSB Administrative Investigation Review Timeline: The supervisory review process for
        administrative investigations completed by PSB Investigators plays a significant role in the
        overall quality and timeliness of completion for administrative investigations. The review
        process of administrative investigations completed by the PSB shall be completed as specified
        in MCSO Policy GH-2 Internal Investigations, with the following timeline expectations:

        a.      PSB supervisory staff shall monitor the timely completion of administrative
                investigations assigned to subordinate personnel to ensure compliance with
                investigative requirements and to identify if additional training, investigative
                planning, or additional supervision is necessary.

        b.      PSB staff shall utilize the IAPro Database Timescale feature to monitor case progress,
                status, and the review process.

        c.      PSB Supervisory staff shall utilize the IAPro Database Task feature to track the
                receipt, review, approval, forwarding to the PSB Commander, or return of an
                administrative investigation for further investigation. The IAPro Database Task
                feature generates alerts for investigators and supervisors to identify those cases
                coming due or overdue.

        d.      The quality of the level of review of an administrative investigation must be balanced
                with the timeliness of such review to ensure efficient operations and compliance with
                investigative timelines.

        e.      It is the expectation that barring unusual circumstances, an approved investigative
                extension, or specific arrangements made with the investigator’s supervisor, that the
                PSB investigator submit their completed case for review by the 75-day investigative
                timeline date. The remaining 10 days allows for the supervisory review and to
                resolve any additional investigatory actions deemed necessary and still satisfy the 85-
                day investigative timeline.

        f.      It is the expectation that barring unusual circumstances, a supervisor shall complete
                their review within seven (7) calendar days of receipt of the completed investigation.
                If there are circumstances warranting additional time to review the case beyond seven
                calendar days (7), the supervisor shall add an explanation in the IAPro Database
                Running Sheets feature associated with the IAPro Investigative File.




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307.   Critical Incident and Non-Critical Incident Occurrences

       A.     Critical Incident: Administrative Critical Incident Investigations shall be received and conducted in
              accordance with Policy GJ-2, Critical Incident Response, and the Critical Incident Investigations
              Protocol, Arizona Revised Statutes, and the Court’s Order in the Ortega Melendres v Arpaio
              litigation.

              1.      PSB investigators shall investigate the incident strictly for administrative purposes and shall
                      not be involved in the criminal investigation surrounding the incident. The scope of the
                      critical investigation is to identify acts of misconduct; and/or tactics, training, equipment, or
                      policy concerns.

              2.      A Critical Incident Investigation number (CI) shall be assigned.

              3.      The critical incident investigation will proceed under the same guidelines as listed in the
                      internal investigation section of this operational manual, Policy GJ-2, Critical Incident
                      Investigations, and the MCSO Critical Incident Protocol.

              4.      The critical incident investigator shall submit a written report to the PSB Commander and
                      Bureau of Compliance Executive Chief via the chain of command for approval.

              5.      The PSB Commander shall ensure that the written report is forwarded and presented to the
                      Use of Force Review Board and/or the respective custody Bureau Chief in the case of an in-
                      custody death.

       B.     Non-Critical Incident: An incident resulting in the death or serious physical injury of a prisoner or an
              inmate that does not involve the use of force by an employee shall be considered a non-critical
              incident and does not require protocol activation. Procedures for these prisoner or inmate
              occurrences shall be followed, as specified in Office Policy GJ-11, Serious Diagnosed Illness, Serious
              Physical Injury or Death of a Prisoner or Inmate.

              1.      Prisoner/Inmate Death Preliminary Inquiry Report (PIR): A PIR is required following the
                      natural death of an inmate, inmate death by suicide, and prisoner/inmate deaths occurring in
                      a custody bureau facility, detention transportation vehicle, or a jail wagon transport vehicle,
                      and when no PSB investigation has otherwise been initiated. The PIR shall be completed, as
                      specified in Office Policy GH-2, Internal Investigations.

                      a.      The PIR shall be conducted to identify potential employee misconduct associated
                              with the incident. If at any time during the PIR process employee misconduct is
                              identified, it shall immediately be entered into Blue Team as an Internal Complaint
                              by the supervisor identifying the misconduct.

                      b.      PIRs completed pursuant to a prisoner or inmate death shall be forwarded through
                              the chain of command within 30 calendar days to the PSB Commander or designee
                              to determine if an administrative investigation is warranted to determine whether any
                              violation of Office policy contributed in any way to the prisoner or inmate death.




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              (1)     If at any time during the PIR review the PSB Commander determines further
                      inquiry action is needed in order to properly complete the review, the PIR
                      shall be returned to the jail facility commander to ensure the action is
                      completed and provided back to the PSB Commander within 14 calendar
                      days.

              (2)     If additional time is needed to complete the PIR, the custody bureau facility
                      commander shall provide a documented request for an extension and provide
                      an estimated time of submission to the PSB Commander.

              (3)     If the PSB Commander or designee identifies potential employee misconduct
                      associated with the incident, the information and associated documentation
                      shall be entered into Blue Team for the consideration of the initiation of an
                      administrative investigation in accordance with Office Policy.

              (4)     If the PSB Commander or designee determines employee misconduct did not
                      occur, no further administrative investigative action is required. The PSB
                      Commander or designee shall complete a PSB Division Review form
                      summarizing the review conducted and incident assessment along with the
                      mechanism(s) any training, tactical, or equipment concerns identified were
                      addressed.

                      (a)     The PSB Diversion Worksheet will be forwarded to the PSB
                              Commander for final review and approval.

                      (b)     Once approved, the PSB Diversion Worksheet and all associated
                              documentation provided/reviewed with the PIR will be uploaded to
                              IAPro with the incident type of PSB Diversion and a unique PSB
                              Diversion identifier.

        c.    A prisoner or inmate death PIR is not required when the following occurs:

              (1)     The death of a prisoner or inmate is determined be a critical incident, as
                      specified in Office Policy GJ-2, Critical Incident Response; or

              (2)     The PSB has already initiated an administrative investigation into the
                      incident.




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                               GC-17, Employee Disciplinary Procedures
                                  CATEGORIES OF OFFENSES
                                                      Attachment B
                                                  Effective Date: 06-25-20
Discipline for violation of the law, regardless of the ultimate adjudication of any criminal or civil charges, shall be based
on the facts and evidence discovered during the Office investigation.

Conduct that is not specifically identified in the following chart shall be reviewed using the definition for each Category of
Offense.

CATEGORY 1
Conduct, while against policy, has a minimal negative impact on the overall operations or professional image of the Office
and usually of a first offense nature. This conduct however, is not acceptable and must be corrected. Failure to correct the
behavior shall result in more severe discipline.

Violations in Category 1 involve neglect. If acts are found to be intentional, or repeated, after coaching or other intervention
by a supervisor, these violations shall move to Category 3, or higher.

CATEGORY 2
Conduct that has more than minimal negative impact on the operations or professional image of the Office; or conduct that
negatively impacts relationships with other employees, agencies or members of the public; or conduct under Category 1
with repetitive offenses.

CATEGORY 3
Conduct that has a pronounced negative impact on the operations or professional image of the Office, relationships with
other employees, agencies, or the public; or conduct within a lower Category of Offenses with repetitive offenses.

CATEGORY 4
Conduct that is substantially contrary to the values of the Office; or that substantially interferes with its mission, operations,
or professional image; or that involves a demonstrable serious risk to employees or public safety.

CATEGORY 5
Conduct that involved the serious abuse or misuse of authority, unethical behavior, or an act that results in an actual serious
and/or adverse impact on employee or public safety, or to the professionalism of the Office.

CATEGORY 6
Conduct that involves the serious abuse or misuse of authority, unethical behavior; or an act that results in an actual serious
and adverse impact on the Office employee, public or public safety; or to the professionalism of the Office.

CATEGORY 7
Any violation of law, policy, rule or regulation which: foreseeably results in death or serious bodily injury; or constitutes a
willful and wanton disregard of Office guiding principles; or involves any act or omission which demonstrates a serious
lack of the integrity, ethics or character related to an Office employee’s fitness to hold their position; or involves egregious
misconduct substantially contrary to the standards of conduct reasonably expected, to include those whose sworn duty is to
uphold the law; or involves conduct which constitutes the failure to adhere to any condition of employment required or
mandated by law.




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Policy GC-17, Employee Disciplinary Procedures                 Effective Date: 06-25-20
Attachment B

                                                                 Category      1   2   3   4   5   6   7
     1 UNETHICAL CONDUCT
        A.   Participating in activities which would compromise an
             employee’s ability to perform Office duties objectively and
             impartially.                                                              
        B.   Withholding relevant information or misleading investigators
             during a criminal or administrative investigation.
                                                                                                   
        C.   Failure to inform command staff regarding a conflict of
             interest related to an administrative investigation and the
             administration of discipline.                                                          
        D.   Violation of Office Policy CP-5, Truthfulness.                                            
        E.   Violation of Office Policy CP-3, Workplace Professionalism:
             Discrimination and Harassment, by actions that include
             unlawful discrimination or harassment of another person
             because of an individual’s protected characteristics.                                     
        F.   Violation of Office Policy CP-8, Preventing Racial and
             Other Bias-Based Profiling, by taking law enforcement
             actions based on race, ethnic background, gender, sexual
             orientation, religion, economic status, age, cultural group, or
             national origin, including the selection of people for
             consensual contacts.                                                                      
        G.   Violation of Office Policy CP-8, Preventing Racial and other
             Bias-Based Profiling, by basing detention operations on race,
             ethnic background, gender, sexual orientation, religion,
             economic status, age, cultural group, or national origin.
                                                                                                   
        H.   Violation of Office Policy CP-11, Anti-Retaliation, by
             actions that include retaliation against any person, member of
             the public, or employee for their lawful expression of
             opinions in exercise of their First Amendment right to
             freedom of speech.                                                                       
     2 CONFORMANCE TO OFFICE DIRECTIVES
        A.   Unintentional failure to conform to the provisions of all
             written policies, except those found to be unlawful, incorrect,
             or inapplicable.
                                                                               
        B.   Intentional failure to conform to the provisions of all written
             policies, except those found to be unlawful, incorrect, or
             inapplicable.
                                                                                       
        C.   Unintentional failure to comply with any court related matters
             such as court orders or judgment, orders, written instructions,
             and rules.                                                            
        D.   Intentional failure to comply with any court related matters
             such as court orders or judgment, orders, written instructions,
             and rules.                                                                               
        E.   Failure to accept responsibility for own acts and shift burden
             or responsibility to another person.                                  
        F.   Disregard of safety rules which place other employees or
             members of the public at risk.                                            
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Policy GC-17, Employee Disciplinary Procedures                 Effective Date: 06-25-20
Attachment B
                                                                 Category      1   2   3   4   5   6   7
     3 CONFORMANCE TO ESTABLISHED LAWS
        A.   Commission of Class 2 or Class 3 misdemeanor violation,
             with the exception of a criminal speed violation.                             
        B    Commission of a criminal speed violation.                             
        C.   Commission of a Class 1 misdemeanor violation, not to
             include DUI.                                                                          
        D.   Commission of DUI to any degree.                                                          
        E.   Conduct that constitutes a felony under state law, or any other
             state’s law, or federal law. While travelling abroad,
             employees shall abide by the laws of foreign countries,
             insofar as the laws do not conflict with the laws of the U.S.                             
        F.   Failure to report the knowledge of the commission of a felony
             by an employee. The presumptive discipline for a failure
             to report such allegations may be commensurate with the
             presumptive discipline for the underlying misconduct or
             maybe one offense less than received by the employee who
             committed the act.                                                                        
        G.   Commission of theft, stealing, misappropriation of funds, or
             fraudulent activity.                                                                      
     4 INDIVIDUAL RESPONSIBILITY
        A.   Failure of an employee who observes or becomes aware of
             any act of misconduct by another employee to report the
             incident as soon as practicable to a supervisor or directly to
             the PSB. The presumptive discipline for a failure to report
             such allegations may be commensurate with the
             presumptive discipline for the underlying misconduct or
             maybe one offense less than received by the employee who
             committed the act.                                                                  
        B.   Failure of an employee to take appropriate action whenever
             learning of a policy violation being committed, or having
             been committed, by any other person associated with the
             Office in any capacity, which by its very nature would tend
             to discredit an employee or the Office. To include conduct on
             or off-duty. The presumptive discipline for a failure to
             take appropriate action may be commensurate with the
             presumptive discipline for the underlying misconduct or
             maybe one offense less than received by the employee who
             committed the act.                                                                  
        C.   Failure to adequately assist members of the public with the
             Comment and Complaint Form process.                                   
        D.   Failure by an on-duty supervisor or commander to document
             in Blue Team an internal or external complaint of
             misconduct.                                                               
        E.   Failure to report, without delay, to the on-duty supervisor, an
             appropriate commander, or the PSB, when any false
             information is alleged or reasonably believed to have been
             provided in an administrative investigation or on any official
             report, log, or electronic transmittal of information,
             testimony, communication with other officials, public                                  

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             presentations such as community meetings, and press
             briefings.
        F.   Participation in the retaliating against an employee who
             reports misconduct or a violation of policy, responsibility, or
             duty.                                                                                  
        G.   Failure to report secondary employment when required.              
        H.   Failure to report a missing firearm.                                                   
     5 UNBECOMING CONDUCT
        A.   Failure by an employee to conduct themselves, at all times,
             both on and off duty, in such a manner as to reflect favorably
             on the Office, as specified in Office Policy CP-2, Code of
             Conduct.                                                               
        B.   Failure to show respect for the uniforms of the Office.            
        C.   Failure of an employee who is on duty or identified by dress,
             location, or association as an employee, to maintain a
             professional demeanor and perform their duties in a calm and
             firm manner.                                                           
        D.   Participating in the demeaning of persons, or bias language
             against any individual regardless of age, nationality, religious
             beliefs, race, gender, culture, sexual orientation, gender
             identity, veteran status, ancestry, or disability.                                       
        E.   Failure by an employee to conduct themselves in a manner
             that will foster respect and cooperation among themselves
             and other members of the Office.                                       
        F.   Failure to take reasonable action commensurate and
             appropriate to the situation to ensure a person is not subject
             to cruel treatment or neglectful inhumane action.                                        
        G.   Failure to take reasonable action commensurate and
             appropriate to the situation to ensure an animal is not subject
             to cruel treatment or neglectful inhumane action.                          
        H.   Failure by an employee who has contact with the public to
             deal with people fairly, and courteously.                              
        I.   Use of profanity, rude or insulting language, or conduct
             offensive to employees or members of the public that is not
             of a discriminatory nature or a racial slur.
                                                                                    
        J.   Use of profanity, rude or insulting language, or conduct
             offensive to employees or members of the public that is of a
             discriminatory nature or a racial slur.                                                  
        K.   Failure to represent the Office in a professional manner while
             in uniform or in a County vehicle, to members of the public.           
        L.   Unwarranted or unnecessary threat of physical violence by an
             employee, to another employee or the public.                                             
        M.   Sexual harassment of another person.                                                       
        N.   Cheating on promotion examinations.                                                        
        O.   Possession of weapons on Maricopa County property in
             violation of Office Policy GJ-23, Firearms.                                            
        P.   Buying or selling contraband on County property.                                           
                                                          4

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        Q.   Fraud in securing employment.                                                               
        R.   Sexual conduct on duty and/or while on or using County
             property or equipment.                                                                      
        S.   Sexual conduct off duty while on or using County property
             or equipment.                                                                   
     6 ALCOHOL
        A.   Consuming alcoholic beverages while on duty except with
             prior supervisory consent.                                                                  
        B.   Purchasing, or in immediate possession of, any kind of
             alcoholic beverage(s) while on duty, except in the
             performance of official duties or authorized training with
             prior supervisory consent.                                                          
        C.   Reporting for duty, or on duty, with any odor of alcoholic
             beverage on the employee’s breath or while under the
             influence of any alcoholic beverage to any degree.                                      
        D.   Failure by a supervisor to take action, as specified in Office
             Policy GC-21, Drug, Medication, and Alcohol Testing, when
             they reasonably believes that an employee who is on duty or
             reporting for duty smells of, or is under the impairment of,
             alcoholic beverages to any degree.                                                  
        E.   Violation of Office Policy ED-2, Covert Operations, in all
             cases where personnel who consume alcoholic beverages on
             duty: fail to avoid any physical condition or impairment
             which could adversely affect the employee’s performance of
             duty; operate a Maricopa County vehicle; or bring discredit
             upon the Office.                                                                        
        F.   Failure by employees and supervisors to be attentive to, and
             restrict, physical enforcement action and the display or use of
             weapons when the employee(s) is known to have consumed
             and/or be under the influence of an alcoholic beverage(s)
             during a covert operation, except in extreme and exigent
             circumstances.                                                                          
        G.   Failure by an employee in a specialized assignment, if called
             out, to advise a supervisor that within the last eight hours they
             have been drinking, the type and amount of alcoholic
             beverage consumed, and how long it has been since the last
             drink.                                                                          
        H.   When making the decision to activate an employee, the
             supervisor shall ensure based on the information provided by
             the employee that no alcoholic beverage have been consumed
             within the last eight hours prior to a call out.                                
        I.   Purchasing or consuming alcohol off-duty and in uniform.                
        J    Consuming alcohol at a training event while on-duty.                                       
        K.   Operating any Maricopa County vehicle within eight hours
             after consuming any alcoholic beverages.                                        




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        L.   Displaying or wearing any recognizable item of Office
             apparel, while on or off duty, in a public place or an
             establishment where the primary purpose is to sell or serve
             alcoholic beverages or consuming any alcoholic beverages
             while displaying or wearing any recognizable items of Office
             apparel, unless in the performance of official duties.                          
        M.   Consuming alcoholic beverages in any Maricopa County
             facility or Maricopa County vehicle by an employee, except
             in the performance of official duties or authorized training.                               
        N.   Allowing the consumption of alcoholic beverages at any
             time, or for any reason, by a guests, volunteers, public
             observers or other members of the public while in Maricopa
             County facilities, Maricopa County vehicles, or vehicles
             owned by a Posse Branch or individual posse member that
             are used for Office related operations.
                                                                                             
        O.   Driving while under the influence of alcohol or drugs while
             on duty, to exclude legally prescribed drugs that do not impair
             or inhibit an employee’s capacity to perform their
             responsibilities.                                                                           
        P.   Carrying a firearm while off duty when consuming alcohol
             and taking law enforcement action.                                                        
     7 USE OF MEDICATION OR DRUGS
        A.   Failure by the employee who takes prescribed or over-the-
             counter medications to be aware of any side effects the
             medications may have on the performance of their duties.                
        B.   Failure by an employee to advise their supervisor, prior to
             reporting for duty, when taking medication that might impair
             their ability to perform the essential job functions of their
             position.                                                               
        C.   Refusing to participate in a drug, medication, or alcohol test,
             as specified in Office Policy GC-21, Drug, Medication, and
             Alcohol Testing.                                                                            
        D.   Unlawful possession or use of drugs or medication, to include
             the prescribed medication of another.                                                       
     8 GRATUITIES, REWARDS, OR LOANS
        A.   Use of position for personal gain, on or off duty, to solicit,
             seek, or receive any personal loan, gift, gratuity, or other
             favor, from the general public, any private business firms
             which deal with the Office, or any other agency or department
             of Maricopa County which is, or may appear to be, intended
             to influence official conduct.                                                          
        B.   Accepting, directly or indirectly, a gratuity, fee, loan, reward,
             or gift of any kind for services rendered in the course of
             official duties or for services rendered in the course of an
             Office-approved off-duty assignment. This includes directly
             or indirectly accepting or obtaining a gratuity, fee, loan,
             reward, or gift of any kind and passing it on to family
             members, other Office employees, or acquaintances.
                                                                                                 
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        C.   Use of position to solicit free admission to places of
             amusement, entertainment, or sporting events or to solicit free
             meals, or any favors or gratuities not ordinarily afforded to a
             member of the public.                                                       
        D.   Accepting or soliciting a bribe.                                                            
     9 ABUSE OF POSITION OR AUTHORITY
        A.   Use of official position, identification cards, or badges to
             avoid the consequences of illegal acts such as driving under
             the influence or helping family members avoid the
             consequences of illegal acts.                                                           
        B.   Use of official position, identification cards, or badges for
             personal or financial gain related to official duties.
                                                                                                     
        C.   Use of official position, identification cards, or badge to
             obtain privileges not otherwise available to them or others,
             except in the performance of official duty.                                         
        D.   Use of official position, identification card, or badge to
             misrepresenting their position or authority in the Office.
                                                                                                     
        E.   Lending identification cards, badges, or uniforms to another
             person not authorized to display or possess.                                
        F.   Permitting Office identification cards or badges to be
             photographed or reproduced unless necessary for official
             business.                                                           
        G.   Identifying themselves as members of the Office, visually or
             verbally, in connection with testimonials or advertisements,
             unless specifically authorized by the Sheriff, or designee.                 
        H.   Interfering by virtue of their position, with an Office criminal
             or administrative investigation; act in manner which might
             aid any person in escaping arrest or delay the apprehension of
             a criminal; facilitate the removal or concealment of
             contraband.                                                                                 
        I.   Convert for personal use any found, impounded, abandoned,
             or recovered property, or any property held or released as
             evidence.                                                                                  
        J.   Failure to return seized, found, or recovered property directly
             to a property custodian, court, or owner.                                   
        K.   Misuse of NCIC or any Office or law enforcement database.
                                                                                                       
        L.   Misuse of position or authority to affect a promotion, transfer,
             or restoration to duty by obtaining an unfair advantage as a
             result of any act prohibited by Office Policy and/or Maricopa
             County Merit Rules, such as but not limited to nepotism;
             retaliation; conflict of interest; discrimination; or harassment.
                                                                                                 
        M.   Intentionally denying any person of civil liberties (such as no
             probable cause for arrest, search and seizure, or failing to give
             Miranda Warning when required, or any that may be
             guaranteed by the Constitution of the United States).                                     


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          N.     Unintentionally denying any person of civil liberties (such as
                 no probable cause for arrest, search and seizure, or failing to
                 give Miranda Warning when required, or any that may be
                 guaranteed by the Constitution of the United States).                        
     10        CARE AND USE OF OFFICE OR MARICOPA COUNTY EQUIPMENT
          A.     Misuse of Office and Maricopa County equipment.                    
          B.     Use of Office and Maricopa County cell phones, fax
                 machines, printers, and copiers which inhibits either
                 governmental or administrative use, or impact employee’s
                 ability to perform their assigned duties.                              
          C.     Use of Office and Maricopa County equipment used in a
                 manner that discriminates, or denigrates, anyone on the basis
                 of race, color, national origin, age, religious beliefs, gender,
                 culture, sexual orientation, veteran status, or disability.                               
          D.     Use of e-mail and voice mail in a manner that discriminates,
                 or denigrates, anyone on the basis of race, color, national
                 origin, age, religious beliefs, gender, culture, sexual
                 orientation, veteran status, or disability.                                               
          E.     Willfully damaging, losing, misplacing, or abusing Office
                 and Maricopa County equipment.                                             
          F.     Negligently damaging, losing, misplacing, or abusing Office
                 and Maricopa County equipment.                                         
          G.     Failure to maintain Maricopa County issued equipment in
                 proper order.                                                      
          H.     Intentionally accessing internet pornography sites while
                 using a County computer unless directed to do so by a
                 supervisor for investigative purposes.                                                 
          I      Personnel shall refrain from using profane or offensive
                 language or images in any aspect of their electronic
                 communications, including system passwords, as specified in
                 Office Policy GM-1, Electronic Communications and
                 Voicemail.                                                                   
          J.     Speeding or committing traffic violations while driving a
                 County owned vehicle (Civil sanctions only. Criminal cases
                 should be considered aggravating circumstances).                       
          K.     Involvement in a preventable accident with an Office vehicle
                 while engaged in emergency driving.                                        
          L.     Unauthorized use of County equipment and personnel for
                 personal profit.                                                                           
     11 CONFIDENTIAL INFORMATION, PROTECTED HEALTH INFORMATION, AND
        DIVULGING CRIMINAL RECORDS
          A.     Discussing or disclosing sensitive law enforcement or
                 confidential information without supervisor direction or
                 approval, and with persons unauthorized to receive the
                 information, or permitted or required by law.                                      
          B.     Unauthorized release of Criminal History Record
                 Information (CHRI).                                                                    



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          C.     Using, copying, making notes regarding, removing,
                 releasing, or disclosing information or facts that are of a
                 personal or confidential nature regarding an employee,
                 inmate, or other person’s health or medical information,
                 unless doing so legally in the course and within the scope of
                 official duties.                                                                  
          D.     Failure to immediately notify a supervisor upon becoming
                 aware of anyone improperly accessing or releasing
                 information or facts that are of a personal or confidential
                 nature regarding an employee, inmate, or other person’s
                 health or medical information. The presumptive discipline
                 for a failure to report such allegations may be
                 commensurate with the presumptive discipline for the
                 underlying misconduct or maybe one offense less than
                 received by the employee who committed the act.                           
          E.     Intentional and unauthorized alteration, disclosure, copying,
                 and retention of confidential material or sensitive
                 information.                                                                          
          F.     Unintentional destruction or removal of County records.
                                                                                           
     12 PERFORMANCE OR DERELICTION OF DUTY
          A.     Failure to devote working time and attention to the service of
                 the Office to complete all assignments in a timely manner.            
          B.     Engaging in any activities or personal business, such as
                 personal phone calls or text messages, or other electronic
                 activities which would cause neglect to duty.                     
          C.     Displaying cowardice or failing to support fellow employees
                 in the lawful performance of duty.
                                                                                               
          D.     Willful failure to appear for judicial subpoenas, whether on
                 behalf of the state or in actions against the employee.
                                                                                           
          E.     Unintentional failure to comply with document preservation
                 and production requirements, as specified in Office Policy
                 GD-9, Litigation Initiation, Document Preservation, and
                 Document Production Notices.                                          
          F.     Intentional failure to comply with document preservation and
                 production requirements, as specified in Office Policy GD-9,
                 Litigation Initiation, Document Preservation, and Document
                 Production Notices.                                                                   
          G.     Engaging in any strike, or restricting output causing a work
                 slowdown in support of a strike.                                                          
     13        PUNCTUALITY & ABSENCES
          A.     Failure to be punctual in reporting to a designated duty post
                 and physically ready to assume assigned duties.
                                                                                   
          B.     Failure by a supervisor to enter tardiness and early departures
                 data into Blue Team, as specified in Office Policies GC-1,
                 Leaves and Absences, and CP-2, Code of Conduct.
                                                                                   


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        C.   Absent Without Authorized Leave (AWOL) except when
             extenuating circumstances are found to have existed. AWOL
             occurs when an employee fails to call in to a supervisor, and
             who does not show for their scheduled shift.                                         
        D.   Abuse of sick or vacation leave for non-FMLA-qualifying
             events.                                                            
     14 POLITICAL ACTIVITY
        A.   Use of authority of position, Maricopa County business,
             personnel, equipment, materials, buildings, or other
             resources, to influence the vote or political activities, or for
             the purpose of influencing the outcomes of elections.
                                                                                                        
        B.   Use of political endorsement in connection with any
             appointment to a position in the Maricopa County classified
             service.                                                                               
        C.   Use or promise to use, any official authority or position for
             the purpose of influencing the vote, or political action of any
             person or for any other considerations.                                                    
        D.   Soliciting an employee to engage in, or deny him the
             opportunity to engage in, activities permitted regarding
             political activity.                                                                    
        E.   Participating in any direct or indirect threat, such as
             intimidation, coercion, discrimination, reprisal, force, or any
             adverse consequence, such as the loss of any benefit, reward,
             promotion, assignment, or compensation based on the
             employee’s involvement in a political activity.                                            
        F.   Engaging in political activity while on duty, while in uniform,
             or at public expense, except as authorized in CP-2, Code of
             Conduct.                                                                                   
        G.   Denying any employee of any civil liberties, as guaranteed by
             the Constitution of the United States or the Constitution and
             Laws of the State of Arizona based on the employee’s
             involvement in political activity.                                                         
        H.   Shall not participation as a member of any national, state, or
             local committee of a political party, an officer or chairperson
             of a committee of a partisan political club, a candidate for
             nomination or election to any public office, which is either
             paid or partisan, or take part in the management of any
             political party, partisan or nonpartisan campaign, or recall
             effort.                                                                        
        I.   Discriminate against another employee for engaging in, or
             choosing not to engage in, any permitted political activity.                               
        J.   Retaliate against another employee for engaging in, or
             choosing not to engage in, any permitted political activity.
                                                                                                        
        K.   Conducting support of family members running for political
             office outside the provisions of Office Policy CP-2, Code of
             Conduct.                                                                   

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        L.   Employees using the authority of their position to influence
             the vote or political activities of any subordinate employee.
                                                                                                         
     15 PUBLIC APPEARANCE AND STATEMENTS
        A.   Publicly ridiculing the Office, its policies, or its employees,
             orally, in writing, or through social media, where such
             expression is defamatory, obscene, unlawful, tends to
             undermine the effectiveness of the Office, interferes with the
             maintenance of discipline, or is made with reckless disregard
             for the truth.                                                                      
        B.   Addressing public gatherings, appearing on radio or
             television, or releasing for publication, an article, manuscript,
             or other material which pertains to the operations or activities
             of the Office, without prior approval from the Sheriff, or
             designee.                                                                   
     16 ENDORSEMENTS, REFERRALS, AND VENDORS
        A.   Recommending, suggesting, or advocating for the
             employment of any person, or procurement of any particular
             product, professional, or commercial service outside the
             official procurement process.                                                   
        B.   Failure by an employee to disclose their interest for any
             contract, sale, purchase, or service, in which they have an
             interest.                                                                       
        C.   Failure by an employee to disclose their interest and
             abstaining from voting for any contract, sale, purchase, or
             service, in which they have an interest.                                        
     17 LABOR/ FRATERNAL ORGANIZATIONS AND ASSOCIATIONS
        A.   Joining, and, or holding office in any employee organization,
             labor union, or professional association, organized for any
             illegal purposes or primarily engaged in activities contrary to
             law.                                                                                        
        B.   Attempting to prohibit or intimidate any covered employee
             from belonging to, or holding office in, any lawful
             organization.                                                                       
     18 ASSOCIATIONS AND FRATERNIZATION WITH INMATES OR PRISONERS
        A.   Indulging in undue familiarity with inmates or prisoners.                                   
        B.   Fraternization with inmates and prisoners, unless it is
             unavoidable due to family member relationships.                             
        C.   Engage the services of, accept services from, or do favors for,
             any person known to them to have been in the custody of the
             Office, or any other detention or correctional facility within
             the last two years.                                                             
        D.   Conveying written or oral messages between inmates.                         
        E.   Corresponding with, or assisting in conducting
             correspondence with inmates, former inmates, or other
             persons not in custody, on behalf of an inmate.                                 
        F.   Assisting inmates in the submission or preparation of judicial
             documents.                                                                      

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        G.   Writing letters of recommendation, on behalf of inmates on
             matters concerning official business of the Office, without
             authorization from their bureau commander.                                      
        H.   Exchanging money or property with inmates or prisoners.                                    
        I.   Providing inmates with newspapers, magazines, or books
             from outside the jail.                                                  
        J.   Engaging in informal, non-work-related discussions with
             inmates or prisoners concerning other officers, inmates, or
             prisoners.                                                                  
        K.   Making remarks of a personal nature in reference to any
             officers, inmates or prisoners, witnesses, or informants where
             the remarks may be within earshot of any inmate or prisoner.
                                                                                         
        L.   Encouraging or sympathize with inmates in their complaints
             about rules, regulations, or jail conditions, to include, failing
             to properly address the complaint or notify a supervisor of the
             situation.
                                                                                     
        M.   Offering religious or other advice to inmates regarding
             personal, family, or case-related problems.                                 
     19 EMPLOYEE RELATIONSHIPS WITH PERSONS VISITING INMATES
        A.   Granting special privileges, such as an extended visit time, or
             allowing an unscheduled visit, to visitors without the
             approval of the shift commander.                                                
        B.   Accepting favors or gratuities from visitors at any time.
                                                                                                 
        C.   Indulging in undue familiarity with visitors.
                                                                                                         
        D.   Fraternization with visitors.                                               
     20 EMPLOYEE RELATIONSHIPS WITH OTHER EMPLOYEES
        A.   Failure to be respectful and maintain a professional,
             courteous, and cooperative demeanor with other employees
             of the Office and other law enforcement or criminal justice
             personnel.                                                              
        B.   Failure to be respectful and maintain a professional,
             courteous, and cooperative demeanor with supervisory
             personnel.
                                                                                     
        C.   Defying the authority of any supervisor by being
             disrespectful, arrogant, or displaying disrespectful conduct,
             whether in or out of the supervisor’s presence.
                                                                                         
        D.   Covertly recording conversations involving other Office
             employees.
                                                                                                
        E.   Failure to promote the establishment and maintenance of a
             professional workplace, free from discourteous treatment of
             others.
                                                                                     



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        F.    Dating, entering into a romantic relationship, or having any
              form of sexual interaction between a supervisor and their
              supervised employee.
                                                                                          
        G.    Failure to notify supervisor when employees working in the
              same division or building are in a dating, romantic
              relationship, or are having any form of sexual interaction.
                                                                                      
     21 EMPLOYEE RELATIONSHIPS WITH KNOWN OR SUSPECTED CRIMINALS
        A.    Associating or dealings with persons whom they know, or
              have reason to believe are, or have been, recently charged
              with criminal acts, or any person who the employee should
              reasonably know to have been involved in criminal acts or are
              under indictment. This is to include criminal investigation,
              arrests or incarceration. Employees shall also avoid
              associations with known racketeers, illegal gamblers, and
              persons in the community with a reputation for criminal
              behavior.
                                                                                              
     22 EMPLOYEE RELATIONSHIPS WITH VICTIMS, WITNESSES, INFORMANTS, OR
        OTHER SUCH INDIVIDUALS
        A.    Converting an enforcement contact with persons, including,
              but not limited to, victims, witnesses, informants, suspects, or
              traffic violators, into a dating relationship, sexual
              relationship, social relationship, or business relationship
              during the course of any official contact or investigation.                                
        B.    Failure to notify their supervisor of any relationship that
              evolves following contact due to job responsibilities.                          
     23 FREQUENTING PROHIBITED ESTABLISHMENTS
        A.    Knowingly entering or frequent any establishment, such as a
              house of prostitution or illegal gambling house, wherein the
              laws of the United States, the state, or the local jurisdiction
              are regularly violated, except in the performance of duty or
              while acting under proper and specific orders from a
              supervisor.                                                                     
     24 GAMBLING
       A.  Participating in any form of illegal gambling at any time,
           except in the performance of duty, and while acting under
           proper and specific orders from a supervisor.
                                                                                                         
     25 SLEEPING ON DUTY
        A.    Sleeping on duty without authorization.                                     
     26 INTERFERENCE WITH OFFICIAL INVESTIGATIONS
        A.    Use of official position or knowledge gained by employment
              with this Office to hinder, obstruct, or interfere with any case,
              official operation, or investigation being handled by this
              Office or any other agency.                                                                 
        B.    Improper discussing and sharing of confidential internal
              investigation information.                                                            
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        C.   Failure to submit to an administrative interview or refusal to
             cooperate in a polygraph examination during an
             administrative investigation.                                                             
     27 REQUEST FOR ASSISTANCE
        A.   Failure to adequately assist members of the public, when
             requesting assistance from the Office either by telephone or
             in person.                                                                           
     28 FAILURE TO MEET STANDARDS
        A.   Failure to perform assigned duties in an acceptable manner.           
        B.   Failure to possess the knowledge required to perform
             assigned duties based on the employee’s job classification
             and training.                                                            
        C.   Failure to complete assignments properly.                             
        D.   Failure to make reasonable decisions or take appropriate
             actions.                                                              
        E.   Failure to accomplish a reasonable share of the workload.         
        F.   Failure to conduct proper security walks.                             
        G.   Failure to complete proper Operations Journal entries.                
        H.   Failure to conduct a proper headcount.                                
        I.   Failure to perform security functions which would not have
             the potential to place members of the public at risk.                 
        J.   Failure to perform security functions that result in an escape
             or which places other employees or members of the public at
             risk.                                                                                 
        K.   Failure to follow release procedures as specified in Office
             Policy DO-2, Release Process, resulting in an erroneous
             release from custody.                                                    
        L.   Reckless use, handling, or display of firearms.                                       
        M.   Unintentional, voluntary discharge of firearm, where the
             trigger was manipulated voluntarily, but the discharge was
             unintentional.                                                        
        N.   Unintentional, involuntary discharge of firearm, where the
             trigger was manipulated involuntarily, and discharge was
             unintentional.                                                        
        O.   Accidental discharge of firearm, where outside influences
             such as clothing or equipment contacting the trigger occurred,
             due to failure to safety or holster firearm properly. Does not
             include actual mechanical failures.                                   
        P.   Unintentional non-activation and use of body-worn cameras.            
        Q.   Intentional failure to notify a supervisor and the Body-
             Camera Program Administrator of lost, stolen, damaged, or
             non-functioning equipment.                                                    
        R.   Deliberate and/or repeat failures to activate and use body-
             worn cameras, failure to activate and use body-worn cameras
             when conducting traffic stops, responding to calls for service,
             or interacting with the public for investigative or enforcement
             activities, unless exigent circumstances exist.                                       


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        S.    Failure to intervene or respond when necessary, to include:
              calls for service, dispatch, and requests for assistance.                
        T.    Failure to respond to a radio call.                                  
        U.    Unintentional failure to complete reports as directed by
              Office policies, to include but not limited to, Incident
              Reports, PREA Reports, and Use of Force Reports.                     
        V.    Intentional failure to complete reports as directed by Office
              policies, to include but not limited to, Incident Reports,
              PREA Reports, and Use of Force Reports.                                  
        W.    Failure by a supervisor to conduct any required reviews with
              adequate and consistent quality.                                     
        X.    Neglect to maintain prescribed records.                              
        Y.    Failure by a supervisor to ensure employees perform required
              duties, or hold them accountable, of which does not place
              other employees or members of the public at risk.                    
        Z.    Failure to conform to work standards established for the
              employee’s rank or position.                                            
        aa.   Failure to meet mandatory training as it relates to Arizona
              Peace Officer Standards and Training Board (AZ POST)
              requirements and Court order mandates.                                   
        bb.   Misuse and/or abuse of supervisory authority or privilege.               
        cc.   Failure to exercise proper supervision over assigned
              employee or prisoner.                                                    
        dd.   Inattentiveness to duty or horseplay.                            
        ee.   Failure to report to assigned area of responsibility during a
              shift.                                                               
        ff.   Failure to advise employee of the grievance and appeal
              process and/or inform the chain of command of possible
              forthcoming complaints or grievances.                                
        gg.   Refusing to participate in an Intervention Action Plan.                              
        hh.   Allowing unauthorized personnel to enter work areas.                 
        ii.   Failure to report an industrial injury requiring medical
              attention with 24 hours.                                         
        jj.   Failure of a supervisor to complete the Industrial Injury
              Report within 24 hours.                                              
        kk.   Failure to make required EIS Blue Team entries as a line staff
              employee.                                                        
        ll.   Failure by a supervisor to make required EIS Blue Team
              entries.                                                             
        mm.   Intentional misplacement of important documents or property
              with serious consequences for law enforcement.                                          
        nn.   Unintentional misplacement of important documents or
              property without serious consequences for law enforcement.       
        oo.   Failure to thoroughly search for and properly collect any
              available evidence in any arrest or criminal investigation.              


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        pp.   Failure to notify the Office of a change of address or
              telephone number.                                                  
        qq.   Failure to maintain telephone or other method of delivering
              messages.                                                          
        rr.   Failure to maintain required uniform.
                                                                                 
        ss.   Failure to maintain personal appearance appropriate to the
              job.
                                                                                 
        tt.   Failure to keep work or vehicle area clean and uncluttered,
              causing a work hazard.                                             
        uu.   Office employees and volunteers entering or working in a jail
              facility are prohibited from bringing personal cell phones,
              and other personal electronic items (MP3 players, iPods,
              personal laptops, tablets, smart watches, or any other personal
              electronic devices that are used for texting, e-mails, social
              media or viewing movies/clips, into secured areas of jail
              facilities, unless approved by a supervisor, or otherwise
              authorized, as specified in Office Policy CP-2, Code of
              Conduct.                                                              
     29 INSUBORDINATION
        A.    Failure by an employee to follow a reasonable and lawful
              order given by a supervisor regardless of the method of                                   
              conveyance.
     30 LOITERING
        A.    Remaining in eating establishments, gas stations, or other
              public places for longer than is reasonably required to
              complete the legitimate activity for which they stopped while
              on duty or in uniform, unless required by duty.                        
        B.    Remaining at a duty post or any Office location beyond the
              end of their shift, unless conducting official business or for a
              minimal period while awaiting transportation from work.            
     31 ABUSE OF PROCESS, WITHHOLDING EVIDENCE, AND MISAPPROPRIATION OF
        PROPERTY
        A.    Manufacturing, concealing, falsifying, destroying, removing,
              tampering with, or withholding evidence or information, or
              make false accusations in a criminal, traffic matter, or
              administrative matter.                                                                     
        B.    Failure to ensure a valid chain of evidence with adherence to
              the guidelines for the strict control and management of
              evidentiary property, as specified in Office Policy GE-3,
              Property Management and Evidence Control.                                  
        C.    Failure to properly report and document, any property that is
              being held as evidence, found property, or for safekeeping,
              which comes into possession of the employee during the
              course of regular duties.                                                             
        D.    Unintentional failure to properly secure an individual’s
              personal property which results in the loss of those items.
                                                                                     

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        E.   Intentional or negligent failure to properly secure an
             individual’s personal property which results in the loss of
             those items.
                                                                                                      
     32 TREATMENT OF MEMBERS OF THE PUBLIC OR PERSONS IN CUSTODY
        A.   Unnecessary use of force or force option with a member of
             the public or persons who are in the custody of the Office, or
             failure to report such actions.
                                                                                                   
        B.   Abusive treatment of members of the public, or inmates, or
             prisoners, which does not rise to the level of assault.
                                                                                               
     33 GUM AND TOBACCO USAGE
        A.   Use of tobacco products or gum while making personal
             contacts with members of the public in the performance of
             their duties. Tobacco products use includes, but is not limited
             to: cigars; cigarettes; pipes; chewing tobacco; and, E-
             cigarettes.
                                                                               
        B.   Use of tobacco products in a non-designated area.                 
     34 PROPERTY DAMAGE
        A.   Failure to notify a supervisor, or if unavailable, the nearest
             on-duty supervisor, and promptly submit a written report
             concerning any damage to real or personal property,
             including vehicles, belonging to the Office, Maricopa
             County, a member of the public, or any other entity or
             individual, which is a result of, or occurred during, the
             execution of their official duties or responsibilities.                   
        B.   Failure to notify a supervisor and promptly submit a written
             report concerning any damage to real or personal property of
             others, including vehicles, belonging to the Office, Maricopa
             County, while off duty.                                                   
        C.   Attempting to work out or negotiate a settlement with any
             entity or individual regarding personal or Maricopa County
             liability when property damage has occurred during the
             execution of official duties.
                                                                                                   
     35 RUMORS OR GOSSIP
        A.   Spreading rumors or gossip is prohibited.                             
        B.   Failure by supervisors to take action when made aware of the
             spreading of rumors or gossip.
                                                                                       
     36 SOCIAL NETWORKING SITES
        A.   Accessing social networking sites on Office equipment while
             on duty unless in the performance of official duties.
                                                                                   
        B.   Publicly expressing, sharing, or posting information
             regarding the Office which would jeopardize the safety and
             security of Office employees, inmates or the public, or which
             could negatively impact the efficient or effective operation of
             the Office.
                                                                                                   

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     37 KEEPING SUPERVISORS INFORMED
        A.   Failure to notify a supervisor of all situations, events,
             incidents, inspections, and communications that affect, or
             may affect, the Office, or with which the Office may be
             concerned.                                                             
        B.   Failure to notify involvement in any situation being
             investigated by another law enforcement agency, whether as
             a witness, victim, or suspect, or in anticipation of becoming
             an accused suspect.                                                    
        C.   Failure to notify a supervisor of the suspension or revocation
             of driving privileges. (This failure applies only to the
             reporting, not actual vehicle operation which falls under
             Section 3, Subsection B, Commission of a Class 1
             misdemeanor).                                                              
        D.   Failure to notify a supervisor upon knowledge of a family
             member being booked into an Office jail.                               
        E.   Failure to notify a supervisor of the issuance of a court order,
             such as an order of protection or an injunction against
             harassment, in which the Office employee has been named.                   
        F.   Failure to notify a supervisor of the receipt of a moving
             vehicle traffic citation.                                          
     38 USE OF DISCRETION
        A.   Failure to use discretion in the enforcement of laws and in
             determining appropriate actions.                                       
        B.   Failure to use discretion to evaluate the circumstances and
             consider available resources and alternate solutions.                  




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                               INELIGIBLE EXTERNAL
                     PSB-DIRECTED SUPERVISORY INTERVENTIONS

 Once MCSO receives an internal or external complaint, the PSB Commander shall make an initial
 determination that a qualifying complaint may be addressed as an approved PSB-Directed Supervisory
 Intervention. There are some Categories of Offenses that might be either internal or external and may be
 subject to different criteria.

 All external allegations of a Category 1, First or Second Offense or Category 2, First Offense as set forth
 in Attachment B of Office Policy GC-17 shall be eligible for a PSB-Directed Supervisory Intervention with
 the EXCEPTION of those listed below under this Attachment C of Office Policy GC-17:


4. INDIVIDUAL RESPONSIBILITY




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5. UNBECOMING CONDUCT




9. ABUSE OF POSITION OR AUTHORITY




10. CARE AND USE OF OFFICE OR MARICOPA COUNTY EQUIPMENT




18. ASSOCIATIONS AND FRATERNIZATION WITH INMATES OR PRISIONERS




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27. REQUEST FOR ASSISTANCE




28. FAILURE TO MEET STANDARDS




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